                      EXHIBIT
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        Expert Declaration of Professor Charlotte Garden




Case 1:17-cv-01037-LCB-LPA Document 7-24 Filed 11/20/17 Page 1 of 154
                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


FARM LABOR ORGANIZING                         )
COMMITTEE, et al.                             )
                                              )
                   Plaintiffs,                )
                                              )
       v.                                     ) Civil Action No.1:17-cv-01037
                                              )
ROY COOPER, et. al.                           )
                                              )
                   Defendants.                )
                                              )



            DECLARATION OF PROFESSOR CHARLOTTE GARDEN

I, Charlotte Garden, hereby declare and state as follow:

1.     I am submitting this declaration in support of the complaint and motion for

preliminary injunction filed by Plaintiffs Farm Labor Organizing Committee

(“FLOC”), Victor Toledo-Vences, and Valentin Alvarado-Hernandez. In my view,

the portions of North Carolina Senate Bill 615, also known as the Farm Act, that

are being challenged in this case seriously impede the efforts of labor organizations,

workers, and employers to engage in speech, petitioning, and other expressive

activity.




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Background

2.     I am an expert on free expression and association issues affecting labor

organizations, including issues related to dues assessment and collection.

3.     I am a tenured Associate Professor employed at the Seattle University

School of Law, where I have worked since July 2011.

4.     I routinely teach courses in labor law and constitutional law. For example, I

have taught each of the following courses at least once, and several multiple times:

Constitutional Law I & II; Labor Law; Appellate Litigation Seminar on Labor and

Employment Law; Legislation & Regulation; Civil Rights Amicus Clinic.

5.     My research and writing focuses mainly on unions’ and workers’ free

expression and association, including unions’ use of litigation to further their

expressive goals. My published academic articles on these topics include the

following: Labor Values are First Amendment Values: Why Union Comprehensive

Campaigns are Protected Speech, 79 FORDHAM L. REV. 2617 (2011); Citizens,

United and Citizens United: The Future of Labor Speech Rights?, 53 WM. &

MARY L. REV. 1 (2011); Teaching for America: Unions and Academic Freedom,

43 U. TOL. L. REV. 563 (2012); Union Made: Labor’s Litigation for Social Change,

88 TULANE L. REV. 193 (2013); “So Closely Intertwined”: Labor Interests and

Racial Solidarity, 81 GEO. WASH. L. REV. 1135 (2013) (with Nancy Leong);

Unions & Campaign Finance Litigation, 14 NEVADA L.J. 364 (2014); Citizens


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United & the First Amendment of Labor Law, 43 STETSON L. REV. 571 (2014);

Meta Rights, 83 FORDHAM L. REV. 855 (2014).

6.      I am also a co-author of a casebook on labor law: Modern Labor Law In The

Private And Public Sectors: Cases And Materials (with Seth Harris, Joseph Slater

and Anne Lofaso) (Carolina Academic Press, 2nd Ed., 2016).

7.      In addition to my teaching and research, I occasionally draft and file amicus

briefs, often in cases involving the First Amendment rights of unions.

8.      My other academic positions include a two-year teaching fellowship in the

Appellate Litigation Program at Georgetown University Law Center, and one

semester as a visiting professor at the University of Alabama Law School.

9.      Before entering law teaching, I was a practicing lawyer. Among other

positions, I was employed as an associate at union-side firm Bredhoff & Kaiser,

PLLC for about two and one-half years.

10.     I earned my J.D., cum laude, from New York University School of Law in

2003. I also earned an LL.M., with distinction, from Georgetown University Law

Center upon my completion of a two-year fellowship in the Appellate Litigation

Program.

11.     A true and correct copy of my curriculum vitae is attached as Exhibit A.




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Union Organizing & Dues Checkoff

12.     The Farm Act states in part that “an agreement requiring an agricultural

producer to transfer funds to a labor union or labor organization for the purpose of

paying an employee’s membership fee or dues is invalid and unenforceable . . . .”

13.     This language renders invalid and unenforceable what are commonly known

as “checkoff” agreements, which typically allow union-represented workers to

authorize their employer to deduct the amount of union dues or fees from their

paychecks, and remit that amount directly to the union.

14.     Dues checkoff agreements are common in private sector collective

bargaining agreements. For example, in 1960, Bureau of Labor Statistics (BLS)

researchers observed that “the proportion of workers under agreements with

checkoff provisions rose from 20 percent in 1942 to 40 percent in 1946, and to 78

percent by 1951. It has remained at this level since.” U.S. Department of Labor,

Union Security and Checkoff Provisions in Major Union Contracts 1958-59,

March 1960, at 11.1 More than twenty years later, another BLS study found

checkoff agreements had become even more common. Major Collective

Bargaining Agreements: Union Security and Dues Checkoff Provisions, May 1982,

at 23 (finding that “[o]f the 1,327 major collective bargaining agreements

examined, 1,138 (86 percent), covering 5.2 million workers, contained checkoff

1
 Available at https://fraser.stlouisfed.org/files/docs/publications/bls/bls_1272_
1960.pdf
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provisions”).2 Similarly, a recent U.S. Department of Labor publication, which was

last updated in 2014, observes that “[l]ocal unions receive most of their money

from their members in the form of dues payments. A common method of paying

union dues is through dues checkoff.” US DOL, Conducting Audits in Small

Unions: A Guide for Trustees to a 10-Step Audit, Revised May 2014, at Ch. 4.3

15.     For employers and employees covered by the National Labor Relations Act

(NLRA), dues checkoff is a mandatory subject of bargaining. This means that

employers who are covered by the NLRA must bargain in good faith over this

topic with the labor unions that represent their employees. See, e.g., Caroline

Farms Division of Textron, Inc. v. NLRB, 401 F.2d 205, 210 (4th Cir. 1968). While

“agricultural laborers” are excluded from the NLRA, 29 U.S.C. § 152(3), this

requirement in the NLRA context illustrates that dues checkoff is a core aspect of

relations between labor organizations, employers, and employees.

16.     Where labor organizations cannot secure dues checkoff agreements, they

must then direct resources to collecting and processing individual member dues,

which are a substantial source of revenue for many labor organizations. Conversely,

where unions have checkoff agreements, member dues payments are more

predictable, and therefore union finances are more secure. As the National Labor


2
  Available at https://fraser.stlouisfed.org/files/docs/publications/bls/bls_1425-
21_1982.pdf
3
  https://www.dol.gov/olms/regs/compliance/comp_pubs/smallunions_2017.pdf
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Relations Board recently put it in a case concerning employers’ authority to

unilaterally terminate checkoff clauses at the expiration of a collective bargaining

agreement:

        Cancellation of dues checkoff eliminates the employees’ existing,
        voluntarily-chosen mechanism for providing financial support to the
        union. By definition, it creates a new obstacle to employees who wish
        to maintain their union membership in good standing. . . . Such a
        change also interferes with the union’s ability to focus on bargaining,
        by forcing it to expend time and resources creating and implementing
        an alternate mechanism for dues collection . . . .

Lincoln Lutheran of Racine, 362 N.L.R.B. No. 188 at 3 (2015).

17.     Dues checkoff agreements can be especially valuable for unions in “right to

work” states like North Carolina, where unions and employers are forbidden by

law from conditioning employment on paying dues or fees to a labor union. Where

dues and fees are entirely voluntary, workers’ decisions to authorize dues checkoff

agreements provide more security to unions trying to anticipate future income and

more efficiency and convenience for workers who elect to pay dues.

18.     Where labor organizations have large numbers of low-income and unbanked

members, dues collecting and processing activities can be difficult and time-

consuming because members will often need to pay dues in small increments and

in cash. And labor organizations that have large numbers of migrant or seasonal

worker members will face more costs associated with accurately tracking and

processing employment-linked dues than would labor organizations whose


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members are mostly employed on a full-time, year-round basis. There is reason to

believe that many FLOC members and potential members fall into all of these

categories. First, a recent study of agricultural workers found that in the 2013 and

2014 fiscal years, agricultural workers’ “mean and median total family incomes . . .

were in the range of $20,000 to $24,999,” and “[t]hirty percent of farmworkers had

family incomes below poverty.” US Department of Labor, Findings From the

National Agricultural Workers Survey (NAWS) 2013-2014, December 2016, at 37.4

Second, other research shows that lower-income families of color are more likely

to be unbanked than the general population. Sheila C. Bair, Improving Access to

the U.S. Banking System Among Recent Latin American Immigrants, January 2003,

at 19 (citing sources, including a 2001 survey of Latin American immigrant

families in which 62% of “respondents making less than $20,000 per year” “had no

formal relationship with a depository institution”).5 Third, farm work is often

seasonal work, and a significant minority of farmworkers are migrant workers.

NAWS 2013-2014, at 5 (“[s]ixteen percent of farmworkers interviewed in 2013-

2014 were migrants”) & 26 (“During the previous year, farmworkers spent an

average of 35 weeks employed in farm work, six weeks employed in non-farm

work, two weeks abroad, and nine weeks living in the U.S. but not working”). In


4
  Available at https://www.doleta.gov/agworker/pdf/NAWS_Research_Report_12_
Final_508_Compliant.pdf
5
  Available at https://publications.iadb.org/handle/11319/741
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addition to those factors, dues collection will be more difficult for labor

organizations whose members are spread across a large area during their working

time as compared to those who work in a single factory or office building. All this

means that the Farm Act targets workers and labor organizations that could

especially benefit from dues checkoff agreements.

19.     One consequence of the Farm Act will be to make it more difficult for

agricultural workers and FLOC to engage in speech, including political speech and

expressive association.

20.     Labor organizations use member dues for a variety of activities, including

organizing new workers. The extent to which labor organizations should be

focused on new organizing (rather than other activities) has been a matter of

discussion within the highest levels of the labor movement. For example, in 1995,

a slate of candidates running on the motto “Changing to Organize”—a direct

reference to the perceived need to increase union spending on organizing new

workers—was elected to lead the AFL-CIO. Then, in 2005, a group of unions split

from the AFL-CIO to form a new labor federation called Change to Win (CTW); a

significant driver of this split was the perception of the CTW unions that the labor

movement should devote even more of its resources to new organizing, particularly

among service workers.




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21.     Union organizing campaigns often engage with community, religious, and

advocacy groups, and may also entail petitioning government at the local, state, or

federal level. I wrote about one example of such a campaign in my article, Labor

Values are First Amendment Values: Why Union Comprehensive Campaigns are

Protected Speech, 79 Fordham L. Rev. 2617, 2622 (2011). A true and correct copy

of this article is attached as Exhibit B. Much of this advocacy by labor

organizations and other groups is protected by the First Amendment. See, e.g.,

Thornhill v. Alabama, 310 U.S. 88 (1940) (striking down criminal conviction for

picketing on First Amendment grounds); Thomas v. Collins, 323 U.S. 516, 533

(1945) (holding that Texas statute requiring union organizers to register with state

violated their First Amendment rights).

22.     Agricultural laborers are not covered by the NLRA, and in North Carolina

they also lack a statutory mechanism for mandatory union recognition under state

law. This means that employers are not required by law to bargain or otherwise

engage with labor organizations representing these workers. Where that is the case,

workers have limited options to try to improve their working conditions as

compared to workers who are covered by the NLRA or another collective

bargaining statute. Among those options: they, together with labor organizations,

can attempt to gain public or governmental support for their demands through

expressive advocacy, as described in the previous paragraph. In other words, labor


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organizations like FLOC that organize and represent workers who are not already

covered by a collective bargaining statute are relatively likely to engage in

organizing activity that has a substantial expressive component.

23.     By making dues collection more expensive and time consuming, the Farm

Act will make it more difficult for FLOC to engage in these activities.

24.     In addition, the Farm Act means that workers who want to engage in

political advocacy by belonging and contributing financially to FLOC will face

more barriers than they would if FLOC were to reach a checkoff agreement with

an employer.

25.     One relatively easy way for low-income workers to engage in political

advocacy, especially advocacy related to their economic interests, is through a

union. Unions have a long track record of political education and advocacy on

issues related to workers’ interests. Thus, the Supreme Court has recognized that

the NLRA’s core protection of employees’ concerted activity for mutual aid or

protection encompasses workplace-based discussion of political issues related to

working conditions. Eastex v. NLRB, 437 U.S. 556, 565 (1978) (observing that

“Congress knew well enough that labor’s cause is often advanced on fronts other

than collective bargaining and grievance settlement within the immediate

employment context,” including in “administrative and judicial forums” and

through “appeals to legislators”).


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26.     For a more recent example, one can look to numerous labor organizations’

ongoing political advocacy to increase minimum wages within a list of states or

localities, and to otherwise improve minimum labor standards. For a detailed

account of these efforts by labor organizations, see Kate Andrias, The New Labor

Law, 126 YALE L.J. 2 (2016).

27.     As with all political advocacy, there are numerous costs associated with this

work. One way that workers can choose to support and participate in a labor

organization’s political advocacy is by becoming a dues-paying member. When a

worker does that, a portion of his or her dues will go to support the political

advocacy. Moreover, in a “right to work” state where no worker can be compelled

to join a labor organization, the choice to join and pay dues itself has an expressive

component.

28.     By invalidating dues checkoff agreements, the Farm Act makes it more

difficult for FLOC to engage in—and its members to support—all of these

expressive activities.

The Role of Settlements in Union Advocacy

29.     The Farm Act states in part that “[a]ny provision that directly or indirectly

conditions . . . the terms of an agreement not to sue or settle litigation upon an

agricultural producer’s . . . entry into or refusal to enter into an agreement with a

labor union or labor organization is invalid or unenforceable . . . .”


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30.      The Farm Act thus invalidates any settlement conditioned on union

recognition or entry into any agreement with the union.

31.     For example, the Farm Act would invalidate or render unenforceable union

recognition agreements, neutrality agreements, or collective bargaining agreements

that are reached to settle or avert litigation. While there exists significant variation

within each of these types of agreements, these terms generally refer to the

following: Union recognition agreements are agreements that an employer will

recognize a union as the collective bargaining representative of a group of

employees following a demonstration of majority employee support for the union,

often through a method such as a card-check. “Card-check” refers to a process in

which the employer and the union jointly verify that a majority of bargaining-unit

employees have signaled their desire for union representation by signing union

authorization cards. Neutrality agreements are agreements that the employer will

remain neutral about the prospect of union representation of a group of employees

during a union campaign, often in exchange for the union agreeing to forego

certain tactics such as picketing the employer. Neutrality agreements

operationalize what constitutes “neutrality” in different ways; for example, one

variation on a neutrality agreement would be an agreement that both the union and

the employer will engage in “high-road” campaigns in which each touts its own

accomplishments on behalf of workers without criticizing the other. See generally


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Modjeska et al., Neutrality Agreements and Card-Check Recognition Agreements,

in Federal Labor Law: NLRB Practice § 6.6 (Aug. 2017 update).

32.     As one group of commentators observed, “it is clear that neutrality

agreements are an important part of the labor landscape today. Both sides see them

as a way of eliminating aggressive tactics, maintaining labor peace during the

often-volatile organizational period and bringing relatively quick finality to the

organizational process.” Id.; see also Laura J. Cooper, Privatizing Labor Law:

Neutrality/Card Check Agreements and the Role of the Arbitrator, 83 Ind. L.J.

1589, 1592-93 (2008) (discussing reasons that unions and employers enter

neutrality agreements). Neutrality, recognition, and similar agreements may also

include a mechanism, such as arbitration, for quickly and inexpensively resolving

disputes that arise between the union and the employer during the life of the

agreement.

33.     Thus, these agreements allow workers to have a meaningful say in whether

they desire representation by a labor organization—with many workers ultimately

choosing union representation when they make their decision in the context of an

organizing campaign conducted under a neutrality, recognition, or similar

agreement. See Cooper, Privatizing Labor Law at 1593-94 (discussing empirical

data). Accordingly, unions and employers may seek such agreements as possible




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“win-win” settlements to pending litigation, particularly when that litigation occurs

in the context of adversarial organizing campaigns.

34.     The Farm Act’s language could even be interpreted to mean that agreements

to settle in-progress or potential litigation are unenforceable when they are reached

by agricultural producers and labor unions or labor organizations. In other words,

the statute may have the effect of foreclosing the possibility of settlement when

FLOC sues, plans to sue, or is sued by agricultural producers.

35.     The Farm Act’s restrictions on settling litigation will impair FLOC’s ability

to engage in expressive advocacy on behalf of agricultural workers.

36.     Labor organizations use an array of tactics, including litigation, to advocate

for represented and unrepresented workers’ interests. In this way, labor

organizations are similar to other social movement organizations that use litigation,

like the American Civil Liberties Union or the National Association for the

Advancement of Colored People. As part of this advocacy, labor organizations

may sue employers.

37.     For example, a list of unions, including the International Union of Electrical,

Radio & Machine Workers (IUE), American Federation of State, County, and

Municipal Employees (AFSCME), and the United Auto Workers (UAW) pursued

a combination of negotiation, litigation, and lobbying to improve pay equity for

women workers and end the practice of excluding pregnancy from employer-


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provided health or disability insurance coverage. These unions were often parties,

alongside affected workers, in lawsuits. See, e.g., UAW v. Johnson Controls, Inc.,

499 U.S. 187 (1991) (whether employer policy banning women who could bear

children from certain dangerous jobs violated Title VII); General Electric v.

Gilbert, 429 U.S. 125 (1976) (whether employer’s disability benefits plan violated

Title VII of the Civil Rights Act because it excluded conditions related to

pregnancy); UAW v. Michigan, 886 F.2d 766 (6th Cir. 1989) (gender pay equity);

AFSCME v. Washington, 770 F.2d 1401 (9th Cir. 1985) (gender pay equity).

38.     Labor organizations may sue employers in their own names under the

associational standing doctrine, which allows organizations to file suit on behalf of

their members in federal court when certain conditions are satisfied. Hunt v. Wash.

State Apple Advertising Comm’n, 432 U.S. 333, 344 (1977). In International

Union, United Automobile, Aerospace & Agricultural Implement Workers of

America v. Brock, 477 U.S. 274 (1986), the Supreme Court observed that

associational standing allowed the union in that case (the UAW) to vindicate its

own political goals in addition to enforcing its members’ statutory rights. Thus, the

Brock Court linked the UAW’s litigation to the union’s political goal of achieving

“legislation on a national scale” that would establish “real social and

unemployment insurance, the expense of which is to be borne by the employer and

the Government.” Id. at 286 (internal quotation marks omitted).


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39.     Likewise, labor organizations sometimes vindicate their own associational

and expressive interests by facilitating workers’ lawsuits against their employers or

other entities. For example, unions may become aware of employer violations of

the law during organizing campaigns. When a union then helps affected workers

find counsel and file suit, it can be a powerful demonstration of the value of

collective action for individual workers.

40.     The Supreme Court has repeatedly recognized unions’ own First

Amendment interests in facilitating workers’ lawsuits. See United Transp. Union v.

State Bar of Mich., 401 U.S. 576, 585 (1971) (describing cases establishing that

“collective activity undertaken to obtain meaningful access to the courts is a

fundamental right within the protection of the First Amendment”).

41.     Thus, as I wrote in my article, Union Made: Unions’ Litigation for Social

Change, “unions were instrumental in establishing that the First Amendment

protects associations’ rights both to make attorney referrals and to encourage

members to enforce their rights through litigation, including by providing legal

counsel.” 88 Tulane L. Rev. at 202. A true and correct copy of this article is

attached as Exhibit C.

42.     Because the Farm Act appears to invalidate or render unenforceable

settlement agreements between labor organizations and agricultural producers, it

will hamper FLOC’s ability to engage in litigation.


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43.     First, it goes nearly without saying that settlements often result in quicker

and less expensive resolution of cases than litigating to final judgment. Labor

organizations’ litigation takes a wide variety of different forms, ranging from

complex class actions with billions of dollars at stake to much more

straightforward cases. One example of the former is UAW v. General Motors Corp.,

497 F.3d 615 (6th Cir. 2007), a case on which I worked when I was a practicing

attorney. There, the UAW and a class of retirees sued to prevent General Motors

(GM) and Ford Motor Co. from unilaterally cutting retiree health benefits, alleging

that such a cut would breach collective bargaining agreements between the UAW

and the companies. The case settled with the companies agreeing to contribute

substantial amounts—more than $3 billion in the case of GM—to trust funds that

would in turn be used to pay for retiree health benefits. Id. at 624. In the course of

approving the settlement agreement, the Sixth Circuit observed that the settlement

agreement was beneficial not just because the case involved high-stakes but

uncertain questions about the companies’ liability, but also because “any such

victory would run the risk of being a Pyrrhic one because the cost of insisting on

irreversible healthcare benefits might well be—and indeed almost certainly would

be—the continuing downward spiral of the companies’ financial position.” Id. at

632. In other words, eliminating the possibility of reaching an enforceable

settlement agreement could have left the retirees and the union in a worse position


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even if they had ultimately won their case—which would have also required an

expensive and lengthy litigation process.

44.     Likewise, settlements can result in outcomes that better achieve unions’

expressive and other goals than would remedies that can be awarded by a court.

These can include settlements that create mechanisms for dialogue and creative

problem-solving and compromise between employers and workers, or that

otherwise empower workers.

45.     One example is the case Smithfield v. United Food & Commercial Workers

Union, which I also worked on as a practicing attorney and which I describe in

Labor Values are First Amendment Values: Why Union Comprehensive

Campaigns are Protected Speech. The Smithfield case concluded in a settlement in

which the company and the union agreed in part to “what both parties believe to be

a fair election process by which the employees at Smithfield’s Tar Heel plant can

choose whether or not to be represented by the UFCW.” Joint Statement of

Smithfield & UFCW, Oct. 29, 2008.6 In addition, the two sides agreed to establish

a collaborative relationship in the context of a jointly administered “Feed the

Hungry Program,” a food donation and delivery program. Had the Farm Act

applied, this settlement agreement likely would have been unenforceable, so the

parties would have been more likely to litigate the case to its conclusion.


6
    http://www.ufcw.org/2008/10/29/joint-statement-of-smithfield-and-ufcw/.
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Presumably, continued litigation (with the attendant risk of total loss) would have

been a worse outcome for the employer-plaintiff and the defendant-union—as well

as for the non-party Smithfield workers, who would not have received a new

opportunity to choose whether or not to have union representation in connection

with the litigation.

46.     In other cases, settlement agreements might result in employers agreeing to

participate in a program such as the Fair Food Program or the similar Milk With

Dignity Program. Both programs include “know your rights” education for workers,

as well as methods for workers to bring complaints about working conditions to the

attention of a third party. The Fair Food Program’s complaint resolution

mechanism is described as follows: “Whenever possible, complaint resolutions

include an educational component, consisting of meetings with relevant

supervisors and crews, so that all workers on the farm can see that complaints are

heard and resolved without retaliation, and the farm’s commitment to the Program

is reconfirmed.” About the Fair Food Program. 7 If labor organizations cannot

enter enforceable contracts with agricultural producers to settle litigation, worker

voice-enhancing programs such as this one would become less likely to be

implemented.



7
 http://www.fairfoodprogram.org/about-the-fair-food-program/ (last visited Nov. 9,
2017)
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      Pursuant to 28 U.S.C. § 1746, I hereby declare and state under penalty of

perjury that the foregoing is true and correct to the best of my knowledge,

information, and belief.



DATED this 15th day of November, 2017.



                                _________________________

                                Prof. Charlotte Garden




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                       EXHIBIT
                         A
           Professor Charlotte Garden, Curriculum Vitae




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                                     CHARLOTTE GARDEN
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                                     ACADEMIC POSITIONS
SEATTLE UNIVERSITY SCHOOL OF LAW, Seattle, WA
Co-Associate Dean for Research & Faculty Development, July 2017—Present
Associate Professor, May 2015—Present (tenured April 2017)
Assistant Professor, July 2011—May 2015
Litigation Director, Fred T. Korematsu Center for Law & Equality, April 2014-Present
Courses Taught: Constitutional Law I & II; Labor Law; Appellate Litigation Seminar on Labor
and Employment Law; Legislation & Regulation; Civil Rights Amicus Clinic

UNIVERSITY OF ALABAMA SCHOOL OF LAW, Tuscaloosa, AL
Visiting Professor, Fall 2016
   Courses: Labor Law; Special Problems in Labor Law: Work, Regulation, & Technology

GEORGETOWN UNIVERSITY LAW CENTER, Washington, DC
Teaching Fellow , August 2008 – August 2010
   Course: Appellate Litigation Clinic

Teaching & Research Interests: Work Law; Constitutional Law; Statutory Interpretation;
Administrative Law; Appellate Practice & Procedure

                                           EDUCATION
GEORGETOWN UNIVERSITY LAW CENTER
LL.M., with distinction, October 2010
   Clinical Teaching Fellow, Appellate Litigation Program

NEW YORK UNIVERSITY SCHOOL OF LAW
J.D., cum laude, May 2003
    Annual Survey of American Law, Articles Editor
    Research Assistant, Professor Arthur Miller
    Teaching Assistant, Religion and the Supreme Court, Dean John Sexton

MCGILL UNIVERSITY
B.A., Great Distinction, Sociology and English Literature, June 2000
   First Class Honors
   Students’ Society of McGill University Award of Distinction
   David M. Solomon Memorial Award




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                                                                                              Charlotte Garden
                                                                                               CV Page 2 of 12




                                         JUDICIAL CLERKSHIP
THE HONORABLE THOMAS L. AMBRO, United States Court of Appeals for the Third Circuit
Law Clerk , August 2010 – July 2011

                                         LAW REVIEW ARTICLES
Platform Contradictions (in progress).

Constitutional Avoidance in Labor Law (in progress).

The Seattle Solution: Collective Bargaining by For-Hire Drivers & Prospects for Pro-Labor Federalism, __ HARV.
L. & POL'Y REV. __ (forthcoming 2018).

Disrupting Work Law, __ CHI. L. FORUM __ (forthcoming 2017).

Comments on the Restatement of Employment Law (Third), Chapter One, __ EM. RTS. & EMP. POL’Y J. __
(peer reviewed journal; forthcoming 2017) (with Joseph Slater).

The Deregulatory First Amendment at Work, 51 HARV. C.R.-C.L. L. REV. 323 (2016).

Religious Employers & Labor Law: Bargaining in Good Faith?, 95 B.U. L. REV. 109 (2016).

Toward Politically Stable NLRB Lawmaking: Rulemaking vs. Adjudication, 64 EMORY L.J. 1467 (2015).

Meta Rights, 83 FORDHAM L. REV. 855 (2014).

Citizens United & the First Amendment of Labor Law, 43 STETSON L. REV. 571 (2014).

Unions & Campaign Finance Litigation, 14 NEVADA L.J. 364 (2014).

“So Closely Intertwined”: Labor Interests and Racial Solidarity, 81 GEO. WASH. L. REV. 1135 (2013) (with
Nancy Leong).

Union Made: Labor’s Litigation for Social Change, 88 TULANE L. REV. 193 (2013).

Teaching for America: Unions and Academic Freedom, 43 U. TOL. L. REV. 563 (2012).

Citizens, United and Citizens United: The Future of Labor Speech Rights?, 53 WM. & MARY L. REV. 1
(2011).

Labor Values are First Amendment Values: Why Union Comprehensive Campaigns are Protected Speech,
   79 FORDHAM L. REV. 2617 (2011).




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                                                   BOOKS
THE CAMBRIDGE HANDBOOK OF U.S. LABOR LAW: REVIVING AMERICAN LABOR FOR A 21ST
CENTURY ECONOMY (Edited volume; co-edited with Richard Bales) (Cambridge University Press, in
progress, forthcoming 2018)

SHARING THE GAINS OF THE U.S. GLOBAL ECONOMY: PROCEEDINGS OF THE NEW YORK
UNIVERSITY 70TH ANNUAL CONFERENCE ON LABOR (Edited volume, co-edited with Samuel
Estreicher) (Carolina Academic Press, in progress, forthcoming 2018)

MODERN LABOR LAW IN THE PRIVATE AND PUBLIC SECTORS: CASES AND MATERIALS (with Seth
Harris, Joseph Slater and Anne Lofaso) (Carolina Academic Press, 2nd Ed., 2016)


                                         AWARDS & HONORS

Michael J. Zimmer Memorial Award (2016) (awarded annually to “a rising scholar who values
workplace justice and community, and who has made significant contributions to labor and
employment law scholarship).

Elected by students as Graduation Marshal (May 2017 & May 2013) and Graduation Hooder
(December 2014)

                                             AMICUS BRIEFS
Brief of Amici Curiae Labor Economists & Social Scientists in Support of the Petition for Writ of Certiorari,
Villarreal v. RJ Reynolds Tobacco Co. (US Supreme Court, No. 16-971) (with Catherine L. Fisk &
Deborah C. Malamud)

Brief of Amici Curiae Labor Law & Labor Relations Professors in Support of Respondent, Friedrichs v.
California Teachers Ass’n (US Supreme Court, No. 14-915) (with Matthew T. Bodie)

Brief of Amici Curiae Award-Winning California Teachers, American-Arab Anti Discrimination Committee, Fred
T. Korematsu Center for Law & Equality, & American Association of University Professors, Vergara v.
California (Cal. Ct. App., No. B258589) (with Lorraine Bannai & Robert Chang)

Brief of Amici Curiae Labor & Benefits Law Professors in Support of Respondents, M&G Polymers v. Tackett
(US Supreme Court, No. 13-1010) (with Susan Cancelosi)

Brief of Amici Curiae Labor Law Professors in Support of Respondent, Harris v. Quinn (US Supreme Court,
No. 11-681) (with Matthew T. Bodie)

Brief of Amici Curiae Committee of Interns and Residents, SEIU; Doctors Council SEIU; and Korean American
Medical Association in Support of Respondent, University of TX Southwestern Medical Ctr. v. Nassar (US
Supreme Court No. 12-484) (with Anjana Malhotra, Robert S. Chang, and Lorraine K. Bannai)




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                SELECTED OPINION PIECES, BLOGS, & SHORTER WORKS
Contributor, TAKE CARE BLOG, March 2017-present

Opinion Analysis: Court offers clear statement of black letter law on international service by mail, SCOTUSBLOG,
May 23, 2017

Opinion Analysis: Court Unanimously Adopts Abuse-of-Discretion Review for District Court Decisions to Enforce
EEOC Subpoenas, SCOTUSBLOG, April 4, 2017

Argument Analysis: The Court Dives Into Water Splash, SCOTUSBLOG, March 23, 2017

Unions are Wondering: Resist or Assist?, THE ATLANTIC, March 15, 2017

Argument Preview: Legal Interpretation in an Unconventional Context, SCOTUSBLOG, March 15, 2017

Argument Analysis: Discretion All The Way Down?, SCOTUSBLOG, Feb. 22, 1017

Argument Preview: Feats of Strength & Standards of Review, SCOTUSBLOG, Feb. 14, 2017

Labor in the Trump Years, 4 EMORY CORP. GOV. & ACCOUNTABILITY REV. 95 (2017)

A Cure for Just-In-Time Scheduling JOTWELL, May 26, 2016 (review of Charlotte Alexander, Anna
Haley-Lock, and Nantiya Ruan, Stabilizing Low-Wage Work: Legal Remedies for Unpredictable Work Hours
and Income Instability, 50 Harv. C.R.-C.L. L. Rev. 1 (2015))

What Would a Merrick Garland Confirmation Mean for the Future of Gig Work?, THE ATLANTIC, May 11,
2016

Does Labor’s Future Rest on Justice Scalia’s Replacement?, NEW LABOR FORUM, March 2016

Friedrichs v. California Teachers Association and Why We Need Nine, ACSBLOG, March 30, 2016

What Will Become of Public Sector Unions Now?, THE ATLANTIC, Feb. 16, 2016

Why Some States Want Strong Public-Sector Unions, THE ATLANTIC, Jan. 17, 2016

The End of Public Sector Agency Fees?, ACSBLOG, Jan. 12, 2016

Another Battle in the War Over Union Fees, SCOTUSBLOG, Aug. 28, 2015

Friedrichs v. CTA: Union Fair Share Fees Endangered in One of Next Term’s Biggest Cases, ACSBLOG, July 3,
2015

Will the Supreme Court Do More Damage To Public Sector Unions?, ACSBLOG, April 28, 2015




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The Constitution at Work: Everything Old is New Again, JOTWELL, March 10, 2015 (review of Sophia
Z. Lee, THE WORKPLACE CONSTITUTION: FROM THE NEW DEAL TO THE NEW RIGHT)

Three Lessons From the Fast Food Organizing Movement, ONLABOR, Dec. 18, 2014

US Supreme Court Should Uphold Promises Made to Retirees, JUSTICE WATCH (Blog of Alliance for
Justice), Nov. 13, 2014 (with Susan Cancelosi)

Harris v. Quinn: What’s At Stake, & What’s Next?, 21 INT’L UNION RIGHTS JOURNAL 18 (2014)

Harris v. Quinn’s First Amendment Exceptionalism, ONLABOR, July 15, 2014

Who Should Pay for Ideological Convictions At Work?, ACSBLOG, July 7, 2014

Harris v. Quinn symposium: Decision Will Affect Workers & Limit States’ Ability to Effectively Manage Their
Workforces, SCOTUSBLOG, July 2, 2014

Alito’s Cynical Political Payback Theory, SALON, January 27, 2014

What George Will Gets Wrong about Unions, Home Healthcare Aides, and the First Amendment,
HUFFINGTON POST, January 21, 2014

Public Employees, Unions and the First Amendment, ACSBLOG, December 11, 2013

Bell Labs: Derrick Bell’s Inspirational Pedagogy, 36 SEATTLE U. L. REV. xx (2013)

                                 LEGAL PRACTICE EXPERIENCE
APPELLATE LITIGATION CLINIC, GEORGETOWN UNIVERSITY LAW CENTER, Washington, DC
Teaching Fellow & Supervising Attorney , August 2008 – August 2010
Co-taught clinic and supervised students litigating in the United States Supreme Court and the
Federal Courts of Appeals. Argued Davis v. Fed. Bureau of Prisons, 334 F. App’x 332 (D.C. Cir. 2009),
about the extent to which federal prisoners can be compelled to bring cases via habeas petitions
instead of declaratory judgment actions, and McLean v. United States, 566 F.3d 391 (4th Cir. 2009),
about whether dismissals without prejudice count as “strikes” under the Prison Litigation Reform
Act.

BREDHOFF & KAISER, P.L.L.C., Washington, DC
Associate , December 2005 – July 2008
Represented labor unions, pension plans, and individuals in trial, appellate, and administrative
matters. Cases involved labor law, retiree health benefits, employment discrimination, civil RICO,
and constitutional law.




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CHILDREN’S LAW CENTER, Washington, DC
Staff Attorney , November 2004 – November 2005
Represented children in abuse and neglect cases in the District of Columbia. Investigated cases and
advocated for children and families in and outside of court.

PUBLIC CITIZEN LITIGATION GROUP, Washington, DC
Abraham Fuchsberg Fellow , September 2003 – August 2004
Represented organizations and individuals in cases involving administrative law, open government,
class action fairness, and the First Amendment.

LEGAL AID SOCIETY, JUVENILE RIGHTS DIVISION, New York, NY
Project Assistant, Safe Families Project, December 2002 – June 2003

QUINN EMANUEL URQUHART OLIVER & HEDGES, LLP, New York, NY
Summer Associate , Summer 2002

LEGAL AID SOCIETY, COMMUNITY LAW OFFICE, New York, NY
Intern , Summer 2001

                           SELECTED PANELS & PRESENTATIONS
   •   First Amendment Silver Linings for the Labor Movement, SEIU/AFSCME Lawyers’
       Conference, Washington DC, October 2017

   •   Federal and State Protection for Corporate Religious Liberty, Connecticut Law Review Symposium
       on Religious Freedom: Liberty, Legislation and Litigation, University of Connecticut School of
       Law, October 2017

   •   The Seattle Solution: Collective Bargaining by For-Hire Drivers & Prospects for Pro-Labor Federalism,
       Harvard Labor & Worklife Program symposium on Could Experiments at the State and Local
       Levels Expand Collective Bargaining and Workers' Collective Action?, Harvard Law School,
       September 2017.

   •   Platform Contradictions, Colloquium on Scholarship in Employment & Labor Law, Texas
       A&M Law School, September 2017

   •   Alternative Avenues for Worker Voice in the US, conference of the Labor Law Research
       Network, Toronto ON, June 2017.

   •   Disrupting Work Law?, presented at:
           o University of Washington School of Law, faculty colloquium series, April 2017
           o Rutgers Law Review Symposium on Resolving the Arbitration Dispute in Today’s Legal
             Landscape, April 2017
           o St. Louis University School of Law, faculty colloquium series, March 2017
           o University of Alabama School of Law, faculty colloquium series, Nov. 2016




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        o University of Chicago, Chicago Legal Forum symposium on Law and the Disruptive
          Workplace, Nov. 2016
•   Employer Religious Objections & Title VII, Berkeley Journal of Employment & Labor Law
    Symposium on The Future of Discrimination Law: Frameworks, Theory, Practice, & People, UC
    Berkeley Law, March 2017
•   Constitutional Avoidance in Labor Law, presented at:
        o Law & Society, Mexico City, June 2017
        o Meeting of the Labor Law Group, UCLA, December 2016
•   Towards A Pro Union Supreme Court?, presented at:
        o Colloquium on Scholarship in Employment & Labor Law, Seattle WA, Sept. 2016
        o Law & Society Association Annual Meeting, May 2016
•   Agency Fee Challenges After Friedrichs v. CA Teachers Ass’n, Annual Conference of the National
    Center for the Study of Collective Bargaining in Higher Education and the Professions,
    April 2016

•   The NLRB’s New Collier Deferral Standards & Update on Friedrichs v. CA Teachers Ass’n, 38th
    Annual Collective Bargaining & Arbitration Conference, Labor & Employment Relations
    Ass’n, April 2016

•   The Deregulatory First Amendment at Work, presented at
        o Hot Topics in Contemporary Labor Relations Law (CLE program, Chicago-Kent
          College of Law), closing plenary speaker, June 2016
        o Colloquium on Scholarship in Employment & Labor Law, Bloomington IN, Sept.
          2015
        o Law & Society Association Annual Meeting, May 2015.
•   “A Shot Across the Bow”: Politics and the Obama Board, Emory University School of Law,
    symposium on The National Labor Relations Board After Eighty Years, April 2015

•   The First Amendment As Threat to Economic Mobility, Stetson Law, symposium on Inequality,
    Opportunity, and the Law of the Workplace, March 2015

•   Religious Employers & Labor Law: Bargaining in Good Faith?, presented at:
        o University of Alabama School of Law, Oct. 2015
        o SJ Quinney College of Law – University of Utah, Sept. 2015
        o University of Wisconsin Law School, Jan. 2015
•   Current Trends in Union Organizing, Annual Pacific Coast Labor & Employment Law
    Conference, April 2013, 2015, 2017 (moderator)

•   National Labor Law Trends: Harris v. Quinn, 38th Annual Collective Bargaining & Arbitration
    Conference, Labor & Employment Relations Association NW, March 2015




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•   Harris v. Quinn: Past, Present & Future, ABA Section on State & Local Government
    Bargaining Midwinter Meeting, Jan. 2015 (keynote address)

•   The Corporate Great Awakening, presented at
        o Law and Society Association, Annual Meeting, June 2014
        o Colloquium on Scholarship in Employment & Labor Law, Sept. 2014
        o Symposium on Zealous Advocacy for Social Change: Transforming an Anti-Labor
          Environment into a Culture of Civility, West Virginia College of Law, Oct. 2014
•   Citizens United & The First Amendment of Labor Law, Stetson University College of Law
    symposium: Taking Stock of Citizens United: How the Law Has (and Has Not) Changed Four
    Years Later, Feb. 2014

•   Meta Rights, presented at:
        o Washington University School of Law, Nov. 2013
        o Constitutional Law Colloquium, Loyola University Chicago School of Law, Nov.
          2013
        o Labor & Employment Colloquium, UNLV Boyd School of Law, Sept. 2013
        o Young Scholars “Schmooze” with Mark Tushnet at the National Convention of the
          American Constitution Society, June 2013
•   I Would Prefer Not To, Law and Society Association, Annual Meeting, June 2013

•   Corporate Political Spending: Disclosure/Disunity/Dystopia?, Albers School of Business &
    Economics & Center for Business Ethics, Seattle University, May 2013 (panel member)

•   Collective Action & Race, Gender, & Class in Academia, Symposium on PRESUMED
    INCOMPETENT: THE INTERSECTIONS OF RACE & CLASS FOR WOMEN IN ACADEMIA,
    Berkeley Law, March 2013

•   So Closely Intertwined: Labor & Racial Solidarity, presented at:
        o Interuniversity Research Center on Globalization and Work, Union Futures,
          Transformations, Strategies conference, University of Montreal, Oct. 2012
        o ClassCrits V, University of Wisconsin Law School, Nov. 2012
•   Union Made: Labor’s Litigation for Social Change, presented at:
        o University of Iowa College of Law, Feb. 2013
        o Law and Society Association, Annual Meeting, June 2012
        o Democracy and the Workplace Symposium, UNLV Boyd School of Law, February
          2012
•   2012 ACLU Northwest Civil Liberties Conference, panel on First Amendment and Protest: A
    Year After Occupy, Lewis & Clark Law School, Sept. 2012

•   Supreme Court Preview, Seattle University School of Law, Sept. 2012; 2013; 2014; 2015




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    •   Teaching for America: Educators' Free Speech In and Out of the Classroom, presented at:
            o Toledo Law Review Symposium: Public Sector Labor Law at the Crossroads,
              University of Toledo College of Law, October 2011
            o Labor and Employment Law Colloquium, Loyola Law School Los Angeles,
              Southwestern Law School, and UCLA School of Law, Sept. 2011
    •   Citizens, United and Citizens United: The Future of Labor Speech Rights?, presented at:
            o Denver University – Sturm College of Law, April 2012.
            o Constitutional Law Colloquium, Loyola University Chicago School of Law, Nov.
              2010
            o Labor & Employment Law Colloquium, Washington University School of Law & St
              Louis University Law School, September 2010
    •   Labor Values are First Amendment Values: Why Union Comprehensive Campaigns are Protected
        Speech, presented at:
            o Fellows’ Workshop Series, Georgetown University Law Center, April 2010
            o Fourth Annual Employment & Labor Law Scholars’ Forum, Seton Hall University
              School of Law, January 2010


                     SELECTED MEDIA APPEARANCES & INTERVIEWS
Did The Washington Post Break A Law When It Disciplined A Reporter Over A Jeff Bezos Op-Ed?,
Huffington Post, September 15, 2017
Labor Day under Trump? Not exactly a picnic, Seattle Times, September 3, 2018

Seattle Law Allowing Uber Drivers to Organize Survives Challenge, Bloomberg BNA, August 25, 2017

Labor Organizing in Right-to-Work States Is Numbers Game, Bloomberg BNA, August 25, 2017

Fired Google Engineer Claims His Rights Were Violated. Trump’s Labor Board May Disagree, Huffington
Post, August 8, 2017

Judge Tosses Federal Lawsuit Against Seattle's Uber Unionization Law, The Stranger, August 1, 2017

Uber Renews Push for Arbitration in Waymo Trade-Secrets Case, Bloomberg, May 18, 2017

Waymo-Uber Judge Rules Robocar Fight Won’t Go to Arbitration, Bloomberg, May 11, 2017

Judge Blocks Seattle Law Allowing Uber and Lyft Drivers to Unionize, Bloomberg, April 5, 2017

Seattle Driver-for-Hire Union Law Hits Bump in Road, Bloomberg BNA April 4, 2017

Waymo Took Legal Action Against Engineer Before Suing Uber, Bloomberg, March 29, 2017




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Unionize Uber? Legal Fight Over Seattle Drivers Draws National Attention, Seattle Times, March 29, 2017

Uber Wants Waymo Robocar Secrets Fight Out of Public View, Bloomberg, March 27, 2017

Uber Gears Up to Block Bid to Form a Union in Seattle, Wall Street Journal, March 22, 2017

Seattle Law Letting Drivers Unionize Survives Uber Legal Attack, Bloomberg March 17, 2017

Uber Deal Giving Drivers $1 Each Sparks Feud Among Rival Lawyers, Bloomberg, March 10, 2017

Can I get fired for going on strike? Your legal rights on A Day Without a Woman, Mic, March 7, 2017

The Fallout From “A Day Without Immigrants”, The Atlantic, Feb. 21, 2017

Uber Deal Offers Drivers $1 Each To Wipe Away Labor Threats Valued in Billions, Bloomberg, February 1,
2017

Uber Sues Seattle Over Driver Unionization Ordinance, KNKX, January 18, 2017

The Force Behind Minimum Wage Protests is Slashing Its Spending, BuzzFeed, December 28, 2016

Donald Trump’s Supreme Court Will Be a Real Threat to Labor – And That’s Going to Hurt the Democrats,
Salon, November 17, 2016
Uber’s Drivers Win the Backing of US Labor Watchdog, Bloomberg, Nov. 2, 2016

Volkswagen Faces Bumpy Road in Challenge to ‘Micro-Union’, Reuters, Sept. 26, 2016

Uber’s $100 Million Driver Pay Settlement Rejected By Judge, Bloomberg, Aug. 18, 2016

Uber in Dare to Judge Says Its Ready to Ditch Driver Settlement, Bloomberg, Aug. 1, 2016

Texas Judge Blocks Obama’s Union-Buster Rule, Bloomberg, July 7, 2016

Amazon Proves Infertile Soil for Unions, So Far, New York Times, May 16, 2016

Uber Deals Put Spotlight on Seattle Showdown, Seattle Times, May 10, 2016

Lyft Pays Price for Success in Rejected Driver Pay Accord, Bloomberg, April 7, 2016

Lawyer in Lyft Accord Vows to Make Uber ‘Respect’ Drivers, Bloomberg, Jan. 27, 2016

Why are Unions So Worried About an Upcoming Supreme Court Case, The Atlantic, Jan. 8, 2016

Airport Employers Seek New Hearing on SeaTac Minimum Wage, Seattle Times, Dec. 15, 2015

Alaska Airlines, Other Businesses, Continue Legal Battle Over SeaTac Minimum Wage, KPLU, Dec. 15, 2015




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Seattle Allows Uber, Lyft Drivers To Unionize, Associated Press, Dec. 14, 2015

Uber Pushes New Contract on Drivers as Pay Fight Escalates, Bloomberg, Dec. 11, 2015

Uber Drivers’ Lawsuit Over Pay Just Got Much Costlier, Bloomberg, Dec. 9, 2015

Labor Board’s Shift in Legal Interpretation Could Allow Many Taxi Drivers to Unionize, Washington Post,
Oct. 29, 2015

Labor Law has been Frozen for 60 Years. Democrats are Trying to Crack it Open, Washington Post, Sept. 16,
2015

Scott Walker Sets Sights on Unions, Outlines Plan to Alter US Labor Law, Al Jazeera America, Sept. 14,
2015

The Assault on Unions Is Hurting All Workers, Newsweek, May 14, 2015

Amazon Makes Even Temporary Warehouse Workers Sign 18-Month Non-Competes, The Verge, March 26,
2015

City Council Member Says Let Uber Drivers Unionize, Seattle Times, Aug. 31, 2015

Washington Supreme Court Rules that $15 Minimum Wage Applies at Sea-Tac Airport, KPLU, Aug. 20, 2015

State’s High Court Extends SeaTac Minimum Wage to Airport Workers, Seattle Times, Aug. 20, 2015

Unions Divide Labor Movement Over LA Minimum Wage Exemptions, Al Jazeera America, May 29, 2015

Workers Behind Ruthless and Effective Grassroots Campaigns Are Now on Trial for Racketeering, The Nation,
March 13, 2015

Space Needle Told to Stop Unfair Labor Practices, Rehire Workers, KPLU, Feb. 2, 2015

Labor Board Attorney Backs Up Claims McDonald’s Violated Labor Rights, Al Jazeera America, Dec. 19,
2014

Office Politics, Slate, Oct. 15, 2014

Home-Care Aides Don’t Owe Union Fees, but Court Stops Short of Overruling a Key Precedent, ABA Journal,
Sept. 1, 2014

Why a Win for Anti-Choice Protestors Might Also Strengthen Workers’ Rights to Strike, The Nation, July 18,
2014

Why Harris v. Quinn Isn’t as Bad For Workers as it Sounds, Washington Post, July 1, 2014




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California Unions Fear ‘Free-Riders’ in Supreme Court Health Ruling, KPCC, June 30, 2014

Anti-Union Group Files Federal Lawsuit Against UAW & Volkswagen, Detroit Free Press, March 13,
2014

Space Needle Owners Violated Federal Labor Law, Administrative Law Judge Finds, KPLU, March 7, 2014

Citizens United Boosts Union Canvassers, Marketplace (American Public Media) in collaboration with
PBS/Frontline, Oct. 10, 2012

                           INSTITUTIONAL & EXTERNAL SERVICE

    • Academic Assembly, substitute member (Spring 2016)
    • Faculty Development Committee
          o Chair (2014-16)
          o Member (2011-12)
    • Curriculum Committee, member (2012-14)
    • Seattle University Law Review, Faculty Advisor (2013-2017)
    • Seattle University School of Law chapter of the American Constitution Society, Faculty
      Advisor (2013-Present)
    • National Native American Law Student Association Moot Court Competition, Faculty
      Coach (2014 & 2015)
    • Seattle University Summer Workshop Series, Co-Organizer (2013-Present)
    • Supreme Court Term Preview CLE Program, Co-Organizer (2013-2015)
    • Judicial Institute for High School Teachers, Presenter (2014, 2015, 2016, 2017)
    • Co-Organizer, Colloquium on Scholarship in Employment & Labor Law, Co-hosted by
      Seattle University School of Law & University of Washington School of Law, Sept. 2016
    • Co-Chair, Labor Rights Collaborative Research Network, Law & Society Association, June
      2015-present
    • Co-Organizer, The Thirteenth Amendment Through The Lens of Class & Labor Conference, Seattle
      University School of Law, June 2015.

                            OTHER AFFILIATIONS & ACTIVITIES

    •   Member, Labor Law Group, Jan. 2017-Present
    •   Research Fellow, NYU School of Law Center for Labor & Employment Law, Apr. 2017 –
        Present
    •   Executive Committee member, AALS Section on Labor Relations and Employment Law,
        January 2016-present
    •   JOTWELL, Work Law Section Co-Editor, January 2016-present; Work Law Section
        Contributor, 2014-present
    •   Judge, Louis Jackson National Student Writing Competition, 2015, 2016, 2017




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                         B
Charlotte Garden, “Labor Values Are First Amendment Values: Why
Union Comprehensive Campaigns Are Protected Speech”, Fordham
      Law Review Vol. 79 (6), 2618-2626 (2011), available at
            http://ir.lawnet.fordham.edu/flr/vol79/iss6/7




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2011

Labor Values Are First Amendment Values: Why
Union Comprehensive Campaigns Are Protected
Speech
Charlotte Garden




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Rev. 2617 (2011).
Available at: http://ir.lawnet.fordham.edu/flr/vol79/iss6/7


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              LABOR VALUES ARE FIRST AMENDMENT
              VALUES: WHY UNION COMPREHENSIVE
               CAMPAIGNS ARE PROTECTED SPEECH
                                              Charlotte Garden*

          Corporate targets of union “comprehensive campaigns” increasingly
       have responded by filing civil Racketeer Influenced and Corrupt
       Organizations Act (RICO) lawsuits alleging that unions’ speech and
       petitioning activities are extortionate. These lawsuits are the descendants
       of the Supreme Court’s unexplained treatment of much labor speech as less
       worthy of protection than other types of speech. Starting from the position
       that speech that promotes democratic discourse deserves top-tier First
       Amendment protection, I argue that labor speech—which plays a unique
       role in civil society—should be on an equal footing with civil rights speech.
       Thus, even if union advocacy qualifies as legal extortion, the First
       Amendment should trump civil RICO enforcement, with two limited
       exceptions: speech that is actually malicious, and speech that imminently
       threatens to force an employer to choose between breaking the law and
       suffering significant economic harm or shutting its doors altogether.

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       * Assistant Professor of Law, Seattle University School of Law (effective August 2011).
       B.A. McGill University, 2000; J.D. New York University 2003. As an associate at Bredhoff
       & Kaiser, PLLC, I worked on Smithfield Foods v. United Food & Commercial Workers
       International Union, 585 F. Supp. 2d 789 (E.D. Va. 2008), from when it was filed in
       October 2007 until leaving the firm in July 2008. I would like to thank Hannah Alejandro,
       Kate Bushman, Owen Davies, Steve Goldblatt, Mike Gottesman, Mindy Leon, Nancy
       Leong, Justin Pidot, Robin West, and Brian Wolfman, as well as the participants in the
       Fourth Annual Employment & Labor Law Scholars’ Forum and the Georgetown University
       Law Center Fellows’ Workshop Series, all of whom provided invaluable advice on this
       paper.

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                                                 INTRODUCTION
         Union density—the percentage of the eligible workforce that is
       represented by a union—is falling in the United States. Among private
       employers, it has been falling since the 1950s and is now well below ten
       percent, far lower than in previous decades. 1 Unless unions come up with
       new strategies to organize workers this is unlikely to change, particularly
       given employers’ impressive track records at defeating traditional
       organizing methods. 2 In response, unions are increasingly waging

            1. BUREAU OF LABOR STATISTICS, UNION MEMBERS SUMMARY (2011), available at
       http://www.bls.gov/news.release/union2.nr0.htm.
            2. See generally Kate Bronfenbrenner, Final Report: The Effects of Plant Closing or
       Threat of Plant Closing on the Right of Workers To Organize, DIGITALCOMMONS@ILR
       INT’L    PUBLICATIONS       (Sept.  30,    1996),   http://digitalcommons.ilr.cornell.edu/
       cgi/viewcontent.cgi?article=1000&context=intl.




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       “comprehensive campaigns” in pursuit of employer neutrality, recognition,
       first contracts, and the like. During comprehensive campaigns, unions
       deploy a range of tactics, including teaming up with community groups to
       criticize the company’s record on labor, environmental, and other issues of
       concern to the public and company stakeholders; lobbying city governments
       to pass resolutions condemning the company; opposing the company in the
       regulatory arena (such as by opposing permit applications); and organizing
       boycotts of the employer’s goods. 3
          Employers hate comprehensive campaigns. They can span decades, they
       can harm the employers’ reputations, and they can be costly to fight. (And,
       they sometimes result in unionization or a contract.) Increasingly,
       employers are responding by filing civil racketeering actions.4 These suits
       allege that a comprehensive campaign is extortionate in that it leverages the
       employer’s fear of economic loss to obtain property, in the form of either a
       neutrality or card-check agreement or, more tangibly, union dues or
       increased wages and benefits. 5 Additionally, they may also allege that the
       comprehensive campaign’s goal was illegal.6 For example, in Smithfield v.
       United Food & Commercial Workers International Union (UFCW), 7 the
       complaint alleged that the union sought to compel company recognition of
       the union as its employees’ exclusive representative, even though the union
       lacked majority support. 8 However, other suits simply focus on the fact
       that employers have no legal obligation to agree to certain union demands,
       such as remaining neutral during an organizing campaign. 9
          It is unclear what role the First Amendment plays in protecting unions
       from civil liability under the Racketeer Influenced and Corrupt

            3. Cynthia L. Estlund, The Ossification of American Labor Law, 102 COLUM. L. REV.
       1527, 1605 & n.326 (2002).
            4. There have been fewer than twenty such suits filed since 1980. James J. Brudney,
       Collateral Conflict: Employer Claims of RICO Extortion Against Union Comprehensive
       Campaigns         27       &      nn.131–33        (Dec.     2009),      available      at
       http://works.bepress.com/cgi/viewcontent.cgi?article=1001&context=james_brudney.
       However, the filing of three such suits within the space of a year might suggest that
       employers are beginning to view civil RICO as a more attractive way of fighting union
       organizing campaigns. See generally Cintas Corp. v. UNITE HERE, 601 F. Supp. 2d 571
       (S.D.N.Y.) (complaint filed March 5, 2008, alleging civil RICO violation and trademark
       infringement), aff’d, 355 F. App’x 508 (2d Cir. 2009); Wackenhut Corp. v. Serv. Emps. Int’l
       Union, 593 F. Supp. 2d 1289 (S.D. Fla. 2009) (complaint filed Nov. 1, 2007 in the Southern
       District of New York, then transferred to the Southern District of Florida under Case no.
       9:07-cv-81090, alleging civil RICO violation); Smithfield Foods, Inc. v. United Food &
       Commercial Workers Int’l Union, 585 F. Supp. 2d 789 (E.D. Va. 2008) (complaint filed Oct.
       17, 2007, alleging violations of civil RICO and various North Carolina torts). Similarly,
       Sodexo recently filed a complaint against the Service Employees International Union and
       others, bringing civil RICO and tort claims. Complaint at 113–24, Sodexo, Inc. v. Serv.
       Emps. Int’l Union, No. 1:11-cv-276 (E.D. Va. Mar. 17, 2011).
            5. See supra note 4.
            6. For example, Smithfield alleged that the United Food & Commercial Workers’s
       (UFCW) comprehensive campaign had an illegal goal, whereas Wackenhut and Cintas did
       not.
            7. 585 F. Supp. 2d 789.
            8. See generally First Amended Complaint, Smithfield, 585 F. Supp. 2d 789 (No.
       3:07CV641), 2008 WL 1825139.
            9. See infra notes 77–80 and accompanying text.




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       Organizations Act (RICO) for their advocacy during comprehensive
       campaigns. For example, the Smithfield court rejected wholesale the
       union’s First Amendment defense, concluding that “the First Amendment
       simply does not protect extortion.” 10 However, it is clear that the same
       conduct carried out by civil rights protesters pursuing “political” goals
       would have a much stronger claim to First Amendment protection. In
       NAACP v. Claiborne Hardware Co., 11 the Supreme Court held that the
       First Amendment protected coercive speech—speech that was significantly
       more coercive than that involved in most comprehensive campaigns—when
       it was part of a civil rights campaign. 12 Importantly, though, the Claiborne
       Hardware Court went on to state that tactically similar labor speech aimed
       at achieving traditional union goals fell somewhere lower down the ladder
       because labor’s goals are “economic” rather than political.13 Likewise, the
       Court has on other occasions stated that labor picketing and secondary
       boycotts are subject to regulation simply because they are coercive—even if
       they are motivated by purely political, and not economic, goals. 14
          In this Article, I argue that most labor speech employed in
       comprehensive campaigns should receive heightened First Amendment
       protection because of its important role in facilitating democratic discourse
       and deliberation. 15 Accounts of the First Amendment that focus on popular
       sovereignty and democratic discourse have failed to consider fully the role
       of associations in promoting such discourse. Yet associations perform tasks
       that are crucial to a well-functioning democracy: encouraging deliberation
       about shared interests and goals; acting as microcosms where members can
       develop civic skills and a heightened sense of their social roles; providing a
       check on government by promoting social solidarity independent from the
       state; and aggregating and amplifying their members’ voices. 16
          Thus, my argument is, first, that associational speech belongs on the
       highest rung of the First Amendment hierarchy, and second, that union
       speech is an important component of associational speech. In that regard,
       unions, like other associations, perform deliberation-enhancing and state-
       checking functions.         First, because unions are relatively formal
       democracies, they can serve as schools for democracy 17 in which members
       must engage in meaningful deliberation to keep the union running
       smoothly. Second, unions’ relative diversity provides opportunities for
       members to forge new social bonds, facilitating group interdependence.


          10. Smithfield, 585 F. Supp. 2d at 805 (alterations omitted) (internal quotation marks
       omitted) (quoting United States v. Boyd, 231 F. App’x 314, 315–16 (5th Cir. 2007)).
          11. 458 U.S. 886 (1982).
          12. Id. at 928–29.
          13. Id. at 912.
          14. E.g., Int’l Longshoremen’s Ass’n v. Allied Int’l, Inc., 456 U.S. 212, 225–26 (1982)
       (holding that secondary boycott launched to protest Soviet invasion of Afghanistan could be
       enjoined consistent with the First Amendment).
          15. In this Article, I will use the words “discourse” and “deliberation” interchangeably.
          16. See generally JEAN L. COHEN & ANDREW ARATO, CIVIL SOCIETY AND POLITICAL
       THEORY (1992).
          17. See generally ALEXIS DE TOCQUEVILLE, DEMOCRACY IN AMERICA (1835).




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       Third, unions can act directly in the political process as a partial
       counterweight to the interests of those with the easiest access to political
       power. Fourth, unions may encourage members’ political participation, as
       there is at least some empirical evidence that union members are more
       likely than the rest of the public to participate in government, by engaging
       in activities such as volunteering for a political candidate or writing a letter
       to the editor.
          So far, I have focused on only one side of First Amendment balancing.
       But of course, even top-tier First Amendment protection can be overcome
       by a compelling and narrowly-tailored state interest. Ultimately, I conclude
       that the interests advanced by civil RICO cannot surmount unions’ First
       Amendment interests in nonviolent comprehensive campaign advocacy,
       except if the unions’ speech (1) is actually malicious under New York Times
       Co. v. Sullivan 18 or (2) imminently threatens to force the employer to
       choose between taking an illegal action and suffering serious financial
       harm.
          Part I of this Article describes comprehensive campaigns and the civil
       RICO lawsuits targeting them. Part II discusses the current state of the law
       governing First Amendment protection for union expressive activity. Part
       III argues that speech that enhances civil society, including union speech,
       deserves the highest level of First Amendment protection because of its role
       in promoting deliberative democracy. Finally, Part IV argues that the First
       Amendment should provide a defense to most civil RICO suits, though the
       National Labor Relations Board (NLRB) may be able to continue to
       regulate comprehensive campaigns without violating unions’ First
       Amendment rights.

                                        I. BACKGROUND

                            A. Union Comprehensive Campaigns
         It is no surprise that union density is falling in the United States and has
       been for decades. In 2008, only 12.4% of workers—16.1 million
       workers—belonged to a union.19 Just fifteen years earlier, 20% of workers
       belonged to a union,20 and, in 1945, more than one-third of non-agricultural
       workers were union members. 21 This decline has continued even though
       “unionized workers tend to be paid more and are more likely to be covered




           18. 376 U.S. 254 (1964).
           19. BUREAU OF LABOR STATISTICS, UNION MEMBERS SUMMARY (2009), available at
       http://www.bls.gov/news.release/archives/union2_01282009.htm.   Unions represented
       another 1.7 million non-members. Id.
           20. Id.
           21. ERIC FONER, THE STORY OF AMERICAN FREEDOM 229 (1998); Daniel B. Cornfield &
       Bill Fletcher, The U.S. Labor Movement: Toward a Sociology of Labor Revitalization, in
       SOURCEBOOK OF LABOR MARKETS: EVOLVING STRUCTURES AND PROCESSES 61, 61 (Ivar
       Berg & Arne L. Kalleberg eds., 2001).




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       by a broader set of employer-provided fringe benefits than nonunion
       workers.” 22
          To reverse this trend, unions have begun waging “comprehensive
       campaigns.” These campaigns, also known as “corporate,” “coordinated,”
       or “strategic” campaigns, 23 are prolonged organizing efforts designed to
       pressure employers into agreeing to union demands. A union may seek
       employer neutrality during a union organizing drive or an alternative union
       election process, such as a card-check, instead of an NLRB-sponsored
       election.     Comprehensive campaigns simultaneously target multiple
       employer pressure points—employees, customers, shareholders, directors,
       regulators, and the public at large—by “appeal[ing] directly to the public by
       way of rallies, pickets, speeches, and leafleting in public streets and parks,
       often with the active support of churches and other community
       organizations outside the labor movement itself.”24
          Comprehensive campaigns differ from more traditional labor organizing
       tactics in a few respects. First, they move the locus of the dispute from the
       plant floor or the picket line out into the community and sometimes across
       state and national borders. Second, they involve both labor unions and
       other community, religious, and activist organizations and thus rally a broad
       base of support that goes beyond labor’s immediate constituency. Third,
       they move away from traditional labor rhetoric and include the concerns of
       the civil rights, environmental, and consumer protection movements, among
       others, which sometimes conveys the impression that those organizations—
       and not the labor union—are the driving force behind the various rallies,
       press releases, and other campaign events.
          However, “comprehensive campaign” is not subject to precise definition.
       The U.S. Court of Appeals for the D.C. Circuit has observed that the
       equivalent term “corporate campaign”
            encompasses a wide and indefinite range of legal and potentially illegal
            tactics used by unions to exert pressure on an employer. These tactics may
            include, but are not limited to, litigation, political appeals, requests that
            regulatory agencies investigate and pursue employer violations of state or
            federal law, and negative publicity campaigns aimed at reducing the
            employer’s goodwill with employees, investors, or the general public. 25




           22. Cornfield & Fletcher, supra note 21, at 66 (“[O]ver time, union wages are
       consistently higher than nonunion wages for all demographic groups.”).
           23. Much of the literature discussing these campaigns from employers’ perspectives uses
       the term “corporate campaign,” whereas unions have come to favor “comprehensive
       campaign.” Brudney, supra note 4, at 7 & nn.23–24. This Article uses the term
       “comprehensive campaign.”
           24. Estlund, supra note 3, at 1605; see also Brudney, supra note 4, at 1 (“Coordinated
       campaign tactics include publicity efforts aimed at attracting media attention and consumer
       interest; regulatory reviews initiated to focus on a company’s possible health, safety,
       environmental, or zoning violations; and investigations of a company’s financial status
       through use of pension funds or other shareholder resources.”).
           25. Food Lion, Inc. v. United Food & Commercial Workers Int’l Union, 103 F.3d 1007,
       1014 n.9 (D.C. Cir. 1997).




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       It is unclear whether comprehensive campaigns actually affect employers’
       economic performance. 26 However, employers bringing civil RICO suits
       claim that they do, 27 and there is some evidence that comprehensive
       campaigns can convince an employer to agree to maintain a publically
       neutral stance toward union organizing or to hold an alternative union
       election, such as a card-check—both of which make it more likely that
       employees will vote to unionize. 28

            B. Civil RICO as a Response to Union Comprehensive Campaigns
          To state a claim under the civil RICO statute, an employer must plead a
       pattern or practice of racketeering activity, as evidenced by two or more
       commissions of “predicate crimes” from an enumerated list. 29 In civil
       RICO cases arising out of comprehensive campaigns, the predicate crime
       alleged is generally extortion. Though violations of state or federal
       extortion law can generally be a RICO predicate, the Supreme Court
       requires that the conduct also qualify as “‘generic’ extortion,” defined as
       “‘obtaining something of value from another with his consent induced by
       the wrongful use of force, fear, or threats.’” 30
          Civil RICO is only the most recent vehicle by which employers have
       filed lawsuits targeting core labor activity, such as organizing and striking.
       In the remainder of this section, I will trace the history of these lawsuits and
       then describe the most recent round of civil RICO suits, focusing on
       Smithfield.




           26. James Gray Pope, Labor-Community Coalitions and Boycotts: The Old Labor Law,
       the New Unionism, and the Living Constitution, 69 TEX. L. REV. 889, 906 (1991) (citing C.
       PERRY, UNION CORPORATE CAMPAIGNS 125 (1987)) (concluding that unions’ attempts to put
       direct economic pressure on employers mostly had “nuisance value,” and that “the key to
       union success lies not in economic or direct pressure, but in union appeals to principle that
       influence public relations”); cf. Brudney, supra note 4, at 1–2 (stating that unions engaging
       in comprehensive campaigns “have enjoyed some success which in turn has contributed to a
       modest rise in private sector union density, the first such increase for decades.”).
           27. For example, Smithfield claimed at least $5,900,000 in damages in its complaint
       against the UFCW. First Amended Complaint, supra note 8, ¶ 1, at 91–92; infra Part IV.B.
       According to one press release issued by Hunton & Williams, the law firm that represented
       Smithfield in its civil RICO lawsuit against the UFCW, “the corporate campaign is a
       coordinated, negative publicity effort intended to place unbearable financial, legal and social
       pressure on a targeted employer in order to convince that employer to forego its NLRB
       rights and agree to the union’s organizing demands.” Press Release, Gregory B. Robertson &
       Kurt G. Larkin, Hunton & Williams LLP, RICO: A New Tool for Employers Facing Union
       Corporate Campaigns? (May 2009), available at http://www.hunton.com/files/
       tbl_s47Details\FileUpload265\2664\RICO_A_New_Tool_5.09.pdf.
           28. Brudney, supra note 4, at 10 & n.38.
           29. 18 U.S.C. § 1961(1) (2006) (defining racketeering activity).
           30. Scheidler v. Nat’l Org. for Women, Inc., 537 U.S. 393, 409 (2003) (quoting United
       States v. Nardello, 393 U.S. 286, 290 (1969)); see James v. United States, 550 U.S. 192, 222
       n.2 (2007) (noting that the Court adopted that definition because the RICO statute leaves
       extortion undefined). This is the definition of extortion under the Hobbs Act. See 18 U.S.C.
       § 1951(b)(2); see also United States v. Enmons, 410 U.S. 396, 397 (1973).




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                         1. Extortion Liability for Core Union Activity
          The theory that core union activity, like strikes and boycotts, constitutes
       criminal conspiracy is not new; prosecutions of workers engaged in
       collective action date back to at least 1806. 31 Since then, employers’ legal
       theories have evolved alongside Congress’s and the courts’ modification of
       the applicable law, but the underlying legal theory—that labor unions have
       no right to damage an employer’s profitability or reputation through
       collective action, particularly through appeals to the general public—has
       remained remarkably similar.32
          Early conspiracy lawsuits against unions often successfully invoked
       federal antitrust law, and these suits continued even after Congress
       attempted to exempt core union activity from the reach of antitrust law in
       the Clayton Act. 33 In Duplex Printing Press Co. v. Deering 34 and later
       cases, the Lochner-era Court reasoned that, through activities like picketing
       and secondary boycotts, unions sought to drag third parties “against [their]
       will into a concerted plan to inflict damage upon another employer who is
       in dispute with his employees.” 35 That reasoning was not limited to
       secondary boycotts: any labor protest could be tortious if its effect was to
       embarrass potential customers away from the business with which the union
       had a dispute. For example, in Truax v. Corrigan, 36 the Court overturned

           31. Jim Hawkins, Papers, Petitions, and Parades: Free Expression’s Pivotal Function
       in the Early Labor Movement, 28 BERKELEY J. EMP. & LAB. L. 63, 68 (2007). Before the
       1800s, criminal labor prosecutions were relatively rare and convictions even more unusual.
       See WILLIAM E. FORBATH, LAW AND THE SHAPING OF THE AMERICAN LABOR MOVEMENT 61
       (1991) (“[T]here seem to have been relatively few criminal conspiracy trials of trade
       unionists until the 1870s . . . . In the 1870s and 1880s, however, sanctions grew harsher.”).
           32. E.g., Duplex Printing Press Co. v. Deering, 254 U.S. 443, 466 (1921); Loewe v.
       Lawlor, 208 U.S. 274, 301 (1908). In Duplex Printing Press Co. v. Deering, the Court
       concluded that the Clayton Act’s labor exemption did not exempt from antitrust liability a
       union’s threats of secondary boycotts and strikes—or the coerced participation of union
       members in those activities—aimed at pressuring employers to adopt union wage and hour
       scales. Duplex Printing Press Co., 254 U.S. at 466. The Court stated that, by expanding the
       locus of the dispute beyond unionized employers, the union had “depart[ed] from its normal
       and legitimate objects,” id. at 469, and instead engaged in “a general class war,” id. at 472.
       Unsurprisingly, the Court theorized that “business . . . is a property right, entitled to
       protection against unlawful injury or interference” by labor unions. Id. at 465. However, in
       dissent, Justice Brandeis argued that the Clayton Act authorized “industrial combatants” to
       “push their struggle to the limits of the justification of self interest.” Id. at 484, 488
       (Brandeis, J., dissenting); see also Am. Steel Foundries v. Tri-City Cent. Trades Council,
       257 U.S. 184, 204 (1921) (concluding that the Clayton Act does not protect coercion or
       intimidation, from which “the person sought to be influenced has a right to be free and his
       employer has a right to have him free”); FORBATH, supra note 31, at 60 (stating that, “[b]y
       the early twentieth century, common law and antitrust doctrine condemned . . . virtually the
       entire spectrum of peaceful secondary actions”).
           33. Seth Kupferberg, Political Strikes, Labor Law, and Democratic Rights, 71 VA. L.
       REV. 685, 713 (1985).
           34. 254 U.S. 443.
           35. Duplex Printing Press Co., 254 U.S. at 474; see also Am. Steel Foundries, 257 U.S.
       at 212 (characterizing the Duplex Printing Press Co. boycott as an attempt by the union “to
       use the right of trade of persons having nothing to do with the controversy . . . to injure the
       Duplex Company in its interstate trade”).
           36. 257 U.S. 312 (1921).




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       an Arizona statute protecting labor strikes and boycotts, holding that it
       violated the Fourteenth Amendment. 37 The Court explained that labor
       picketing that forced customers patronizing the struck restaurant to “run the
       gauntlet of most uncomfortable publicity, aggressive and annoying
       importunity, libelous attacks and fear of injurious consequences, illegally
       inflicted, to his reputation and standing in the community” was “moral
       coercion,” before adding that “[v]iolence could not have been more
       effective.” 38
          These cases were far from isolated. “Between 1880 and 1931, by one
       count, nearly two thousand injunctions were issued prohibiting strikes and
       labor boycotts.” 39 They declined only after Congress passed the Norris-
       LaGuardia Act, which “deprived federal courts of jurisdiction to issue
       injunctions in most cases arising from labor disputes.” 40 However, Norris-
       LaGuardia did not spell the end of lawsuits alleging that labor organizing
       activity was extortionate. In 1973, the Court addressed such a suit in the
       context of the Hobbs Act. In United States v. Enmons, 41 the federal
       government charged that a union’s acts of violence and property destruction
       constituted extortion under the Hobbs Act because they were aimed at
       compelling an employer to sign a collective bargaining agreement. 42 It was
       undisputed that the union’s objectives—higher wages—and the
       accompanying strike were both legal, but the government argued that the
       union’s use of violence amounted to extortion because it sought to obtain
       “property . . . by wrongful use of actual or threatened force, violence or
       fear.” 43 The Court rejected the government’s construction of the Hobbs Act
       because it would have elevated picket-line violence to a federal racketeering
       violation. 44 Instead, the Court held that a statutory violation exists only
       where force, violence, or fear is used to obtain property to which “the
       alleged extortionist has no lawful claim.” 45
          Thus, civil RICO is simply the latest legal theory under which labor
       unions have faced potential liability for organizing and related activity. As
       discussed in the next section, these RICO cases have met with mixed
       results, and it is unclear whether they will ultimately prove successful.




           37. Id. at 340–41.
           38. Id. at 328.
           39. FONER, supra note 21, at 123.
           40. Kupferberg, supra note 33, at 713; see also United States v. Hutcheson, 312 U.S.
       219, 231–33 (1941) (describing how newly-enacted Norris-LaGuardia Act accomplished
       what Congress first sought to accomplish through the Clayton Act and holding that its anti-
       injunction provisions precluded criminal liability for picketing and boycott activity).
           41. 410 U.S. 396 (1973).
           42. Id. at 397.
           43. Id. (quoting 18 U.S.C. § 1951(b)(2) (2006)).
           44. Id. at 411.
           45. Id. at 400.




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                          2. Recent RICO Lawsuits Targeting Unions
          A growing number of employers have responded to union comprehensive
       campaigns by filing civil lawsuits based on RICO. 46 For example, in rapid
       succession between October 2007 and March 2008, Smithfield Foods,
       Wackenhut Corporation, and Cintas Corporation each filed a lengthy civil
       complaint alleging that a union (or, in the case of Cintas, two unions), along
       with other assorted labor organizations and individuals, had violated civil
       RICO and other causes of action by engaging in a comprehensive
       campaign. 47 None of those complaints alleged that union violence had
       taken place during campaign activities. Rather, each alleged that the
       defendants had committed extortion by threatening to continue the
       comprehensive campaign until the employer agreed to the union’s
       demands. 48
          Smithfield Foods’ recent lawsuit against the UFCW is illustrative
       because it both describes a comprehensive campaign that involved the
       tactics discussed above and resulted in a late-stage settlement, rather than a
       dismissal by a court. However, it also presents a somewhat more
       complicated case because unlike many other similar lawsuits, such as
       Wackenhut Corp. v. Service Employees International Union49 and Cintas
       Corp. v. UNITE Here, 50 Smithfield alleged that the union goal was, at least
       in part, to compel Smithfield to behave illegally. 51 To provide context, I
       will discuss briefly the UFCW’s comprehensive campaign and the resulting
       lawsuit.
        3. The UFCW’s Comprehensive Campaign To Organize Smithfield’s Tar
                                  Heel Plant
         The Smithfield civil RICO lawsuit had its genesis more than twelve years
       earlier, when the UFCW began trying to organize Smithfield’s pork
       processing plant in Tar Heel, North Carolina. Tar Heel, population sixty-
       seven, is in southeastern North Carolina, the state with the lowest union
       density in the country. 52 The Smithfield plant is the largest pork processing
       plant in the world, employing about 5,000 workers who slaughter and
       process 32,000 hogs per day. 53



           46. Pub. L. No. 91-452, Title IX, 84 Stat. 941 (1970) (codified at 18 U.S.C. §§ 1961–
       1968); see Brudney, supra note 4, at 27 nn.131–33 (listing cases).
           47. See supra note 4.
           48. See, e.g., First Amended Complaint, supra note 8, ¶ 43, at 12.
           49. 593 F. Supp. 2d 1289 (S.D. Fla. 2009).
           50. 601 F. Supp. 2d 571 (S.D.N.Y. 2009).
           51. See supra note 6.
           52. Tar Heel, North Carolina, CITY-DATA.COM, http://www.city-data.com/city/Tar-Heel-
       North-Carolina.html (last visited Apr. 20, 2011); BUREAU OF LABOR STATISTICS, supra note
       19 (North Carolina’s union membership rate is 3.5%).
           53. First Amended Complaint, supra note 8, ¶ 9, at 3; Smithfield Tar Heel Plant Votes
       for       Union,       REUTERS      (Dec.      12,      2008),       http://www.reuters.com/
       article/idUSN1139559220081212;.




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          The UFCW’s early organizing attempts—which did not involve a
       comprehensive campaign—resulted in NLRB-monitored union elections in
       1994 and 1997. 54 The UFCW lost both elections, but only after Smithfield
       engaged in what the NLRB later found to have been an array of unfair labor
       practices during the time leading up to each election, including threatening
       employees with plant closure, threatening pro-union employees with
       discipline, interrogating employees about their attitudes toward the union,
       maintaining surveillance of employees distributing pro-union handbills,
       suspending and firing pro-union employees, and assaulting and arresting at
       least one pro-union employee. 55 Following post-election unfair labor
       practice proceedings, the NLRB ordered Smithfield to reinstate with
       backpay those employees who had been wrongfully fired, issued a cease-
       and-desist order, required Smithfield to provide UFCW with a list of names
       and addresses of current employees, and ordered Smithfield to post
       notices. 56 However, the NLRB declined to issue a bargaining order, which
       would have compelled Smithfield to bargain with the UFCW without
       another election. 57 Moreover, Smithfield’s appeal of the NLRB’s decision
       was not completed until 2006—meaning that the Board-ordered remedies
       were not implemented until nearly a dozen years after the first election.58
          Following the two unsuccessful NLRB elections, the UFCW changed
       tactics. While maintaining a presence in Tar Heel,59 the UFCW launched a
       comprehensive campaign. Consistent with comprehensive campaigns more
       generally, the UFCW took its campaign to cities around the country and
       broadened its focus. It also partnered with groups dedicated to labor, civil
       rights, and environmental issues, as well as religious groups. Thus,
       Smithfield alleged that the UFCW “invest[ed] substantial resources towards
       events, actions and conduct that ha[s] little to no direct relation to the
       wages, hours, benefits and working conditions of the employees.” 60 More



           54. Smithfield Packing Co., Inc., 344 N.L.R.B. 1, 1 (2004).
           55. Id. at 7.
           56. Id. at 15–16.
           57. Id. Courts may issue a “bargaining order” requiring an employer to recognize a
       union as the representative of the relevant bargaining unit when the “employer has
       committed independent unfair labor practices which have made the holding of a fair election
       unlikely or which have in fact undermined a union’s majority and caused an election to be
       set aside.” NLRB v. Gissel Packing Co., 395 U.S. 575, 610 (1969).
           58. See generally United Food & Commercial Workers Union Local 204 v. NLRB, 447
       F.3d 821 (D.C. Cir. 2006).
           59. For example, the UFCW ran a “workers center” to help employees living and
       working in eastern North Carolina with workers’ compensation, immigration, and other
       problems, and to attempt to maintain a union presence and workers’ support in the area. Bob
       Geary, A Fast-Moving Line and a Union Trying To Keep Up, INDEP. WKLY. (Apr. 4, 2007),
       http://www.indyweek.com/indyweek/a-fast-moving-line-and-a-union-trying-to-keep-
       up/Content?oid=1201323 (describing UFCW’s role in running workers center); see also
       Yonat Shimron & Barbara Barrett, Bill’s Death Stings Illegal Immigrants, NEWS &
       OBSERVER,          June       9,        2007,       at       A12,       available        at
       http://www.newsobserver.com/2007/06/09/35478/bills-death-stings-illegal-immigrants.html
       #storylink=misearch.
           60. First Amended Complaint, supra note 8, ¶ 39, at 11.




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       specifically, according to Smithfield, the campaign involved the
       following: 61
          1. Making unflattering (and according to Smithfield, untrue)
       statements, such as that Smithfield was a “racist, anti-immigrant company
       that feels they can terrorize workers at will,” 62 and distributing flyers and
       handbills criticizing the company, for example by stating that “There’s
       Blood on Smithfield Products” or that Smithfield mistreats workers in
       various ways; 63
          2. Publishing and distributing a report titled “Packaged With Abuse:
       Safety and Health Conditions and Smithfield Packing’s Tar Heel Plant,”
       which criticized the Tar Heel plant’s safety record; 64
          3. Holding protests at grocery stores selling Smithfield products, some
       of which stopped carrying Smithfield products; 65
          4. Attributing events to religious, civil rights, immigrant rights, and
       consumer advocacy groups to conceal the union’s orchestration of the
       comprehensive campaign; 66
          5. Leading a protest during which participants marched to the home of
       the president of a store that sold Smithfield products to deliver a large
       father’s day card, which was signed by the children of Smithfield workers
       and stated that Smithfield workers were abused and mistreated; 67
          6. Threatening a secondary boycott of stores carrying Smithfield
       products; 68
          7. Attempting to convince Smithfield spokesperson Paula Deen to end
       her relationship with Smithfield; 69
          8. Encouraging religious bodies and city councils to boycott Smithfield
       or to pass resolutions condemning the company; 70
          9. Sending letters criticizing the company to financial analysts; 71
          10. Protesting at Smithfield’s annual shareholders’ meetings; 72 and


          61. The UFCW’s comprehensive campaign against Smithfield was similar to other
       comprehensive campaigns that were the subject of contemporaneous lawsuits. See, e.g.,
       Cintas Corp. v. UNITE HERE, 601 F. Supp. 2d 571, 575 (S.D.N.Y.) (describing campaign,
       which included claims that the union falsely portrayed company as having engaged in racist,
       sexist and illegal acts, and targeted company’s customers to encourage them to stop doing
       business with the company), aff’d, 355 F. App’x 508 (2d Cir. 2009); Wackenhut Corp. v.
       Serv. Emps. Int’l Union, 593 F. Supp. 2d 1289, 1290 (S.D. Fla. 2009) (describing SEIU
       campaign against Wackenhut, including publishing “false and misleading reports
       disparaging Wackenhut and some of its national customers,” persuading Wackenhut
       customers to boycott the company, and other activities).
          62. E.g., First Amended Complaint, supra note 8, ¶ 74, at 23.
          63. Id. ¶ 99, at 29–30.
          64. Id. ¶¶ 88–95, at 25–28.
          65. Id. ¶¶ 122–24, at 37–38.
          66. Id. ¶ 100, at 30.
          67. Id. ¶¶ 113–15, at 34–35.
          68. Id. ¶¶ 125–27, at 38–40.
          69. Id. ¶¶ 131–40, at 41–44.
          70. Id. ¶¶ 141–54, at 45–50.
          71. Id. ¶¶ 155–58, at 50–51.
          72. Id. ¶¶ 159–67, at 51–54.




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         11. Filing regulatory complaints and opposing Smithfield’s regulatory
       applications, such as Smithfield’s application for a water permit, which
       would have allowed Smithfield to expand operations at the Tar Heel
       plant. 73
                               4. Smithfield’s Extortion Allegation
          According to Smithfield, the UFCW’s goal was to force Smithfield to
       voluntarily recognize the union as the bargaining unit’s representative,
       whether or not a majority of Smithfield employees wanted the
       representation. 74 An employer that recognizes a union as the exclusive
       representative of a bargaining unit violates the NLRA if the union does not
       enjoy majority support within the unit. 75 Thus, according to Smithfield, the
       extortionate threat was that UFCW would continue the comprehensive
       campaign until the company agreed to an illegal election process.76 In
       other words, the gravamen of Smithfield’s complaint was that the UFCW
       had attempted to extort Smithfield into illegally recognizing the union by
       saying untrue and embarrassing things about Smithfield that threatened to
       harm Smithfield’s reputation and bottom line.
          However, Smithfield apparently did not consider it necessary to show
       that the union sought to compel the company to commit an illegal act in
       order to establish the extortion predicate for civil RICO. Rather, Smithfield
       argued that the union’s comprehensive campaign was extortionate even if
       its goal was only to secure Smithfield’s neutrality regarding the prospect of
       unionization or to obtain a “card-check” election 77—both agreements into
       which Smithfield could have entered perfectly legally. 78 Thus, Smithfield

           73. Id. ¶¶ 168–72, 179–80, at 54–56, 58–59.
           74. Id. ¶ 2, at 1 (“Defendants conspired to extort Smithfield’s ‘voluntary’ recognition of
       Defendants UFCW and Local 400 as the exclusive bargaining representatives of hourly
       employees at Tar Heel—regardless of the degree of actual employee support for such
       representation—by injuring Smithfield economically until Smithfield either agreed to
       Defendants’ demands or was run out of business.”).
           75. Int’l Ladies’ Garment Workers’ Union v. NLRB, 366 U.S. 731, 738–39 (1961)
       (holding that it is an unfair labor practice to recognize a minority union as the exclusive
       representative, even if the employer has a good faith belief that the union actually enjoys
       majority support); see also Kenrich Petrochemicals, Inc., 149 N.L.R.B. 910, 911 (1964)
       (holding that union and employer committed unfair labor practices when the company
       recognized the union as the majority representative of its employees despite both parties’
       knowledge that the union did not represent a majority of employees in the appropriate unit).
           76. First Amended Complaint, supra note 8, ¶ 238, at 80 (alleging that, some two years
       after the comprehensive campaign began, the UFCW demanded a “sham ‘election,’” among
       other possibilities).
           77. Id. ¶ 240 (alleging that UFCW offered to stop its comprehensive campaign if
       Smithfield agreed to take legal actions such as “sit[ting] idly by while allowing Defendants
       to accost the Tar Heel employees to sign cards authorizing [UFCW] to represent them for
       purposes of collective bargaining”); Transcript of Hearing at 58, Smithfield Food, Inc. v.
       United Food & Commercial Workers Int’l Union, 585 F. Supp. 2d 789 (E.D. Va. 2008) (No.
       3:07CV641) (Smithfield attorney stating that “extorting neutrality is just as unlawful as
       extorting a [sham] election. It’s a way they can guarantee they’ll win.”).
           78. NLRB v. Gissel Packing Co., 395 U.S. 575, 597–98 (1969) (holding card-check
       election is lawful means of ascertaining whether union has support of majority of employees
       in bargaining unit); Roger C. Hartley, Non-Legislative Labor Law Reform and Pre-




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       also alleged that the UFCW conveyed extortionate threats when, for
       example, a UFCW contractor stated at a protest that “Smithfield is not
       listening, so we’re going to have to go after their pocketbook.”79 Likewise,
       the plaintiffs in the Wackenhut and Cintas cases alleged extortion based on
       comprehensive campaigns that sought to pressure employers into agreeing
       to legal card-check or neutrality agreements.80
          This theory may sound implausible because the notion that activities like
       peaceful protesting and lobbying can give rise to a charge of extortion is, to
       say the least, counterintuitive. In that regard, Professor Rick Bales mused
       that the Smithfield lawsuit seemed so implausible that the suit itself might
       give rise to company liability for an unfair labor practice.81 In this vein, a
       few arguments that the union’s activity simply does not meet the statutory
       requirements are readily apparent. For example, in Enmons, the Supreme
       Court construed statutory language identical to that contained in the civil
       RICO statute, and held that union activity—even when accompanied by
       violence—could not give rise to extortion liability, provided the union’s
       objective was legitimate.82
          Yet, none of these arguments prevailed in Smithfield. Instead, the court
       held at the motion to dismiss stage that Enmons did not control because it

       Recognition Labor Neutrality Agreements: The Newest Civil Rights Movement, 22
       BERKELEY J. EMP. & LAB. L. 369, 374–77 (2001) (describing pervasive use of neutrality
       agreements).
           79. First Amended Complaint, supra note 8, ¶ 106, at 32.
           80. Cintas Corp. v. UNITE HERE, 601 F. Supp. 2d 571, 575 (S.D.N.Y.) (stating that
       unions sought “card-check/neutrality agreement”), aff’d, 355 F. App’x 508 (2d Cir. 2009);
       Wackenhut Corp. v. Serv. Emps. Int’l Union, 593 F. Supp. 2d 1289, 1296 (S.D. Fla. 2009)
       (stating that Wackenhut “asserts that SEIU is attempting to ‘bend its will’ and obtain from it
       various intangible property rights, including Wackenhut’s right to control the form and
       nature of the union recognition process that applies to its employees; Wackenhut’s right to
       refuse demands for recognition from a ‘mixed union’ such as SEIU; Wackenhut’s right to
       decline collective bargaining with SEIU; Wackenhut’s right to preserve its employees’
       statutory right to ‘free choice,’ and Wackenhut’s right to conduct business with its customers
       free from interference, harassment and threats of economic doom from SEIU or its agents”).
           81. Richard Bates, NYT on Smithfield’s RICO Suit v. UFCW, WORKPLACE PROF BLOG
       (Feb.      5,     2008),     http://lawprofessors.typepad.com/laborprof_blog/2008/02/nyt-on-
       smithfie.html (referencing Smithfield lawsuit and noting “the changes to the Board’s policies
       on when filing a frivolous suit might (or might not as the case may be) constitute a ULP”);
       see also Adam Liptak, A Corporate View of Mafia Tactics: Protesting, Lobbying and Citing
       Upton Sinclair, N.Y. TIMES, Feb. 5, 2008, at A14, available at
       http://www.nytimes.com/2008/02/05/us/05bar.html (opining that “what [Smithfield’s
       attorney] calls extortion sounds quite a bit like free speech”).
           82. United States v. Enmons, 410 U.S. 396, 404 (1973). Further, it is not at all clear that
       employer-plaintiffs can satisfy “generic” extortion’s other requirements, including the
       mandates that any extortion result in obtaining property or that the use of force, fear, or
       threats be “wrongful.” See Cintas Corp, 601 F. Supp. 2d at 577–78 (comprehensive
       campaign not extortionate because company does not have a right to operate free from
       criticism); Brudney, supra note 4, § III.A. There are other reasons that civil RICO suits
       might fail. For example, they may be preempted under San Diego Building Trades Council,
       Local 2020 v. Garmon, 359 U.S. 236 (1959) (holding that activity that is arguably
       encompassed within Sections 7 or 8 of the National Labor Relations Act (NLRA) can be
       regulated only by the NLRB, and that, even if the NLRB declines jurisdiction, the conduct is
       not redressable in state court unless it was a traditional tort or conduct marked by violence
       and imminent threats to public order).




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       construed only federal law, whereas civil RICO lawsuits can rely on state
       extortion law. 83 It then went on to reject each of the union’s other
       arguments based on the civil RICO act’s statutory language, labor
       preemption, and the First Amendment. (Other courts have rejected labor
       unions’ Enmons arguments on other grounds, arguing that Enmons either is
       limited essentially to its facts and applies only to incidents of violence
       occurring during a strike,84 or applies only when labor unions are seeking
       traditional collective bargaining goals such as increased wages.85)
       Ultimately, the Smithfield suit also survived a motion for summary
       judgment and ended in settlement on the eve of trial. 86
          In contrast, Wackenhut and Cintas were dismissed pursuant to Federal
       Rule 12(b)(6) under different legal theories. 87 The mixed track record of
       the Smithfield, Wackenhut, and Cintas suits is representative of civil RICO
       cases targeting comprehensive campaigns generally. 88 Thus, given the
       chance that an employer will survive a motion to dismiss, and the prospect
       of a favorable settlement, civil RICO suits are likely to continue. Further,
       the costs associated with defending a civil RICO suit and the prospect of
       losing such a suit and facing liability for treble damages and attorneys’ fees
       (even if the prospect is small) is likely to deter unions from waging
       comprehensive campaigns. As the D.C. Circuit stated in the course of
       rejecting a civil RICO suit, they are “a potentially powerful weapon to
       wield against striking workers” that could “reset the labor-management
       balance.” 89


           83. Smithfield Foods, Inc. v. United Food & Commercial Workers Int’l Union, 585 F.
       Supp. 2d 789, 800–01 (E.D. Va. 2008); see also Herbert R. Northrup & Charles H. Steen,
       Union “Corporate Campaigns” as Blackmail: The RICO Battle at Bayou Steel, 22 HARV.
       J.L. & PUB. POL’Y 771, 813 (1998) (arguing that Enmons does not apply to state law).
           84. See, e.g., Tex. Air Corp. v. Air Line Pilots Ass’n Int’l, No. 88-0804, 1989 WL
       146414, at *6 (S.D. Fla. July 14, 1989) (noting that “[n]umerous courts have effectively
       limited Enmons to its facts, creating an exception to the Hobbs Act only for what was at
       issue in that case—violence committed during the course of a lawful strike called for the
       purpose of inducing an employer’s agreement to legitimate collective-bargaining demands”
       and citing cases).
           85. See, e.g., id. (stating that “[i]n other contexts, the Supreme Court has made clear that
       to constitute ‘legitimate labor objectives,’ the goal defendants were seeking to accomplish
       must have been ‘intimately related to wages, hours and working conditions.’” (quoting Local
       Union No. 189, Amalgamated Meat Cutters v. Jewel Tea Co., 381 U.S. 676, 689–90
       (1965))).
           86. Smithfield Foods, United Food and Commercial Workers Reach Settlement,
       TRIANGLE       BUS.      J.     (Oct.     27,     2008),     http://www.bizjournals.com/triangle/
       stories/2008/10/27/daily8.html.
           87. Cintas Corp., 601 F. Supp. 2d at 577–78 (dismissing case after concluding that
       comprehensive campaign was “lawful ‘hard-bargaining’” because Cintas would have
       received some benefit from a card-check/neutrality agreement); Wackenhut Corp. v. Serv.
       Emps. Int’l Union, 593 F. Supp. 2d 1289, 1296 (S.D. Fla. 2009) (dismissing case after
       concluding that union had not sought to “obtain” property as required to establish extortion
       as a RICO predicate).
           88. Brudney, supra note 4, at 27 & n.134 (listing cases and stating that “motions [to
       dismiss] succeed or fail at roughly comparable levels”).
           89. Yellow Bus Lines, Inc. v. Drivers Local Union 639, 913 F.2d 948, 955 (D.C. Cir.
       1990).




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          In sum, it is unclear under current law whether civil RICO liability can
       attach to comprehensive campaign activity. Moreover, even if civil RICO
       suits charging labor unions with extortion are ultimately determined to be
       legally untenable, they could be eclipsed by some other cause of action—
       for example, Smithfield pressed a variety of tort theories, which also
       survived a motion to dismiss and a motion for summary judgment. If there
       is a basis on which to find that labor unions’ advocacy enjoys robust
       constitutional protection, however, then whether labor speech violates civil
       RICO or another statute will become largely irrelevant because “the point
       of modern First Amendment law is that speech is often protected even
       though it violates a law restricting it.”90 Thus, the remainder of this Article
       addresses whether comprehensive campaigns, even if otherwise subject to
       civil RICO liability, might nonetheless be protected by the First
       Amendment.
          In the next section, I survey the evolution of the Supreme Court’s
       jurisprudence on labor picketing, boycotting, and petitioning activity,
       focusing on the difficulty of reconciling the Court’s labor speech cases with
       First Amendment cases involving other speakers.

            II. FIRST AMENDMENT PROTECTION FOR UNION COMPREHENSIVE
                       CAMPAIGN SPEECH UNDER CURRENT LAW
          Though the Supreme Court has tended to interpret the First Amendment
       in an increasingly speech-protective way since the 1920s, there have also
       been cycles of contracting free speech rights, as well as a fair amount of
       ambiguity in its First Amendment jurisprudence. 91 Even given that lack of
       clarity, labor speech occupies a relatively uncertain place in the hierarchy of
       First Amendment protection. At times, labor speech has driven an
       expansion of free speech rights; for example, it was in a labor case,
       Thornhill v. Alabama, 92 that the Court first found a First Amendment right
       to picket. But after a period of expansion in the late 1930s and early 1940s,
       labor speech rights contracted as the Court narrowed or eviscerated its
       earlier precedents. Now, while cases like Thornhill remain good law as
       applied to speech by other social movements, they are essentially
       inapplicable to labor speech. The net result is that labor speech is its own
       category under current First Amendment doctrine, entitled to less protection
       than that received by both other social movements and commercial entities.
          Specifically, the Court has allowed greater restrictions on the types of
       labor expression commonly found in comprehensive campaigns—such as


          90. Eugene Volokh, Speech as Conduct: Generally Applicable Laws, Illegal Courses of
       Conduct, “Situation-Altering Utterances” and the Uncharted Zones, 90 CORNELL L. REV.
       1277, 1315 (2005); see also Nat’l Org. for Women v. Scheidler, 510 U.S. 249, 264 (1994)
       (Souter, J., concurring) (noting that conduct that might otherwise be the basis for a civil
       RICO suit might “be fully protected First Amendment activity”).
          91. See generally Ken I. Kersch, How Conduct Became Speech and Speech Became
       Conduct: A Political Development Case Study in Labor Law and the Freedom of Speech, 8
       U. PA. J. CONST. L. 255 (2006).
          92. 310 U.S. 88 (1940).




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       boycotts, picketing, and petitioning activity93—than it has allowed in the
       civil rights context. At the same time, the Court’s description of, and
       justification for, its commercial speech doctrine does not neatly apply to
       labor speech. Moreover, the Court has not advanced a unified theory of its
       treatment of labor-related expression. 94 Collectively, the Court’s placement
       of union speech within the First Amendment hierarchy provides at least
       some support for the argument that a union’s expressive activity can be
       punished as extortionate without violating the First Amendment.

                                            A. Picketing
          As discussed above, until Congress intervened by passing the Norris-
       LaGuardia Act, courts routinely held that labor union picketing infringed
       employers’ property rights, regularly imposing injunctions or criminal
       penalties. 95 During that period, the Court viewed picketing as tantamount
       to violence, essentially unrelated to speech: “the name ‘picket’ indicate[s] a
       militant purpose, inconsistent with peaceable persuasion.” 96
          That began to change in the 1930s. First, the Court upheld a state statute
       that expressly allowed peaceful picketing against an employer’s Fourteenth
       Amendment challenge. 97 Then in Thornhill, the Court took a dramatic step
       toward broader protection for labor speech by overturning, on First
       Amendment grounds, the criminal conviction of a picketing striker.
       Thornhill held that labor speech deserved robust protection based on a
       truth-seeking theory of the First Amendment: “Those who won our
       independence had confidence in the power of free and fearless reasoning
       and communication of ideas to discover and spread political and economic
       truth.” 98 Significantly, the Court also directly linked “traditional” labor
       objectives to the political debates of the day:
            It is recognized now that satisfactory hours and wages and working
            conditions in industry and a bargaining position which makes these
            possible have an importance which is not less than the interests of those in

          93. See, e.g., James Gray Pope, Labor and the Constitution: From Abolition to
       Deindustrialization, 65 TEX. L. REV. 1071, 1073 (1987) (arguing that rule established in
       Fibreboard Paper Prods. Corp. v. NLRB, 379 U.S. 203 (1964), would be an impermissible
       content-based prior restraint in any other context). See generally Alan Hyde, Exclusion Is
       Forever: How Keeping Rights To Strike, Picket, and Other Labour Speech, Separate from
       Constitutional Rights, Has Proven a Bad Deal for American Labour Unions and
       Constitutional Law 3 (Rutgers Sch. of Law Research Paper Series, Paper No. 057, 2009),
       available at http://ssrn.com/abstract=1517844 (noting that the Supreme Court has “upheld
       severe limitations on the content or message of union speech, picketing, and boycotts,
       limitations that could not constitutionally be applied to the same conduct carried out by
       groups other than labour groups”). Cf. Amalgamated Food Emps. Union Local 590 v. Logan
       Valley Plaza, Inc., 391 U.S. 308 (1968) (holding that peaceful labor picketing, absent an
       impermissible purpose or manner, is protected by the First Amendment).
          94. Pope, supra note 93, at 1082 (noting that the courts have “declined to develop a
       unified doctrine of labor liberty” and instead rely on a hodgepodge of doctrines, including
       those pertaining to commercial rights and speech rights).
          95. See supra Part I.B.1.
          96. Am. Steel Foundries v. Tri-City Cent. Trades Council, 257 U.S. 184, 205 (1921).
          97. Senn v. Tile Layers Protective Union, Local No. 5, 301 U.S. 468, 478–80 (1937).
          98. Thornhill v. Alabama, 310 U.S. 88, 95 (1940).




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            the business or industry directly concerned. The health of the present
            generation and of those as yet unborn may depend on these matters, and
            the practices in a single factory may have economic repercussions upon a
            whole region and affect widespread systems of marketing. . . . Free
            discussion concerning the conditions in industry and the causes of labor
            disputes appears to us indispensable to the effective and intelligent use of
            the processes of popular government to shape the destiny of modern
            industrial society. The issues raised by regulations, such as are
            challenged here, infringing upon the right of employees effectively to
            inform the public of the facts of a labor dispute are part of this larger
            problem. 99
       Thus, in the Court’s view, labor unions were more than just a collection of
       workers out to improve their own economic situations; to the contrary, they
       had broader social relevance.
          But the Court soon began to chip away at Thornhill’s broad holding. The
       following year, the Court held in Milk Wagon Drivers Union of Chicago,
       Local 753 v. Meadowmoor Dairies, Inc. 100 that picketing could be enjoined
       wholesale once non-trivial violence had taken place on the picket line—and
       that the resulting injunction need not be narrowly targeted at stopping the
       violence. 101 One year after that, in Bakery & Pastry Drivers Local 802 v.
       Wohl, 102 the Court suggested in dictum that even nonviolent picketing
       might permissibly be enjoined if it was “coerci[ve]” or “excessive.”103
          As foreshadowed in Wohl, the Court soon upheld an injunction against
       peaceful picketing because, in the Court’s view, the purpose of the
       picketing was to compel an employer to violate the law.104 Giboney v.
       Empire Storage & Ice Co. involved a labor dispute between a local affiliate
       of the Ice and Coal Drivers and Handlers union and some nonunion ice
       peddlers. 105 To pressure the peddlers to join the union, the union sought to
       convince ice wholesalers to stop supplying the peddlers—even though it
       would have been an antitrust violation for the wholesalers to do so.106
       Empire, one of the wholesalers, refused to participate in the union’s plan,
       and the union responded by peacefully picketing with signs that truthfully
       stated that Empire sold ice to nonunion peddlers.107 In response, eighty-
       five percent of the truck drivers who delivered to or from Empire honored
       the picket line and refused to do business with Empire, reducing Empire’s



          99. Id. at 103.
         100. 312 U.S. 287 (1941).
         101. Id. at 294–95. But cf. Am. Fed’n of Labor v. Swing, 312 U.S. 321, 325–26 (1941)
       (overturning on First Amendment grounds injunction against picketing that had been entirely
       peaceful).
         102. 315 U.S. 769 (1942).
         103. Id. at 775 (striking down injunction of peaceful picket in part because there was no
       other avenue for the picketers to convey their message, but suggesting that states could limit
       peaceful picketing under other circumstances).
         104. Giboney v. Empire Storage & Ice Co., 336 U.S. 490, 504 (1949).
         105. Id. at 492.
         106. Id.
         107. Id.




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       business by a corresponding amount. 108 The Court held that the
       effectiveness of the picket placed Empire in an untenable situation—absent
       court intervention, its only options were to commit illegal activity or go out
       of business. 109
          The Giboney Court easily rejected the union’s First Amendment defense,
       first stating the general principle that antitrust laws do not violate the First
       Amendment, even when antitrust conspiracies are formed through
       speech. 110 The Court added that the picketing—even if both peaceful and
       truthful—could not be separated from the union’s “single and integrated
       course of conduct,” which included “their powerful transportation
       combination, their patrolling, their formation of a picket line warning union
       men not to cross at peril of their union membership, [and] their
       publicizing,” which was aimed at “compel[ling] Empire” to stop selling to
       the nonunion peddlers. 111 Concluding that picketing “may include conduct
       other than speech,” the Court held that the union’s expressive conduct could
       be restrained because its “sole, unlawful immediate objective was to induce
       Empire to violate the Missouri law.” 112
          Following Giboney, the Court repeatedly upheld restrictions on labor
       picketing, reasoning that even though picketing has a speech component, it
       also involves conduct, to which the First Amendment does not apply.113
       Thus, the Court stated, “picketing, even though ‘peaceful,’ involved more
       than just the communication of ideas” because “the very presence of a
       picket line may induce action of one kind or another, quite irrespective of
       the nature of the ideas which are being disseminated.” 114
          Significantly, the Court expanded the application of that principle to
       cases in which the picketing involved neither unlawful means nor ends, but
       merely contravened state policy. For example, in Hughes v. Superior
       Court, 115 the Court upheld an injunction against picketing that supported a
       group’s demand for racially proportional employment—even though it



          108. Id. at 493.
          109. Id.
          110. Id. at 495–96.
          111. Id. at 498.
          112. Id. at 501–02.
          113. E.g., Int’l Bhd. of Elec. Workers, Local 501 v. NLRB, 341 U.S. 694, 705 (1951)
       (permitting injunction against secondary picketing because picketing was tantamount to
       conduct aimed at accomplishing an unlawful end); Bldg. Serv. Emps. Int’l Union, Local 262
       v. Gazzam, 339 U.S. 532, 536–37 (1950) (holding that, while picketing is in part an exercise
       of free speech, it is “more than speech and establishes a locus in quo that has far more
       potential for inducing action or nonaction than the message the pickets convey”); Hughes v.
       Superior Court, 339 U.S. 460, 464–65, 469 (1950) (stating that labor picketing is more than
       free speech and upholding injunction); Int’l Bhd. of Teamsters Union, Local 309 v. Hanke,
       339 U.S. 470, 474, 480–81 (1950) (upholding injunction and reasoning that one ingredient of
       picketing is communication, but picketing does not receive full First Amendment
       protection).
          114. Int’l Bhd. of Teamsters, Local 695 v. Vogt, 354 U.S. 284, 289 (1957) (quoting
       Bakery & Pastry Drivers Local 802 v. Wohl, 315 U.S. 769, 776 (1942)).
          115. 339 U.S. 460.




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       would not have been illegal for the picketed employer to accede to the
       picketers’ demand. 116
          Thus, by 1950, states could—without violating the First Amendment—
       enjoin peaceful and truthful picketing whenever it violated state policy
       because picketing was part conduct, and coercive conduct at that.
       Unsurprisingly then, the Court soon acknowledged that Thornhill’s
       application had been sharply circumscribed. 117 Supplanting Thornhill was
       a focus on coercion. The potentially coercive effects of picketing were
       twofold. First, as to union sympathizers, even entirely peaceful pickets
       could function primarily as a “signal” calling for an “automatic
       response.” 118 Second, as to everybody else, the picket line would induce
       compliance out of fear or intimidation, rather than genuine persuasion. 119
          Thus, in First Amendment picketing cases, the Court has focused on
       whether the picketing had the potential to draw others into labor disputes
       for reasons unrelated to their independent belief in the union’s cause. For
       example, in deciding when the NLRB could regulate secondary picketing,
       the Court distinguished cases in which the picketing was likely to be so
       detrimental to the secondary employer’s business that the employer would
       feel compelled to cooperate with the union in the primary labor dispute
       (rather than withstand further picketing) from cases in which the picketing
       would be at most a mere inconvenience to the secondary employer.120
       Likewise, the Court has consistently held that handbilling is not coercive
       and therefore receives substantial First Amendment protection. 121
          Labor picketing has undoubtedly become less capable of coercion as
       union density has fallen over time. Thus, in earlier cases like International


          116. Id. at 468 (stating that even though “a State chooses to enjoin picketing to secure
       submission to a demand for employment proportional to the racial origin of the then
       customers of a business, it need not forbid the employer to adopt such a quota system of his
       own free will”).
          117. Vogt, 354 U.S. at 291 (stating that Giboney was a “decisive reconsideration” of
       Thornhill).
          118. NLRB v. Retail Store Emps. Union, Local 1001, 447 U.S. 607, 619 (1980) (Stevens,
       J., concurring in part and concurring in the result).
          119. E.g., NLRB v. Fruit & Vegetable Packers, Local 760, 377 U.S. 58, 82–83 (1964)
       (Harlan, J., dissenting) (“Because of the very nature of picketing there may be numbers of
       persons who will refuse to buy at all from a picketed store, either out of economic or social
       conviction or because they prefer to shop where they need not brave a picket line.”).
          120. Compare id. at 72–73 (majority opinion) (holding that NLRB lacked statutory
       authority to regulate picketing at supermarket because the picketing only asked consumers
       not to purchase a particular type of apple, which was unlikely to cause the supermarket to
       suffer a decline in sales and, therefore unlikely to force the supermarket to join the union’s
       fight against the apple growers), with Retail Stores Emps. Union, 447 U.S. at 614–16
       (holding that NLRB could regulate secondary picketing consistent with the NLRA and the
       First Amendment because the secondary employer’s primary source of income was derived
       from selling the picketed product).
          121. Edward J. DeBartolo Corp. v. Fla. Gulf Coast Bldg. & Constr. Trades Council, 485
       U.S. 568, 580 (1988) (holding as a matter of constitutional avoidance that NLRA does not
       prohibit secondary handbilling and stating that picketing is “‘qualitatively ‘different from
       other modes of communication,’’” in part because picketing was more “effective” than
       handbilling and other modes of communication (quoting Babbit v. Farm Workers, 442 U.S.
       289, 311 n.17 (1979) (quoting Hughes v. Superior Court, 339 U.S. 460, 465 (1950)))).




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       Brotherhood of Electrical Workers, Local 501 v. NLRB, 122 in which the
       union caused unionized subcontractors to walk off a job site at which
       nonunion electrical contractors were working, the union was able to
       credibly threaten that the contractor would not be able to hire any skilled
       tradesmen to finish the work without first hiring union electricians.123
       However, given the extremely low rate of union density in most of the
       country, it seems doubtful that many unions could meaningfully make a
       similar threat today. Instead, most union picketing will need to rely
       primarily on its intellectual or emotional persuasiveness. Yet, the Court has
       not revisited the notion that labor picketing can be limited because of its
       coercive character.124
          Further, labor picketing receives less protection than other picketing.
       The Court’s conclusion that labor picketing is only part speech because of
       its coercive nature has not translated to other types of picketing. Thus, in
       cases involving picketing by other social movements, the Supreme Court
       has afforded top-tier First Amendment protection, upholding bans on
       picketing only where they were narrowly tailored to achieve compelling
       state interests. 125 The reason for this distinction is unclear, though the
       Court has suggested that it is not because other types of picketing are
       somehow less coercive, but instead because labor picketing is economic and
       not of “broader social concern.” 126
          Finally, the Court has never offered a basis for reconciling cases like
       Giboney and Hughes, in which the Court held that picketing could be
       enjoined if it sought to compel an employer to act in contravention of state
       law or policy, with the Court’s cases on incitement of illegal activity.127
       Specifically, in Brandenburg v. Ohio, the Court overturned a conviction
       under the Ohio Criminal Syndicalism Statute for advocating criminal

         122. 341 U.S. 694 (1951).
         123. Id. at 697.
         124. Although it is counterintuitive, there is precedent for the notion that the amount of
       First Amendment protection to which particular speech is entitled depends on the likely
       responses of the listeners. E.g., Brandenburg v. Ohio, 395 U.S. 444, 447–48 (1969); cf.
       Bakery & Pastry Drivers Local 802 v. Wohl, 315 U.S. 769, 775–76 (1942) (Douglas, J.,
       concurring) (“If the opinion in this case means that a State can prohibit picketing when it is
       effective but may not prohibit it when it is ineffective, then I think we have made a basic
       departure from [Thornhill] . . . .”).
         125. E.g., Frisby v. Schultz, 487 U.S. 474, 487–88 (1988) (upholding ban on picketing in
       front of residences, which was challenged by abortion protestors, after holding that the ban
       was narrowly tailored to achieve a “substantial and justifiable” interest); NAACP v.
       Claiborne Hardware Co., 458 U.S. 886, 886, 909 (1982) (picketing deployed in support of
       civil rights boycott was protected by the First Amendment and received maximum First
       Amendment protection).
         126. Carey v. Brown, 447 U.S. 455, 465–66 (1980) (rejecting an Illinois state statute that
       permitted labor picketing more broadly than other picketing, distinguishing labor picketing
       from “[p]ublic-issue picketing,” which was “‘an exercise of . . . basic constitutional rights in
       their most pristine and classic form’” and of “broader social concern” (alteration in original)
       (quoting Edwards v. South Carolina, 372 U.S. 229, 235 (1963))); see, e.g., Claiborne
       Hardware Co., 458 U.S. at 913 (“While States have broad power to regulate economic
       activity, we do not find a comparable right to prohibit peaceful political activity . . . .”).
         127. Volokh, supra note 90, at 1321–22 (arguing that Giboney is inconsistent with
       Brandenburg, unless Giboney’s holding is narrowed to apply only to labor picketing).




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       activity. 128 The Court held that “constitutional guarantees of free speech
       and free press do not permit a State to forbid or proscribe advocacy of . . .
       law violation except where such advocacy is directed to inciting or
       producing imminent lawless action and is likely to incite or produce such
       action.” 129 The government may punish speech inciting others to violate
       the law only if three conditions are met: intent to incite lawless action,
       likelihood of success, and imminence. 130 Claiborne Hardware affirmed
       that standard in the civil context when it held that Charles Evers’s speeches,
       which threatened violence against boycott-violators, were nonetheless
       protected speech because appeals that “do not incite lawless action . . . must
       be regarded as protected speech.” 131

                                               B. Boycotts
          Like picketing, labor boycotts were once deemed violations of the law
       entitled to no First Amendment protection.132 Now, many boycotts and
       strikes enjoy statutory protection under the NLRA, although the NLRA also
       prohibits secondary boycotts and strikes by unions.133 The Court has
       upheld the prohibition of secondary boycotts based on the theory that they
       are coercive: they compel neutral employers to insert themselves into labor
       disputes to avoid becoming the targets of union-led boycotts. 134
          For example, in International Longshoremen’s Ass’n v. Allied
       International, the Court upheld an NLRB injunction ordering the
       International Longshoremen’s Association (ILA) to cease a secondary
       boycott involving ILA’s refusal to service ships carrying Russian cargo to
       express displeasure with the Soviet Union’s recent invasion of
       Afghanistan. 135 The Court rejected the ILA’s First Amendment defense,
       stating that “conduct designed not to communicate but to coerce merits still


         128. Brandenburg, 395 U.S. at 444–45. Brandenburg was decided after both Giboney
       and Hughes, but courts have nonetheless continued to apply those cases in the labor context.
       E.g., Smithfield Foods, Inc. v. United Food & Commercial Workers Int’l Union, 585 F.
       Supp. 2d 789, 803 (E.D. Va. 2008).
         129. Brandenburg, 395 U.S. at 447.
         130. Id.; see also Steven G. Gey, The Nuremberg Files and the First Amendment Value of
       Threats, 78 TEX. L. REV. 541, 547 (2000) (“Under Brandenberg, political speech can be
       regulated only if the speech incites illegal action, is intended by the speaker to instigate that
       action, and is uttered in a context in which the illegal action is likely to occur
       immediately.”).
         131. Claiborne Hardware Co., 458 U.S. at 928; see also Gey, supra note 130, at 551–52.
         132. E.g., Gompers v. Bucks Stove & Range Co., 221 U.S. 418, 438 (1911) (holding that
       courts can enjoin boycotts when “property is irreparably damaged or commerce is illegally
       restrained”).
         133. 29 U.S.C. § 158(b)(4)(ii)(B) (2006).
         134. Int’l Longshoremen’s Ass’n v. Allied Int’l, Inc., 456 U.S. 212 (1982); see also
       Duplex Printing Press Co. v. Deering, 254 U.S. 443, 466 (1921) (defining secondary boycott
       as a “combination not merely to refrain from dealing with complainant, or to advise or by
       peaceful means persuade complainant’s customers to refrain (‘primary boycott’), but to
       exercise coercive pressure upon such customers”).
         135. Int’l Longshoremen’s Ass’n, 456 U.S. at 224 (stating that the boycott was aimed at
       “free[ing] ILA members from the morally repugnant duty of handling Russian goods” to
       protest the recent invasion).




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       less consideration under the First Amendment [than secondary
       picketing],” 136 and observing that other avenues of communication were
       available to the union and its members. 137 The Supreme Court did so
       despite its explicit recognition of the inherently political nature of the ILA’s
       protest and that the ILA’s members did not stand to gain financially from
       their boycott. If anything, the Court held that fact against the union,
       agreeing with the court of appeals’ assessment that it was “more rather than
       less objectionable that a national labor union” had engaged in a secondary
       boycott in support of a “‘random political objective far removed from what
       has traditionally been thought to be the realm of legitimate union
       activity.’” 138 Further, the Court undertook no analysis of the likelihood that
       the secondary boycott would have any success in persuading the ship
       owners to attempt to influence Russian policy, stating only that the union
       had infringed their “rights.” 139
          Yet, less than a year later, in Claiborne Hardware, the Court took the
       opposite stance—holding that secondary boycotting and picketing activity
       were at the core of the First Amendment—in the context of a civil rights
       organization’s secondary boycott. 140 In Claiborne Hardware, the NAACP
       sought to pressure local government officials to improve racial equality and
       integration by, in part, boycotting white area merchants. In other words, the
       NAACP launched a secondary boycott designed to compel the merchants to
       pressure the government on the NAACP’s behalf. 141 In support of the
       boycott, the NAACP engaged in picketing and marches and also designated
       “store watchers” who were responsible for publicizing the names of
       individuals who violated the boycott so that those individuals could be
       socially ostracized. 142 Isolated incidents of violence also took place.143
          The businesses sued, claiming the boycott violated a variety of tort and
       antitrust laws. The Court held that the First Amendment protected the
       NAACP’s secondary boycott and related activities, even though the conduct
       was coercive, and despite the incidents of violence.144 The Court
       concluded:
              While States have broad power to regulate economic activity, we do
           not find a comparable right to prohibit peaceful political activity such as
           that found in the boycott in this case. This Court has recognized that
           expression on public issues ‘has always rested on the highest rung of the
           hierarchy of First Amendment values.’ 145



         136. Id. at 226.
         137. Id. at 227.
         138. Id. at 225–26 (quoting Allied Int’l, Inc. v. Int’l Longshoremen’s Ass’n, 640 F.2d
       1368, 1378 (1st Cir. 1981)).
         139. Id. at 227.
         140. NAACP v. Claiborne Hardware Co., 458 U.S. 886, 932–34 (1982).
         141. Id. at 889.
         142. Id. at 903–04.
         143. Id. at 923.
         144. Id. at 931–34.
         145. Id. at 913 (quoting Carey v. Brown, 447 U.S. 455, 467 (1980)).




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       Thus, the Court rejected the principle that coercive expression, including
       secondary boycotts, merited less First Amendment protection than non-
       coercive speech. 146 Further, it did so by relying on Thornhill, which it had
       long since disavowed in the labor context.147
          In fact, the Court specifically reaffirmed its earlier labor speech cases,
       including Allied International. It distinguished those cases—which upheld
       restrictions on labor picketing and boycotts based on their coercive
       nature—by stating that labor speech is primarily economic, rather than
       political, and may be regulated as “part of ‘Congress’ striking of the
       delicate balance between union freedom of expression and the ability of
       neutral employers, employees, and consumers to remain free from coerced
       participation in industrial strife.’” 148 Specifically, Claiborne Hardware
       stated that the NAACP’s campaign
            grew out of a racial dispute with the white merchants and city government
            of Port Gibson and all of the picketing, speeches, and other
            communication associated with the boycott were directed to the
            elimination of racial discrimination in the town. This differentiates this
            case from a boycott organized for economic ends, for speech to protest
            racial discrimination is essential political speech lying at the core of the
            First Amendment. 149
       Thus, Claiborne Hardware apparently revived only part of Thornhill,
       rejecting that Court’s statement regarding the necessity of “[f]ree discussion
       concerning the conditions in industry and the causes of labor disputes” to

          146. The Court had previously overturned a prior restraint against coercive leafleting in a
       non-labor context, stating that:
            The claim that the expressions were intended to exercise a coercive impact on
            respondent does not remove them from the reach of the First Amendment.
            Petitioners plainly intended to influence respondent’s conduct by their activities;
            this is not fundamentally different from the function of a newspaper. . . . But so
            long as the means are peaceful, the communication need not meet standards of
            acceptability.
       Org. for a Better Austin v. Keefe, 402 U.S. 415, 419 (1971). However, Organization for a
       Better Austin did not address the extent of its application to labor speech.
          147. Claiborne Hardware Co., 458 U.S. at 909; see also supra Part II.A.
          148. Claiborne Hardware Co., 458 U.S. at 912 (quoting NLRB v. Retail Store Emps.
       Union, Local 1001, 447 U.S. 607, 617–18 (1980) (Blackmun, J., concurring in part and
       concurring in result)). Though Claiborne Hardware Co. distinguished between economic
       and political speech in the context of “coercive” speech, it was not the first case in which the
       Court expressed or implied that political speech was different from, and more important (in
       First Amendment terms) than, labor speech. E.g., Carey, 447 U.S. at 467; Va. State Bd. of
       Pharmacy v. Va. Citizens Consumer Council, Inc., 425 U.S. 748, 762–63 & n.17 (1976)
       (noting that “[t]he interests of the contestants in a labor dispute are primarily economic, but
       it has long been settled that both the employee and the employer are protected by the First
       Amendment when they express themselves on the merits of the dispute in order to influence
       its outcome,” and referring to labor speech as “speech of an entirely private and economic
       character”). Likewise, in Milk Wagon Drivers Union of Chicago, Local 753 v. Meadowmoor
       Dairies, Inc., 312 U.S. 287 (1941), Justice Black stated in dissent that he would have
       overturned the labor injunction at issue because the speech involved public discussion of
       conflicting methods of milk distribution, implicitly rejecting—as did the rest of the Court,
       which upheld the injunction—the notion that discussion of working conditions deserved the
       same level of First Amendment protection. Id. at 302–03 (Black, J., dissenting).
          149. Claiborne Hardware Co., 458 U.S. at 915.




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       the “effective and intelligent use of the processes of popular government to
       shape the destiny of modern industrial society.” 150 Moreover, the Court did
       not confront its earlier statement in Allied International that the boycott in
       that case was purely political and had no economic motive.
          One additional basis for distinguishing Claiborne Hardware from Allied
       International, though not one identified by the Supreme Court, is that
       Claiborne Hardware involved a consumer boycott, while Allied
       International involved a strike. 151 That distinction might be important if
       strikes were necessarily more coercive (by which I mean effective) than
       consumer boycotts. However, it is not readily apparent that that is the case,
       at least not in all situations. For example, a strike that lasts for only a short
       time or takes place at just one of a company’s several factories may well be
       less harmful to a company than a prolonged, nationwide (or international)
       consumer boycott. Further, the Supreme Court has upheld limits on
       coercive consumer boycotts sponsored by labor unions. For example, in
       NLRB v. Retail Store Employees Union, Local 1001,152 the Court upheld an
       injunction against a union’s call for a consumer boycott based on the
       boycott’s potential to coerce the secondary employer. 153
          Since deciding Claiborne Hardware, the Court has continued to hold that
       boycotts arising from labor disputes do not fall under that case’s rule,
       reasoning that such speech is self-interested and economically-motivated.
       For example, in Federal Trade Commission v. Superior Court Trial
       Lawyers Ass’n, 154 the Federal Trade Commission brought an antitrust
       action against a group of lawyers seeking to influence the District of
       Columbia government to raise their compensation for representing indigent
       criminal defendants.155 In support of their cause, they essentially went on
       strike—though without the protections of the Norris-LaGuardia Act—by
       refusing to accept any more appointments in criminal cases.156 The lawyers
       argued that they were entitled to protection under Claiborne Hardware, and
       that, among other things, they would not have been able to generate support
       for their cause absent their public boycott. 157 The Court easily held that the

         150. Thornhill v. Alabama, 310 U.S. 88, 103 (1940).
         151. See, e.g., Michael C. Harper, The Consumer’s Emerging Right To Boycott: NAACP
       v. Claiborne Hardware and Its Implications for American Labor Law, 93 YALE L.J. 409,
       426–27 (1984).
         152. 447 U.S. 607 (1980).
         153. Id. at 616. In Retail Store Employees Union, a union picketed several sellers of
       Safeco insurance policies in order to protest Safeco’s actions. Though the union simply
       asked consumers to cancel their Safeco policies, and not to boycott the sellers entirely, the
       Court nonetheless held that the union had violated the NLRA because its actions were
       tantamount to asking consumers to boycott the sellers, who derived nearly all of their
       business from selling Safeco policies. Id. at 614–15. The Court further rejected the union’s
       First Amendment defense, holding that picketing that “predictably encourages consumers to
       boycott a secondary business . . . imposes no impermissible restrictions upon constitutionally
       protected speech.” Id.
         154. 493 U.S. 411 (1990).
         155. Id. at 414.
         156. Id. at 416.
         157. Id. at 420–21. There was also some evidence that the District of Columbia—the
       supposed victim of the antitrust conspiracy—welcomed the boycott, which generated enough




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       lawyers’ conduct in publicizing their boycott and lobbying the District of
       Columbia government was protected by the First Amendment.158
       However, the Court rejected the argument that the First Amendment
       protected the actual boycott, distinguishing Claiborne Hardware because,
       whereas “[t]hose who joined the Claiborne Hardware boycott sought no
       special advantage for themselves,” the trial lawyers sought “an economic
       advantage for those who agreed to participate.” 159 It also rejected the
       argument that the boycott was protected speech because it was expressive
       activity on a matter of public concern, noting that “[e]very concerted refusal
       to do business with a potential customer or supplier has an expressive
       component,” and “[p]ublicity may be generated by any other activity that is
       sufficiently newsworthy.” 160

                                          C. Petitioning
          Labor petitioning activity, like picketing and boycotting, has received
       varying levels of First Amendment protection at different times in the
       Court’s history. However, the Court has come nearly full-circle, recently
       holding as a matter of constitutional avoidance that petitioning activity,
       even in the labor context, cannot be regulated in most circumstances.161
          One of the first cases to find broad First Amendment protection for
       petitioning activity, even if the goal of the activity was anticompetitive,
       arose in the union context. In United Mine Workers of America v.
       Pennington, 162 the Court held that, although it would ordinarily be an
       antitrust violation for a union and an employer to collaborate to impose a
       higher wage scale on a competitor, the First Amendment barred antitrust
       liability when such collusion related to petitioning activity. 163 Thus, the
       Court concluded that no antitrust liability attached when the United Mine
       Workers and a multi-employer association jointly approached the Secretary
       of Labor to set a minimum wage requirement for coal companies selling to
       the government, even if the purpose of that agreement was to drive small
       companies out of the market. 164
          Later, in Bill Johnson’s Restaurants, Inc. v. NLRB, 165 the Court held that
       the NLRB could enjoin baseless lawsuits filed to retaliate against


       public support to make it politically feasible for the District government to raise the
       compensation rates. Id. at 442 (Brennan, J., concurring in part and dissenting in part).
         158. Id. at 426–27 (majority opinion).
         159. Id. at 426. The Court also rejected the argument that the lawyers’ conduct was
       entitled to additional First Amendment protection because it facilitated the Sixth
       Amendment right to competent counsel. Id. at 427 n.11 (“Claiborne Hardware . . . does not
       protect every boycott having a constitutional dimension.”).
         160. Id. at 431. Justice Brennan, concurring, suggested that the majority had been
       “insensitive to the venerable tradition of expressive boycotts.” Id. at 437 (Brennan, J.,
       concurring in part and dissenting in part).
         161. See, e.g., BE & K Constr. Co. v. NLRB, 536 U.S. 516, 536–37 (2002).
         162. 381 U.S. 657 (1965).
         163. Id. at 669–70.
         164. Id.
         165. 461 U.S. 731 (1983).




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       employees for exercising their rights under the NLRA. 166 This holding
       allowed greater regulation of lawsuits filed in the labor context than in the
       commercial setting, where only “sham” lawsuits could be limited.167
          However, Bill Johnson’s Restaurants was short-lived. In 2002, in BE &
       K Construction Co. v. NLRB, 168 the Court addressed whether the NLRB
       could “impose liability on an employer for filing a losing retaliatory
       lawsuit,” even if the suit did not meet the sham exception. 169 The NLRB
       argued that its actions were less of an infringement on the First Amendment
       than the antitrust action in Professional Real Estate Investors, Inc. v.
       Columbia Pictures Industries, Inc. 170 because NLRB proceedings were
       initiated by a neutral third party, were less likely to impose high discovery
       costs on the defending party, and could not result in punitive remedies.171
       The Court rejected this argument, concluding that “[a]t most . . . these
       arguments demonstrate that the threat of an antitrust suit may pose a greater
       burden on petitioning than the threat of an NLRA adjudication. This does
       not mean the burdens posed by the NLRA raise no First Amendment
       concerns.” 172
          Reviewing the First Amendment interests served by unsuccessful
       lawsuits, the Court made three points: first, some unsuccessful lawsuits
       involve genuine grievances; second, unsuccessful lawsuits can advance
       First Amendment interests in “‘public[ly] airing [] disputed facts,’” raising
       “matters of public concern,” “promot[ing] the evolution of the law,” and
       “add[ing] legitimacy to the court system as a designated alternative to
       force”; and third, “while baseless suits can be seen as analogous to false
       statements [which are not entitled to First Amendment protection], that
       analogy does not directly extend to suits that are unsuccessful but


         166. Id. at 748–49; see also infra Part IV.A.
         167. Cal. Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 515–16 (1972)
       (holding that courts could find antitrust violation because filing anti-competitive lawsuits
       with the alleged goal of limiting competitor’s access to administrative and judicial tribunals
       fell under the “sham” exception). “Sham” lawsuits are both “objectively baseless in the
       sense that no reasonable litigant could realistically expect success on the merits” and
       motivated by “‘an attempt to interfere directly with the business relationships of a
       competitor’”; they are not entitled to First Amendment protection. BE & K Constr. Co. v.
       NLRB, 536 U.S. 516, 526 (2002) (quoting Prof’l Real Estate Investors, Inc. v. Columbia
       Pictures Indus., 508 U.S. 49, 60–61 (1993)).
         168. 536 U.S. 516.
         169. Id. at 524.
         170. 508 U.S. 49.
         171. BE & K Constr. Co., 536 U.S. at 528–29.
         172. Id. at 529. Justice Breyer, concurring, rejected this conclusion, pointing out that
       antitrust law threatens “treble damages,” whereas the NLRB could at most force one side to
       pay the other’s attorneys’ fees. Id. at 541 (Breyer, J., concurring). Justice Breyer also
       pointed out that “the NLRA finds in the need to regulate an employer’s antiunion lawsuits
       much of its historical reason for being. Throughout the 19th century, courts had upheld
       prosecutions of unions as criminal conspiracies. . . . And in the process [the courts] had
       reinterpreted federal statutes that Congress had not intended for use against the organizing
       activities of labor unions.” Id. at 542 (citations omitted). Thus, Justice Breyer concluded that
       “an employer’s antiunion lawsuit occupies a position far closer to the heart of the labor law
       than does a defendant’s anticompetitive lawsuit in respect to antitrust law.” Id. at 543.




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       reasonably based.” 173 Next, the Court construed the text of the NLRA,
       finding no reason to read the Act “to reach all reasonably-based but
       unsuccessful suits filed with a retaliatory purpose.” 174 However, the Court
       did not decide whether the Board could “declare unlawful any unsuccessful
       but reasonably based suits that would not have been filed but for a motive
       to impose the costs of the litigation process, regardless of the outcome.” 175
       Thus, although the Court did not apply the “sham” rule in the NLRA
       context, it intimated that it would do so in a future case. 176

                           D. Labor Speech as Commercial Speech?
          If, as the Court has suggested, labor speech is, at heart, economic rather
       than political, then perhaps it should be grouped with commercial speech
       for First Amendment purposes. In other words, just like a salesman selling
       cars, perhaps a union representative talking to as-yet-unorganized workers
       or the public is selling the benefits of unionism, or a bargaining agent trying
       to obtain higher wages is selling members’ work. Such a categorization
       may even have some advantages for labor speech. For one thing, it would
       place labor speech within a recognizable category of First Amendment
       protection. Moreover, inclusion in the commercial speech category would
       be a promotion for labor speech because at least some commercial speech
       currently is entitled to more protection than labor speech (though less than
       political speech). 177 But does the commercial speech doctrine fairly
       encompass labor speech in its various forms?
          Courts have, at times, characterized labor unions as businesses, albeit
       with specialized missions. For example, in Thomas v. Collins, 178 a case

          173. Id. at 532 (majority opinion) (quoting Bill Johnson’s Rests., Inc. v. NLRB, 461 U.S.
       731, 743 (1983)).
          174. Id. at 536.
          175. Id. at 536–37.
          176. Justice Scalia stated in his concurrence that the “implication” was that the Court
       would, in the future, construe the NLRA “in the same way we have already construed the
       Sherman Act: to prohibit only lawsuits that are both objectively baseless and subjectively
       intended to abuse process.” Id. at 537 (Scalia, J., concurring). Justice Scalia reasoned that
       the NLRA, if anything, demanded higher standards to infringe petitioning activity because
       the NLRA was enforced by an administrative body instead of an Article III court, and it was
       doubtful that an administrative agency could be given the authority to punish a reasonably-
       based suit filed in a court. Id. at 537–38.
          177. Unlike labor speech, commercial speech can be regulated only when it concerns
       illegal activity, is misleading, or when it is tailored to directly advance a substantial
       government interest that could not be served by a more limited restriction. Cent. Hudson Gas
       & Elec. Corp. v. Pub. Serv. Comm’n, 447 U.S. 557, 563–64 (1980); see also James G. Pope,
       The Three-Systems Ladder of First Amendment Values: Two Rungs and a Black Hole, 11
       HASTINGS CONST. L.Q. 189, 191 (1984) (“On the ladder of First Amendment values, political
       speech occupies the top rung, commercial speech rests on the rung below, and labor speech
       is relegated to a ‘black hole’ beneath the ladder.”); cf. Alan Story, Employer Speech, Union
       Representation Elections, and the First Amendment, 16 BERKELEY J. EMP. & LAB. L. 356,
       392 n.189 (1995) (“Labor speech ‘has been routinely treated as commercial speech subject to
       virtually plenary regulation’ since Thomas v. Collins.” (quoting Craig Becker, Democracy in
       the Workplace: Union Representation Elections and Federal Labor Law, 77 MINN. L. REV.
       495, 599 n.496 (1993))).
          178. 323 U.S. 516 (1945).




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       decided during a period when the Court was expanding labor speech rights,
       the Supreme Court referred to unions’ “economic function” as no barrier to
       First Amendment protection. 179 The Thomas dissent stated it more bluntly:
       “Labor unions are business associations; their object is generally business
       dealings and relationships as is manifest from the financial statements of
       some of the national unions. Men are persuaded to join them for business
       reasons, as employers are persuaded to join trade associations for like
       reasons.” 180 Even if labor unions did have the same goals and functions as
       a for-profit corporation, however, that would not end the inquiry. Rather,
       whether speech falls into the commercial speech category is determined in
       part by looking at the function of the speech, not just the identity of the
       speaker. 181 Thus, the Supreme Court has characterized commercial speech
       as “expression related solely to the economic interests of the speaker and its
       audience” 182 and as “speech which does ‘no more than propose a
       commercial transaction,’ [and] is . . . removed from any ‘exposition of
       ideas,’ and from ‘truth, science, morality, and arts in general, in its diffusion
       of liberal sentiments on the administration of Government.’”183
          Under these definitions, speech that takes place at the bargaining table
       could arguably qualify as commercial speech, if one accepts that speech
       about the value of labor is analogous to speech about the value of goods.
       The union, as the representative of its members, makes and responds to
       proposals regarding wages and working conditions in much the same way
       that a salesman and a buyer might haggle over the price of a good or
       service. In contrast, comprehensive campaign speech that takes place away
       from the bargaining table does much more than propose a commercial
       transaction, and its intended audience extends well beyond potential union
       members. For example, during the Smithfield comprehensive campaign,
       the UFCW sought to tap into the general public’s sense of moral outrage
       about the company’s employment and environmental practices.184 Further,
       even if it could fairly be said that the UFCW was proposing an economic
       transaction by asking members of the public not to buy Smithfield bacon,
       that request was tied to dignitary, not economic, interests, which places that




          179. Id. at 531.
          180. Id. at 556 (Roberts, J., dissenting). Other courts have since taken a similar view.
       E.g., Local Union No. 189, Amalgamated Meat Cutters v. Jewel Tea Co., 381 U.S. 676, 723
       (1965) (Goldberg, J., dissenting) (stating that “[t]he very purpose and effect of a labor union
       is to limit the power of an employer to use competition among workingmen to drive down
       wage rates and enforce substandard conditions of employment”).
          181. See, e.g., Citizens United v. Fed. Election Comm’n, 130 S. Ct. 876, 898 (2010)
       (applying strict scrutiny to restrictions on political speech, even if speaker is a corporation).
          182. Cent. Hudson Gas & Elec., 447 U.S. at 561.
          183. Va. State Bd. of Pharmacy v. Va. Citizens Consumer Council, Inc., 425 U.S. 748,
       762 (1976) (citations omitted) (quoting Pittsburgh Press Co. v. Human Relations Comm’n,
       413 U.S. 376, 385 (1973); Roth v. United States, 354 U.S. 476, 484 (1957); Chaplinsky v.
       New Hampshire, 315 U.S. 568, 572 (1942)).
          184. See supra Part I.B.3.




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       speech outside the scope of the Supreme Court’s commercial speech
       tests. 185
          It is unclear that organizing speech of any description should ever qualify
       as commercial speech. 186 To be sure, one could characterize the
       relationship between unions and members as an exchange of fees (union
       dues) for services (representation). 187 But unions do more than sell a
       negotiation service; they also offer a meaningful opportunity for members
       to exercise their associational rights 188 and to acquire a social identity.189
       Workers may also choose to join labor unions for a variety of reasons in
       addition to the expectation of improved wages and benefits, such as a desire
       to amplify their voices at work or in the political realm.
          Finally, the reason for granting less First Amendment protection to
       commercial speech is the supposed durability of that speech—that is, it is


         185. In distinguishing commercial speech from other types of speech, the Court has
       focused on both the content of the speech and the motivation of the speaker. This was made
       most apparent in a pair of cases involving lawyers soliciting clients: In re Primus, 436 U.S.
       412 (1978), and Ohralik v. Ohio State Bar Ass’n, 436 U.S. 447 (1978). In the first, Primus
       approached a prospective client/plaintiff regarding a suit over the coerced sterilization of
       women who received Medicaid benefits. Primus, 436 U.S. at 415. Though Primus offered
       her legal services for free, there was some possibility that the American Civil Liberties
       Union, which sponsored the litigation, would be awarded counsel fees. Id. at 429–30. In the
       second, Ohralik sought to represent car crash victims for a fee. Ohralik, 436 U.S. at 450–51.
       Nonetheless, the Court held that Ohralik’s solicitation was commercial speech, which could
       be punished by the bar association in light of the state’s interests in protecting consumers
       and maintaining attorney standards, id. at 437–39, while Primus’s solicitation was “political
       expression and association” that could be regulated only narrowly to prevent specific harms.
       Primus, 436 U.S. at 437–38. Acknowledging the unusual role that speaker motivation was
       playing, the Court stated that “[n]ormally the purpose or motive of the speaker is not central
       to First Amendment protection, but it does bear on the distinction between conduct that is
       ‘an associational aspect of ‘expression’,’ and other activity subject to plenary regulation by
       the government.” Id. at 438 n.32 (quoting Thomas I. Emerson, Freedom of Association and
       Freedom of Expression, 74 YALE L.J. 1, 26 (1964))). Thus, commercial speech was to be
       distinguished from political speech based on not only its content, but also its motivation.
         186. In DeBartolo, the Court made clear that it did not mean to “suggest that
       communications by labor unions are never of the commercial speech variety and thereby
       entitled to a lesser degree of constitutional protection,” but that the leaflets at issue were not
       “typical commercial speech such as advertising the price of a product or arguing its merits.”
       Edward J. DeBartolo Corp. v. Fla. Gulf Coast Bldg. & Constr. Trades Council, 485 U.S.
       568, 576 (1988). However, the decision did not give any examples of union speech that
       would be of the commercial variety, and further, the Court did not say what type of speech
       the leaflets were, if not commercial speech.
         187. See, e.g., Aitken v. Commc’ns Workers of Am., 496 F. Supp. 2d 653, 665 (E.D. Va.
       2007) (“While union organizing certainly implicates First Amendment associational
       interests, it is also true that CWA performs economically valuable services for its members
       in exchange for a fee, namely union dues—an arrangement which has all the characteristics
       of a commercial transaction.”).
         188. NLRB v. Babcock & Wilcox Co., 351 U.S. 105, 113 (1956) (noting that “[t]he right
       of self-organization depends in some measure on the ability of employees to learn the
       advantages of self-organization from others”); see also Thomas v. Collins, 323 U.S. 516, 534
       (1945) (noting that speech and associational rights were at issue in case concerning
       restriction on labor organizer’s speech).
         189. See Marion Crain & Ken Matheny, Labor’s Identity Crisis, 89 CALIF. L. REV. 1767,
       1785–86 (2001) (describing the AFL’s recent attempt to cast the union movement in terms of
       not only class consciousness but also as a social justice movement).




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       less likely to be chilled by governmental restriction than political, artistic,
       or other non-commercial speech entitled to full First Amendment
       protection. In Virginia State Board of Pharmacy v. Virginia Citizens
       Consumer Council, Inc., 190 the Court explained that durable commercial
       speech required less First Amendment protection than other speech in large
       part because of its profitability. 191 But this rationale does not translate to
       either comprehensive campaign speech or other “organizing” speech.
       Given that union dues average about $400 per member per year,192
       comprehensive campaigns are unlikely to be profit-making ventures.
       Furthermore, defending civil RICO suits can be extremely expensive.193
       Thus, the possible chilling effect associated with making an incorrect
       statement about an employer will be much greater than in the typical
       commercial context.
          In sum, even if the Court’s decisions are trending toward increased First
       Amendment protection for labor speech, the Court has yet to place union
       speech on the same footing as the speech of other social movements or to
       present a coherent theory of the First Amendment as it applies to labor
       speech. In the next section, I will argue that labor unions, like other civic
       associations, contribute significantly to deliberative democracy, and, for
       that reason, their speech should receive First Amendment protection
       equivalent to that of other social movements.

                       III. CIVIL SOCIETY AND THE FIRST AMENDMENT
          The Court’s apparent reluctance to set forth a coherent or consistent
       theory of labor speech and the First Amendment makes some sense in light
       of the limited consensus as to what speech the First Amendment should
       protect and, more importantly, why it should be protected. 194 To date,
       “[t]he Court has not set out anything like a clear theory to explain why and
       when speech qualifies for the top tier. At times the Court has indicated that
       speech belong[s] in the top tier if it is part of the exchange of ideas, or if it
       bears on the political process.” 195
          Though the Court has never directly endorsed a conception of the First
       Amendment that particularly values “civil society”196 and its contributions


         190. 425 U.S. 748 (1976).
         191. Id. at 762–63, 771 n.24.
         192. Mark Brenner, Give Your Union a Dues Checkup, LABOR NOTES (May 27, 2007,
       10:54 PM), http://labornotes.org/node/908 (value for 2004; noting that union dues had fallen
       by 8.4% from 2000–2004).
         193. See infra Part IV.B.
         194. Steven Shiffrin, The First Amendment and Economic Regulation: Away From a
       General Theory of the First Amendment, 78 NW. U. L. REV. 1212, 1251–57 (1983)
       (observing that the Court has been generous about finding First Amendment values and
       employed an “eclectic” group of tests in various First Amendment contexts).
         195. CASS R. SUNSTEIN, DEMOCRACY AND THE PROBLEM OF FREE SPEECH 11 (1995).
         196. Ernest Gellner defines civil society as
            ‘that set of diverse non-governmental institutions which is strong enough to
            counterbalance the state and, while not preventing the state from fulfilling its role
            as keeper of the peace and arbitrator between major interests, can nevertheless




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       to democratic deliberation, there is a discernible strand running through
       some of the Court’s free speech cases that seems to recognize that
       associations are critical to the sound exercise of popular sovereignty. For
       example, at least one scholar has suggested that Brandeis’s vision of the
       First Amendment was based on civic virtue and that his classic dissent in
       Whitney v. California 197—a case about speech at a meeting of the
       Communist Labor Party, where members debated and voted on a series of
       proposals related to the organization’s purpose and function198—speaks not
       just to self-fulfillment or self-rule, but to “the duty to participate in politics,
       the importance of deliberation, and the notion that the end of the state is not
       neutrality but active assistance in providing conditions of freedom . . . .” 199
       Similarly, Cass Sunstein argues persuasively that “[t]he placement of
       sovereignty in ‘We the People,’ rather than the government . . . . created an
       ambitious system of ‘government by discussion,’ in which outcomes would
       be reached through broad public deliberation.”200
          Thus, Sunstein and others have proposed a reading of the First
       Amendment that focuses on deliberative democracy, including the need to
       draw citizens into public life to exercise their right to self-governance, and
       argues that speech that promotes deliberative democracy deserves robust
       First Amendment protection. 201 Further, a wealth of legal and social-
       scientific scholarship argues that civil society (or associational life) is
       critical to a well-functioning deliberative democracy. 202 In the next section,
       I will explore the intersection of these arguments and propose that certain
       labor speech should receive enhanced First Amendment protection. This
       proposal is based on two premises: first, that a healthy civil society

            prevent it from dominating and atomizing the rest of society[.] . . . Civil Society
            can check and oppose the state. It is not supine before it.’
       Mark Tushnet, The Constitution of Civil Society 75 CHI.-KENT L. REV. 379, 380 (2000)
       (quoting ERNEST GELLNER, CONDITIONS OF LIBERTY: CIVIL SOCIETY AND ITS RIVALS 5, 193
       (1994)).
         197. 274 U.S. 357 (1927).
         198. Id. at 365.
         199. Pnina Lahav, Holmes and Brandeis: Libertarian and Republican Justifications for
       Free Speech, 4 J.L. & POL. 451, 460, 466 (1988) (“In Brandeis’ opinion, the potential
       goodness of individuals acting collectively was the source of legitimacy for democracy, and
       the reason he supported it.”).
         200. SUNSTEIN, supra note 195, at xvi.
         201. E.g., SUNSTEIN, supra note 195, at 244–52; Martin H. Redish & Abby Marie Mollen,
       Understanding Post’s and Meiklejohn’s Mistakes: The Central Role of Adversary
       Democracy in the Theory of Free Expression, 103 NW. U. L. REV. 1303, 1303–04 (2009)
       (“[A]mong the most prominent and widely accepted theories of the First Amendment are
       those that explain the Free Speech Clause as either a catalyst for or a protection of
       democracy itself. Such ‘democratic’ theories of the First Amendment posit that speech
       receives constitutional protection because it is essential to a functioning and legitimate
       democracy.”); see also STEPHEN BREYER, ACTIVE LIBERTY: INTERPRETING OUR DEMOCRATIC
       CONSTITUTION 37 (2005) (describing “active liberty” as “the need to make room for
       democratic decision-making”); Jason Mazzone, Speech and Reciprocity: A Theory of the
       First Amendment, 34 CONN. L. REV. 405, 415–16 (2002) (noting growing emphasis on
       Sunstein’s theory of deliberative democracy).
         202. E.g., COHEN & ARATO, supra note 16, at vii, viii (noting that “the concept of civil
       society . . . has become quite fashionable today” and arguing that civil society is “the
       primary locus for the potential expansion of democracy”).




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       contributes to deliberative democracy; and second, that labor unions are
       rightly considered a valuable part of civil society. I will also explore how
       associations, including labor unions, play a role in enhancing deliberation,
       both by helping members develop the skills required to deliberate and by
       providing literal and metaphorical space for deliberation. 203

            A. The Role of Civil Society in Promoting Deliberative Democracy
          Associations foster democratic deliberation in two distinct ways. First,
       they participate directly in social debates by publishing position statements
       or lobbying elected officials. Second, they create conditions in which
       deliberation is likely to occur, or instill in their members values that make
       them more likely to deliberate. This section explores whether and how civil
       society either participates in democratic deliberation, or facilitates
       deliberation by promoting conditions, such as freedom, equality, diversity,
       and connectedness, under which it is more likely to occur.204
          There are numerous accounts of the links between civil society and
       democratic self-governance or deliberative democracy. 205 Those links can
       be grouped into two general categories: first, benefits derived from what
       the associations themselves do, including what members do in their role as
       members; and second, benefits derived from what participation in the
       association might prompt individuals to do in their other social roles. Put
       more concretely, an association might lobby the government to pass
       legislation—an example of an association’s direct participation in
       democratic deliberation. Then, a member of that association might be
       inspired to try to convince her city council to add more bus lines—an
       example of an individual’s participation in democratic life that is a result of,
       but distinct from, her participation in an association.




         203. I do not mean to suggest that this is the only theory of the First Amendment under
       which labor speech should be afforded top-tier protection. However, other theories are
       beyond the scope of this Article.
         204. Cynthia Estlund has called freedom, equality, diversity, and connectedness the “ideal
       conditions” for democratic deliberation. Cynthia L. Estlund, Working Together: The
       Workplace, Civil Society, and the Law, 89 GEO. L.J. 1, 58 (2000).
         205. For example, Jane Mansbridge theorizes that civil society allows for “deliberative
       enclaves of resistance” or “counterpublics,” with a variety of goals:
            ‘understanding themselves better, forging bonds of solidarity, preserving the
            memories of past injustices, interpreting and reinterpreting the meanings of those
            injustices, working out alternative conceptions of self, of community, of justice,
            and of universality, trying to make sense of both the privileges they wield and the
            oppressions they face, understanding the strategic configurations for and against
            their desired ends, deciding what alliances to make both emotionally and
            strategically, deliberating on ends and means, and deciding how to act, idividually
            and collectively.’
       Linda C. McClain & James E. Fleming, Some Questions for Civil Society-Revivalists, 75
       CHI.-KENT L. REV. 301, 318 (2000) (quoting Jane Mansbridge, Using Power/Fighting
       Power: The Polity, in DEMOCRACY AND DIFFERENCE: CONTESTING THE BOUNDARIES OF THE
       POLITICAL 46, 58 (Seyla Benhabib ed., 1996)).




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          Although the two categories will significantly overlap in many cases, 206 I
       will broadly group the democracy-enhancing benefits of civil society as
       follows: first, associations acting as associations are better able to “check
       and oppose” the state than individuals, foster interdependence and
       cooperation in pursuit of a common goal, and provide a venue and thus a
       reason for members to come together to deliberate. Second, associations
       can be “schools for democracy” that improve members’ competence and
       interest in participating in larger democratic life, even outside of the
       association.
          I will discuss these in turn and then discuss labor unions’ potential
       contributions to civil society.
                  1. Associations and “Checking and Opposing” the State
          In some undemocratic countries, civil society has literally opposed the
       state in the sense of undermining dictatorships.207 In a democracy, though,
       the relationship is more symbiotic: although civil society influences
       governmental decision-making and moderates or counterbalances
       governmental excess, government also protects civil society. 208 At most
       then, as posited by Emile Durkheim, an early theorist of the value of
       intermediate associations, associations may help prevent the state from
       becoming corrupt. 209 Similarly, James Gray Pope has argued in the context
       of the labor movement that “[m]odern constitutional theory relies on
       organized groups to offset governmental power and prevent the rise of a
       ruling class. Group independence has replaced individual independence as
       the safeguard of democracy.” 210
                              2. Associations and Interdependence
          For Durkheim, Alexis de Tocqueville, and others, associations were
       crucially important for their ability to generate “social capital” and social
       trust. 211 Robert Putnam defined “social capital” as “‘connections among
       individuals—social networks and the norms of reciprocity and



          206. For example, when a member of an association goes knocking on doors to fundraise,
       he is probably acting both as a member and as a neighbor. The same is true when a member
       of an association drags a friend to a meeting.
          207. GELLNER, supra note 196, at 193; Roy Godson, Labor’s Role in Building
       Democracy, in PROMOTING DEMOCRACY: OPPORTUNITIES AND ISSUES 119, 123 (Ralph M.
       Goldman & William A. Douglas eds., 1988) (describing labor’s role in undermining the
       stability of regimes in Eastern Europe and in decolonizing African countries).
          208. COHEN & ARATO, supra note 16, at x (noting that “it would be a mistake to see civil
       society in opposition to the economy and state by definition”); Tushnet, supra note 196, at
       399.
          209. EMILE DURKHEIM, PROFESSIONAL ETHICS AND CIVIC MORALs 3–5 (Cornelia
       Brookfield trans., 1958).
          210. Pope, supra note 93, at 1112.
          211. Bob Edwards & Michael W. Foley, Civil Society and Social Capital: A Primer, in
       BEYOND TOCQUEVILLE: CIVIL SOCIETY AND THE SOCIAL CAPITAL DEBATE IN COMPARATIVE
       PERSPECTIVE 1, 1 (Bob Edwards, Michael W. Foley & Mario Diani eds., 2000).




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       trustworthiness that arise from them.’” 212 Its purpose is to “help people to
       accomplish things together” by generating the trust necessary for
       individuals to put self-interest aside, at least temporarily, to act collectively
       for the common good. 213 In particular, associations have the potential to
       bring people together both within and across social groups, generating
       bonds of trust where there were none before and reinforcing those that
       already existed. 214
          A closely related concept is interdependence. When citizens depend on
       each other for survival and success, they are more likely to form a real
       community, where the needs of the group can sometimes be put above the
       needs of the individual, with an unstated expectation of future
       reciprocity. 215 Associations play a role in promoting interdependence in at
       least two ways. First, they are microcosms of society, in that members of
       an association depend on each other to make the organization successful.
       Second, associations themselves are social actors, capable of depending on
       others and being depended upon, as when they act in concert with other
       associations to accomplish shared goals.
                 3. Associations as Places and Reasons To Come Together
          Associations can simply provide a physical place and a reason for
       individuals to come together to talk about great or small issues. Thus, in a
       literal as well as a metaphorical sense, “civil society can offer a multiplicity
       of spaces in which deliberative democracy, or public deliberation, can take
       place.” 216 To the extent the Court has endorsed a view of the First
       Amendment that cares about civil society and its relationship to deliberative
       democracy, this has been the value that it has identified.
          Specifically, the Court has endorsed the idea that citizens must come
       together to deliberate about how to exercise their sovereignty. In De Jonge
       v. Oregon, 217 a case involving a meeting of the Communist party, the Court
       concluded that—at least when speech on “the public issues of the day” was
       tied to petitioning the government for redress of grievances—“‘[t]he very
       idea of a government, republican in form, implies a right on the part of its
       citizens to meet peaceably for consultation.’”218 Likewise, in Thornhill, the
       Court unanimously—if briefly—held that labor picketing was protected by
       the First Amendment because it was “essential to free government” that

         212. CYNTHIA ESTLUND, WORKING TOGETHER: HOW WORKPLACE BONDS STRENGTHEN A
       DIVERSE DEMOCRACY 114 (2003) (quoting ROBERT D. PUTNAM, BOWLING ALONE: THE
       COLLAPSE AND REVIVAL OF AMERICAN COMMUNITY 19 (2001)).
         213. Id.; see also Edwards & Foley, supra note 211, at 1.
         214. ESTLUND, supra note 212, at 107 (describing Putnam’s concepts of “bridging”
       associations, which bring people together from across different social groups, and “bonding”
       associations, which bring together people from the same social group).
         215. See ROBERT N. BELLAH ET AL., HABITS OF THE HEART: INDIVIDUALISM AND
       COMMITMENT IN AMERICAN LIFE 246–47 (1987) (describing the role of interdependence in
       creating a real community rather than a “lifestyle enclave”).
         216. McClain & Fleming, supra note 205, at 318.
         217. 299 U.S. 353 (1937).
         218. Id. at 364–65 (quoting United States v. Cruikshank, 92 U.S. 542, 552 (1875)).




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       “men may speak as they think on matters vital to them and that falsehoods
       may be exposed through the processes of education and discussion.”219
       Although it is not clear that the Thornhill Court thought “education and
       discussion” could best occur within associations, 220 it would have certainly
       been logical for the Court to have had associations in mind: the case arose
       in the context of associational advocacy, and associations are necessarily
       better at facilitating repeated and ongoing discussion between their
       members than, say, chance encounters on the street. Further, the Court
       cited the Continental Congress’s letter to the Inhabitants of Quebec, which
       articulated the value of a free press as, in part, “‘its ready communication of
       thoughts between subjects, and its consequential promotion of union among
       them, whereby oppressive officers are ashamed or intimidated, into more
       honourable and just modes of conducting affairs.’” 221
                          4. Associations as “Schools for Democracy”
          Associations can also inculcate the skills and desires necessary to
       become an active participant in deliberation on a larger scale. Accounts of
       civil society and democracy often use as a starting place Tocqueville’s
       observation that associations act as “schools for democracy” 222 by
       cultivating certain experiences, attitudes, and abilities. For example,
       associations may afford their members direct experience with democratic
       structures—such as electing a president to lead the association—on a scale
       that makes it easier to see the direct results of one’s contribution. Further,
       to the extent an association’s membership is composed of individuals with
       diverse backgrounds, experiences, and needs, individual members will
       benefit from developing mechanisms to bridge differences and compromise.
       Both types of experiences will, in turn, relate to politics on a larger scale.

                                B. Labor Unions and Civil Society
          When it comes to inculcating the skills, not to mention the desire, to
       participate in a deliberative democracy, not all associations are created
       equal. It is implausible that the average cooking club is going to “check
       and oppose the state.” Nor is it likely that the cooking club will teach
       democratic values or help its members develop a sense of their own
       political efficacy. To use another example, “it is hardly self-evident how
       participation in bowling leagues nourishes the habits and skills of
       citizenship, much less civic virtue and democratic self-government.” 223


         219. Thornhill v. Alabama, 310 U.S. 88, 95 (1940).
         220. Id.
         221. Id. at 102 (quoting 1 JOURNAL OF THE CONTINENTAL CONGRESS 104, 108 (1904)). To
       be sure, the Thornhill Court also articulated Holmes’s theory that freedom of speech was
       valuable because it facilitated testing ideas in the “market of public opinion.” Id. at 105; see
       also Gitlow v. New York, 268 U.S. 652, 673 (1925) (Holmes, J., dissenting).
         222. Thomas C. Kohler, The Overlooked Middle, 69 CHI.-KENT L. REV. 229, 230 (1993).
         223. McClain & Fleming, supra note 205, at 311–12. Professors Linda McClain and
       James Fleming suggest that, to believe that “the barest indication of connection with others




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       Labor unions, however, have some advantages over many other civil
       society institutions when it comes to both checking and opposing the state
       and acting as a school for democracy.
                         1. Unions “Checking and Opposing” the State
          Unions can “channel[] grievances to the government and help[] to
       explain and assist in the administration and maintenance of the political
       system” by facilitating communication between citizens and the
       government. 224 In the United States, unions have done so largely by
       “seek[ing] change through political and legal channels” and “engag[ing] in
       battles to transform cultural understandings.” 225 Thus, unions helped create
       the public perception that work should be rewarded with “a ‘rate of pay
       commensurate with an American standard of living.’”226 They were also
       instrumental in the fight against Lochnerism that paved the way for laws
       that improved working conditions. 227
          Further, unions helped secure the “economic independence and material
       security” that the Framers thought were necessary to meaningful
       participation in democratic life.228 After the New Deal, unions “emerged as
       the only powerful, organized constituency for social and economic
       rights” 229 and helped secure passage of the wage and hour laws and
       workplace safety protections. Now, unions are key players in national
       debates over issues like national health care reform and free trade. 230
                              2. Unions Promoting Interdependence
         Unions can enhance interdependence in at least two ways. First, they
       make interdependence that already exists within workplaces more


       [would] seem to support or even to relate to citizenship,” one would have to view people as
       “atomistic individuals, unencumbered selves, or lone rights-bearers.” Id. at 353.
          224. Godson, supra note 207, at 122.
         225. Hawkins, supra note 31, at 76–77 (describing labor’s use of strikes to change social
       expectations about working conditions); McClain & Fleming, supra note 205, at 319;.
         226. FONER, supra note 21, at 199 (quoting 1937 collective bargaining agreement
       between the UAW and General Motors, and discussing unions’ role in creating belief that
       the Depression was caused by “underconsumption,” and that distributing wealth was
       important to economic stability).
         227. Id. at 59 (stating that, in the 1840s, courts viewed “any decision to labor for another
       as a voluntary contractual agreement that allowed employers full authority over the
       workplace,” while viewing labor unions as conspiracies); see also FORBATH, supra note 31,
       at 1 (noting that American unions “never forged a class-based political movement to press
       for more generous and inclusive protections” for all workers).
          228. William E. Forbath, Social and Economic Rights in the American Grain:
       Reclaiming Constitutional Political Economy, in THE CONSTITUTION IN 2020, at 55, 55 (Jack
       M. Balkin & Reva B. Siegel eds., 2009).
          229. Id. at 60.
         230. See, e.g., MLKCLC Labor Day Party, TEAMSTERS LOCAL UNION # 174 (Aug. 31,
       2009), http://www.teamsters174.org/news-archives/2009_july-august.htm (“The AFL-CIO
       Union Movement is fighting for a unique American plan for secure, high-quality health care
       for all that . . . [m]akes sure everyone gets high-quality health care as good as or better than
       they have now.”).




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       egalitarian. Second, they create new axes of interdependence among
       members and between union leadership and members.
          Because American labor unions exist in connection with workplaces,
       they are influenced to a degree by the way workplaces are organized. In
       turn, one of the defining elements of industrialized society is the
       differentiation of labor, the primary characteristic of which is
       interdependence. 231 Thus, “work is the chief—and again for many the
       only—place outside the family where people are engaged in a common
       undertaking.” 232 However, workplaces are also “involuntar[y]” 233 (in the
       sense that employees generally have to work to live) and hierarchical. Both
       traits can impede meaningful connection and undermine workers’
       autonomy. 234 By helping to equalize the balance of power between
       employers and employees, unions can improve workplace interdependence.
          Once a workplace is unionized, the union and management must work
       together for the company to be productive (which in turn enhances workers’
       job security and benefits). 235 Not only does a unionized workforce present
       the threat of a strike or other economic action, but, because a union contract
       often makes it harder for an employer to take unilateral action, unionization
       means that employers will have a greater incentive to maintain a
       cooperative workplace. Further, whereas employment relationships in the
       United States are generally severable “at will,” collective bargaining
       agreements typically include a provision that permits employees to be fired
       only “for cause.” They also limit the scope of what employees can be asked
       to do and other aspects of their working conditions. Thus, unlike in
       nonunion workplaces, where employees are heavily dependent on
       employers but the reverse is not necessarily true (particularly for unskilled
       employees), unionized employers must either work to win the “hearts and




          231. In The Division of Labor in Society, Emile Durkheim identified the differentiation of
       labor as an important source—perhaps the most important source—of social solidarity in
       modern society, which he termed “organic solidarity.” This was precisely because of work’s
       mandatory qualities: even individuals who did not have a family or participate in other
       associations would probably have to work and, therefore, to depend on others and be
       depended on. Thus, Durkheim saw joining a trade union as a moral good in itself. ERNEST
       WALLWORK, DURKHEIM: MORALITY AND MILIEU 87 (1972). To foster that interdependence,
       Durkheim advocated organizing society into “occupational groups,” which would function
       as a kind of super-union or trade group. See ESTLUND, supra note 212, at 111.
          232. Kohler, supra note 222, at 233–34. Kohler further argues that, “[g]iven the
       importance of the work-life sphere in contemporary culture, the promotion of employee self-
       organization could serve as a buffer against the sort of fragmentation of the polity that
       Tocqueville understood would deform and pervert a democracy.” Id. at 243.
          233. ESTLUND, supra note 212, at 4.
          234. Id. at 131.
          235. Although the courts and others have typically thought of this relationship as
       something like industrial warfare, e.g., Kupferberg, supra note 33, at 701–02 & n.76
       (describing Congress’s intent in enacting the NLRA as protection of workers’ democratic
       rights and reduction of “industrial warfare”), it can be more benignly characterized as
       interdependence.




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       minds” of their employees or risk becoming mired in endless disciplinary
       proceedings and union grievances. 236
          Unions also demonstrate internal interdependence, both between
       members and union leadership and among members. As to the former,
       although work may be involuntary, union membership is generally
       voluntary. In “right to work” states, 237 employees cannot be required to
       join labor unions at all (even though the unions are still required to
       represent the interests of non-member employees fairly), and in other states,
       employees in unionized workplaces can be required to pay, at most, the
       “agency fee,” which is the portion of union dues that goes to
       representational activities such as bargaining and defending employees in
       disciplinary proceedings. 238 Further, in exchange for the right to be the
       exclusive representative of a group of employees, unions are required by
       law to operate as relatively formal democracies. The law protects the rights
       of dissenters, and unions owe all members and agency-fee payers a “duty of
       fair representation.” 239 Thus, even though labor unions are, like most
       workplaces, hierarchical, they have less ability to squelch dissent and
       dampen debate and deliberation than workplaces. 240
          Moreover, when unions are functioning properly, they facilitate internal
       interdependence because members must rely on each other (and their
       elected leadership) to represent fairly the interests of the entire membership.
       For a union to be effective, its members must be able to speak across the
       negotiation table with a unified voice. For a union to maintain members,
       those members must remain confident the union will go to bat for them
       when they need its advocacy.
          Finally, by virtue of their close relationship to workplaces, where
       workplaces are relatively diverse, it stands to reason that labor unions will
       also be diverse, particularly those unions that span multiple workplaces.241
       As Cynthia Estlund has noted, workplaces tend to be relatively more
       diverse than neighborhoods or voluntary associations, making the
       deliberation at work more likely to include unfamiliar points of view.242
       Correspondingly, a recent Center for Economic and Policy Research report

          236. Further, with the rise of business unionism, unions and employers are probably more
       likely than ever to be able to maintain a functional working relationship. In either event,
       though, well-functioning unions increase employers’ dependence on their employees.
          237. There are presently twenty-two right-to-work states, which are found mainly in the
       southeastern and midwestern United States. See Right to Work States, NAT’L RIGHT TO
       WORK LEGAL DEF. FOUND., INC., http://www.nrtw.org/rtws.htm, for a list of right-to-work
       laws.
          238. See generally Commc’n Workers of Am. v. Beck, 487 U.S. 735 (1988).
          239. Labor Management Reporting and Disclosure Act of 1959, Pub. L. No. 86-257, art.
       I, 73 Stat. 519 (codified as amended at 29 U.S.C. § 401 (2006)). See generally Vaca v. Sipes,
       386 U.S. 171 (1967). Of course, unions are democratic to varying degrees. See Godson,
       supra note 207, at 119 (noting that “not all trade unions are democratic”).
          240. ESTLUND, supra note 212, at 14 (arguing that the hierarchical nature of most
       workplaces suppresses their ability to create social capital).
          241. Like workplaces, labor unions are subject to antidiscrimination laws, including Title
       VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-2 (2006), and the Labor Management
       Reporting and Disclosure Act, 29 U.S.C. § 411(a).
          242. ESTLUND, supra note 212, at 7.




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       indicates that the labor movement is becoming increasingly diverse along
       racial and gender lines. 243 Thus, labor unions, at least those where
       members participate meaningfully in union affairs, can fulfill some of the
       same “integrative” functions as workplaces—they too can “conven[e]
       strangers from diverse backgrounds and induc[e] them to work together
       toward shared objectives . . . .” 244 Therefore, to use Putnam’s terminology,
       unions are both “bridging” and “bonding” associations.245 They are
       bonding associations because union members generally share a
       socioeconomic class and, in the case of local unions, a geographic area and
       often a profession.       They are bridging associations because, like
       workplaces, unions are relatively diverse as compared to other types of
       associations. 246 Thus, the interdependence created at work and enhanced
       by a union is likely to be broader and more inclusive than that created by
       associations that are unconnected to the workplace.247
                     3. Unions as Places and Reasons To Come Together
          Unions may be less effective than other types of associations at
       physically bringing people together in a single location. Generally,
       attendance at union meetings is non-mandatory, and—particularly if they
       feel that the union is functioning well and serving their interests—members
       may not be inclined to participate in union affairs.
          This is not to say that deliberation never takes place among union
       members. When it does, members will undoubtedly influence each others’
       views on the political issues of the day. 248 And when union members take
       collective action, such as striking or informational picketing, the level of




         243. JOHN SCHMITT & KRIS WARNER, CTR. FOR ECON. & POLICY RESEARCH, THE
       CHANGING        FACE       OF      LABOR,       1983–2008         (2009),      available     at
       http://www.cepr.net/documents/publications/changing-face-of-labor-2009-11.pdf; see also
       BUREAU OF LABOR STATISTICS, supra note 19 (indicating that, whereas men used to belong to
       unions at much higher rates than women, the “gap between their rates has narrowed
       considerably since 1983”). Further, labor unions have become more diverse in terms of
       representing more unskilled and semi-skilled workers than in earlier decades, when unions
       tended to represent relatively well-off skilled workers. WILLIAM FORM, SEGMENTED LABOR,
       FRACTURED POLITICS: LABOR POLITICS IN AMERICAN LIFE 40–41 (1995).
         244. ESTLUND, supra note 212, at 129. It may be that, in some unions, participation will
       be limited to a few committed members, so the potential integrative benefits of physically
       coming together at the union hall will be minimal. However, data showing that union
       members are more politically active than the general public suggests that union membership
       is still valuable to deliberative democracy. Presumably, which aspects of union
       membership—coming together to debate workplace condition and take collective action,
       being part of an organization that participates actively in politics, having to think about the
       welfare of other workers while negotiating contracts or processing grievances, or something
       else—influence democratic citizenship and participation will vary among unions and
       members.
         245. Id. at 107 (citing PUTNAM, supra note 212, at 22).
         246. See supra note 243 and accompanying text.
         247. ESTLUND, supra note 212, at 130.
         248. Tushnet, supra note 196, at 399.




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       deliberation is likely to be much higher. Public collective action also has
       the effect of reaffirming and reinforcing social identity. 249
                              4. Unions as “Schools for Democracy”
          Unions are frequently characterized as schools for democracy, 250 and
       there is reason to believe that union membership contributes to political
       activism. Traditionally, it has been the case that “[b]lue-collar workers . . .
       are politically apathetic, or at least are less likely to vote . . . than their
       parents.” 251 Union members, however, are more likely than the general
       public to be registered voters, to vote, to try to influence others’ votes, to
       support a candidate by displaying a bumper sticker or making a campaign
       contribution, to care about election outcomes, and to follow public
       affairs. 252
          One reason for this level of participation may be that union members,
       who elect union leadership (usually at both the local and national or
       international level), are more accustomed to voting, running for office, or
       participating in campaigning activity. 253 Further, because unions often
       negotiate workplace protections, such as substantive and procedural
       limitations on discipline and firing, 254 workers may feel more comfortable
       participating in the political process if they know they cannot be fired for
       their political stances. Benefits such as higher wages 255 and more time off
       work also may contribute to workers’ ability to participate in the political
       process.


          249. Hawkins, supra note 31, at 74 (stating that “processions and festivals enlivened the
       unionists’ efforts, proclaiming to all their public identity and social ideals with banners like
       the New York GTU’s standard of Archimedes lifting a mountain with a lever”).
          250. E.g., Godson, supra note 207, at 125.
          251. Christopher Grant, Unions in a Fragmented Society, 77 CHI.-KENT L. REV. 849, 850
       (2002).
          252. The ANES Guide to Public Opinion and Electoral Behavior, AM. NAT’L ELECTION
       STUD., http://www.electionstudies.org/nesguide/gd-index.htm (last visited Apr. 20, 2011). It
       is unclear whether there is a causal relationship between union membership and political
       activism, and if there is one, which way it runs. On one hand, it may be that, given the
       improved wages and benefits that come with unionization, employees have more resources
       and time to devote to politics. On the other, it may be that the most politically aware
       employees are also the most likely to perceive benefits of unionization, to be aware of the
       protected status of labor organizing in the workplace, or to have the energy and motivation to
       organize a union. Or, there may be a third factor that accounts for both phenomena. Carole
       Pateman points to the sense of “political efficacy” or “political competence” as strongly
       correlative to political participation, and those traits may also make unionization more likely.
       CAROLE PATEMAN, PARTICIPATION AND DEMOCRATIC THEORY 46 (1976).
          253. Godson, supra note 207, at 125.
          254. Cf. ESTLUND, supra note 212, at 130 (noting that “some employees are required to
       listen and submit to others who hire them and could fire them, and who control their
       advancement and conditions of employment” as a limit on workplace civil society); id. at
       135 (noting that while collective bargaining “looks like a very pale version of democracy
       and nothing like a republic,” it nonetheless “represent[s] the rule of law, the institution of
       due process, and the opportunity for a real collective voice” in the workplace).
          255. BUREAU OF LABOR STATISTICS, supra note 19 (showing that, among full-time
       workers, union members earned a median of $886 per week, compared to $691 for non-
       members).




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          The foregoing suggests that labor unions play a significant role in
       promoting a robust civil society that checks the state and acts as a
       democratic training ground. Thus, if one accepts that the First Amendment
       broadly protects speech that promotes deliberative democracy, then labor
       speech—in many of its forms—deserves top-tier First Amendment
       protection. This is especially so in the context of comprehensive campaigns
       and other organizing activity, where unions’ speech has significant potential
       to enhance associational life. 256 In other words, where unions and workers
       are actively involved in forming new associations and creating foundational
       ties among one another, the speech that facilitates those associations is
       important from a First Amendment perspective. Further, the claim that
       union speech is “deliberative” has particular force in the context of
       comprehensive campaigns. Comprehensive campaigns generally involve
       appeals to the public or to government, and they often rely on their moral
       force to attempt to convince otherwise-uninvolved people to act in a
       particular way. Thus, the speech is likely to focus on dignitary concerns
       (such as a particular employer mistreating workers), the benefits of
       unionism to the community, or another matter of public concern.
          Comprehensive campaigns have deliberative aspects even for
       employers—who are, after all, the targets of those campaigns. Because
       comprehensive campaigns are mainly aimed at the public, employers can
       attempt to disarm them by taking to the public to both talk and listen. 257 If
       employers are convincing, then presumably the public will ignore or
       discount the union voices; if unions are convincing, then the reverse will be
       true. Further, comprehensive campaigns are deliberative in that they are
       aimed at convincing employers that it is in their own best interest (or,
       possibly, the best interests of employees) to voluntarily agree to something
       like a card check. That unions seek to do so by making it less pleasant for
       employers to refuse does not necessarily make comprehensive campaigns
       undeliberative. 258

          256. However, organizing speech is not the only labor speech that has the potential to
       enhance democratic deliberation. The need to bargain collectively will also bring union
       members together to deliberate: For example, during bargaining, union members are likely
       to discuss the merits and fairness of particular offers and counter-offers, and to vote on
       whether or not to approve a contract. Bargaining speech, including picketing and secondary
       activity, also has the potential to make workers feel empowered to, collectively, stand up to
       management. The results of successful bargaining—increased wages and job security—may
       leave workers with more time and money to participate in their unions, in other associations,
       in their communities more generally, and in the political process. Finally, bargaining speech
       may ultimately influence the outcomes of future organizing efforts, creating a virtuous cycle:
       if a union has a long track record of bargaining that improves wages and working conditions,
       it is more likely that the union will be able to attract new members within a workplace (in a
       right-to-work state) or organize new workplaces. Thus, it is not the case that only organizing
       speech, and not union speech more generally, promotes deliberative democracy.
          257. For example, Smithfield ran a series of commercials in which workers touted their
       good working conditions and radio interviews with Smithfield spokesperson and “celebrity
       chef” Paula Deen.
          258. See AMY GUTMANN & DENNIS THOMPSON, DEMOCRACY AND DISAGREEMENT 4
       (1996) (stating that “[a] deliberative perspective sometimes justifies bargaining, negotiation,
       force, and even violence”). This is true particularly if comprehensive campaigns




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       IV. FIRST AMENDMENT VALUES AND THINKING SMALL: HOW CIVIL RICO
             POSES A GREATER FIRST AMENDMENT PROBLEM THAN NLRB
                             REGULATION OF SPEECH
          I have argued that because labor speech can enhance the First
       Amendment interest in deliberative democracy, it deserves the highest level
       of First Amendment protection—the same protection that the Court
       extended to the NAACP in Claiborne Hardware. 259 Because the NAACP’s
       speech was significantly more coercive than the speech that has precipitated
       employers’ civil RICO lawsuits, it seems clear that the speech involved in
       comprehensive campaigns—at least campaigns free of violence or threats to
       compel an employer to take illegal action—should be protected.
          However, I do not argue that this conclusion necessarily requires the
       Court to reverse all of its decisions upholding the NLRB’s authority to
       regulate union and employer speech during organizing campaigns and the
       bargaining process. First Amendment balancing analyses require courts to
       weigh the benefits of the speech at issue against the benefits of limiting that
       speech. 260 There may be good reason to differentiate regulatory restrictions
       on union speech imposed and policed by the NLRB from civil lawsuits filed
       by employers embroiled in labor disputes, given that regulation by the
       NLRB yields different benefits and imposes different burdens than civil
       RICO lawsuits. 261 As Harry Kalven has observed, “‘[t]o make a balancing
       approach meaningful, we must think in narrower terms, recognizing that the
       strengths of the competing interests may vary in new contexts.’” 262
          Here, because the NLRB—although far from a model of administrative
       perfection—seeks to protect employees’ rights to organize while ensuring
       union legitimacy, the NLRB’s mission also furthers deliberative democracy
       interests. Therefore, even after labor speech is afforded top-tier First
       Amendment protection, the results of First Amendment balancing may
       favor NLRB regulation over unimpeded speech. Employers’ civil RICO
       lawsuits targeting comprehensive campaigns, however, are another story.
       Though a civil RICO suit itself constitutes petitioning activity, it has a


       inconvenience, but do not realistically threaten, the companies at which they are aimed. See
       supra notes 24–28 and accompanying text.
         259. See supra text accompanying notes 140, 144–45.
         260. Norman T. Deutsch, Professor Nimmer Meets Professor Schauer (and Others): An
       Analysis of “Definitional Balancing” as a Methodology for Determining the “Visible
       Boundaries of the First Amendment”, 39 AKRON L. REV. 483, 485 (2006) (observing that the
       Court has conducted balancing in speech cases where First Amendment values were
       implicated on both sides of the equation).
         261. Though the Court has not endorsed this distinction—and rejected it in BE & K
       Construction Co. v. NLRB—it seems to view restrictions on labor speech when criminal
       penalties or hefty fines are at issue with greater skepticism than when faced with an
       injunction. Cf. BE & K Constr. Co. v. NLRB, 536 U.S. 516, 541–42 (2002) (Breyer, J.,
       concurring) (arguing that, because antitrust penalties and litigation costs are greater than
       those associated with NLRB enforcement proceedings, the First Amendment analysis need
       not be identical).
         262. Shiffrin, supra note 194, at 1215 (quoting Kenneth Karst, The First Amendment and
       Harry Kalven: An Appreciative Comment on the Advantages of Thinking Small, 13 UCLA
       L. REV. 1, 18 (1965)).




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       chilling effect on union speech that has the potential to limit both union
       speech and unionization itself, even where employees generally agree that
       they would like to form a union. Thus, civil RICO lawsuits, if anything,
       stymie deliberative democracy.

                       A. The NLRB’s Potential To Enhance Democracy
          One could understand the NLRA, and the NLRB’s efforts to enforce it,
       as an attempt to preserve the deliberative and state-checking benefits that
       legitimate unions can provide. In In re General Shoe Corp., 263 the NLRB
       concluded that its role was to “provide a laboratory in which an experiment
       may be conducted, under conditions as nearly ideal as possible, to
       determine the uninhibited desires of the employees.” 264 In performing this
       function, the NLRB “regulate[s] otherwise protected speech during
       representation election campaigns” 265 to protect employees’ associational
       interests, particularly in light of their economic dependence on their
       employers. 266 These restrictions on unfair methods of either promoting or
       discouraging unionization can deter abuses (by either side) that would
       impair workers’ exercise of their associational rights. Thus, though it
       involves restrictions on speech, 267 the “laboratory conditions” doctrine
       enhances civil society, as well as employees’ First Amendment
       associational interests. 268
          Further, the threat of NLRB sanction is relatively unlikely to chill
       legitimate speech. The NLRB cannot impose punitive financial penalties—

         263. 77 N.L.R.B. 124 (1948).
         264. Id. at 127; see also Shawn J. Larsen-Bright, Note, Free Speech and the NLRB’s
       Laboratory Conditions Doctrine, 77 N.Y.U. L. REV. 204, 215 (2002).
         265. Larsen-Bright, supra note 264, at 215; see also NLRB v. Gissel Packing Co., 395
       U.S. 575, 612 (1969) (concluding that NLRB may order employer to bargain with union if
       employer has “succeeded in undermining a union’s strength and destroying the laboratory
       conditions necessary for a fair election”).
         266. See Va. State Bd. of Pharmacy v. Va. Citizens Consumer Council, Inc., 425 U.S.
       748, 778 n.3 (1976) (Stewart, J., concurring) (noting that the Court permitted more speech
       restrictions in the context of labor elections than political elections to promote “antiseptic
       conditions,” based on employees’ competing First Amendment associational interests and
       dependence on their employers).
         267. For example, during organizing campaigns, employers may not threaten to close the
       plant in retaliation if the employees vote the union in (though employers may state that the
       plant may close if the workers unionize, provided the statement is not motivated by anti-
       union animus), nor may they promise to improve working conditions or compensation if
       employees reject unionization. See Julius Getman, Labor Law and Free Speech: The
       Curious Policy of Limited Expression, 43 MD. L. REV. 4, 5–9 (1984).
         268. Further, the NLRA is not universally speech-restrictive. In some contexts, the
       NLRA takes an expansive view of unions’ and employers’ speech rights. For example, the
       Court has repeatedly recognized that tempers run high during labor disputes, causing both
       sides to make extreme statements. Linn v. United Plant Guard Workers of Am., Local 114,
       383 U.S. 53, 64 (1966). At times, the Court has even suggested that permitting such speech
       could prevent violence by providing a way for labor combatants to blow off steam. Milk
       Wagon Drivers Union of Chi., Local 753 v. Meadowmoor Dairies, Inc., 312 U.S. 287, 296
       (1941). Thus, the NLRA preempts defamation suits that do not meet the New York Times
       Co. v. Sullivan actual malice standard because of the risk that state-law defamation liability
       could “dampen the ardor of labor debate and truncate the free discussion envisioned by the
       Act [and] . . . might be used as weapons of economic coercion.” Linn, 383 U.S. at 64.




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       at most, it can order backpay and attorneys’ fees.269 Thus, even though the
       NLRB can significantly burden speech by issuing an injunction that stops
       the speech altogether, the cost to a union or an employer of “going over the
       line” is relatively low, so even an active NLRB will not inadvertently chill
       future employer or union speech very much. Ironically, then, the aspects of
       the NLRB that render it ineffective at eradicating abusive labor practices
       make its interventions in labor disputes less problematic from a First
       Amendment perspective.
          The NLRB’s potential to improve union legitimacy and enhance
       workers’ associational rights can be seen in some of the existing labor
       speech cases. For example, in NLRB v. Virginia Electric & Power Co.,270
       the Court upheld the NLRB’s power to issue a cease-and-desist order
       against a company that interrogated its employees about their union
       sympathies and then facilitated the creation of an “inside union” that would
       accede to the company’s wishes. 271 The Court rejected the company’s
       argument that its speech was protected by the First Amendment, concluding
       that the NLRB’s penalty was intended to protect workers’ rights to form a
       “legitimate” union, not punish the employer’s speech.272 In terms of
       promoting deliberative democracy, the result is the correct one, even though
       it burdens the employer’s speech. It is unlikely that the “inside union”
       would have performed any of the democracy-enhancing functions discussed
       in the previous section.273 If anything, it would have been an object-lesson
       in corruption and the inability of workers to come together to change their
       situations through concerted action.274




         269. Hoffman Plastic Compounds, Inc. v. NLRB, 535 U.S. 137, 152 n.6 (2002) (stating
       that the “[Labor] Board is precluded from imposing punitive remedies”); Republic Steel
       Corp. v. NLRB, 311 U.S. 7, 10 (1940) (describing purposes of NLRA as remedial, not
       punitive); see also Estlund, supra note 3, at 1537. The NLRB’s position is that it has the
       authority to order attorneys’ fees. Micah Berul, To Bargain or Not To Bargain Should Not
       Be The Question: Deterring Section 8(A)(5) Violations in First-Time Bargaining Situations
       Through a Liberalized Standard for the Award of Litigation and Negotiation Costs, 18 LAB.
       LAW. 27, 39–40 (2002). However, the U.S. Courts of Appeals for the Third and D.C.
       Circuits have called this position into doubt. Quick v. NLRB, 245 F.3d 231, 255 (3d Cir.
       2001); Unbelievable, Inc. v. NLRB, 118 F.3d 795, 805–06 (D.C. Cir. 1997).
         270. 314 U.S. 469 (1941).
         271. See generally id.
         272. Id. at 477.
         273. See Kate E. Andrias, A Robust Public Debate: Realizing Free Speech in Workplace
       Representation Elections, 112 YALE L.J. 2415, 2459–60 (2003) (arguing that the NLRB
       should be required to regulate employer speech to facilitate employees’ exercises of their
       associational rights).
         274. Likewise, the result in Building Service Employees International Union, Local 262 v.
       Gazzam, 339 U.S. 532 (1950), was correct from the perspective of promoting legitimate civil
       society. In that case, the Court upheld an injunction against a union that sought to coerce an
       employer to coerce his employees to join the union. Id. at 540–41. A labor union that is
       formed through coercion not only infringes the employees’ associational rights, but it is
       unlikely to encourage further participation in union affairs. Since the benefits to deliberative
       democracy come mainly from members’ robust participation in an association’s affairs, few
       are likely to accrue in this situation.




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          Likewise, from a deliberative democracy perspective, the Court’s holding
       in Bill Johnson’s Restaurants, 275 the predecessor case to BE & K, 276 was
       correct. In Bill Johnson’s Restaurants, the employer filed a state-court
       lawsuit, seemingly to retaliate against employees who had filed unfair labor
       practice charges with the NLRB and engaged in picketing and leafletting.277
       The state-court suit claimed damages for mass picketing, harassment,
       blocking the entrance to the restaurant, creating a threat to public safety,
       and libel. 278 In response, the NLRB issued a new complaint against the
       employer, charging that the lawsuit was filed in retaliation for the
       employees’ exercise of their rights under the NLRA. 279 Weighing the
       employees’ labor rights against the employer’s First Amendment right to
       petition, the Court held that the NLRB could enjoin ongoing lawsuits only
       when “the plaintiff’s position is plainly foreclosed as a matter of law or is
       otherwise frivolous,” but that “the Board should allow such issues to be
       decided by the state tribunals if there is any realistic chance that the
       plaintiff’s legal theory might be adopted.” 280 However, once the suit had
       concluded, if the employer loses or withdraws its state-court suit, then “the
       employer has had its day in court, the interest of the State in providing a
       forum for its citizens has been vindicated, and the Board may then proceed
       to adjudicate the . . . unfair labor practice case.”281
          The rule articulated in Bill Johnson’s Restaurants served to promote
       deliberative democracy because retaliatory lawsuits have great potential to
       disempower workers. For an employee who has exercised her associational
       rights to change her working conditions—only to be forced to spend many
       months or years defending a lawsuit—the clear message will be that the
       exercise of her rights was not worth it. Further, even where lawsuits are not
       enjoined, the possibility of a subsequent NLRB proceeding—particularly
       one that has the potential to recoup attorneys’ fees—can have restorative
       justice value.
          If the NLRB’s mission was to impose rules and procedures that would
       protect employees’ capacity to form unions, which would in turn contribute
       to an effective civil society, one could sensibly object that it has largely
       failed.282 The law governing union organizing and recognition is a


          275. See supra notes 165–67.
          276. See supra notes 168–76 and accompanying text.
          277. Bill Johnson’s Rests., Inc. v. NLRB, 461 U.S. 731, 734 (1983).
          278. Id.
          279. Id. at 735–36.
          280. Id. at 747.
          281. Id. In BE & K, the Court stated that this language was dicta, and rejected it. BE & K
       Constr. Co. v. NLRB, 536 U.S. 516, 527–28 (2002).
          282. Notably, one of the reasons that unions give for running comprehensive campaigns
       is that the NLRB process has failed to protect workers and create conditions under which
       workers can form a union free of intimidation and mistreatment. One study suggested that
       “almost one-in-five union organizers or activists can expect to be fired as a result of their
       activities in a union election campaign.” JOHN SCHMITT & BEN ZIPPERER, CTR. FOR ECON. &
       POLICY RESEARCH, DROPPING THE AX: ILLEGAL FIRINGS DURING UNION ELECTION
       CAMPAIGNS          1      (2007),      available      at    http://www.cepr.net/documents/
       publications/unions_2007_01.pdf.




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       hodgepodge of unclear and shifting restrictions, and enforcement is hardly
       swift. In addition, the NLRB has proven to be subject to instability tied to
       its regular political “capture” by the executive branch, alternating between
       periods of being sympathetic to labor and periods of being sympathetic to
       employers. 283 These rules have hardly contributed to a robust union
       movement.
          However, the courts are unlikely to do any better, particularly in light of
       the Lochnerism that still pervades labor law. 284 Further, because courts are
       limited to the controversy before them, they would be left to overturn one
       aspect of labor law here, and another there, resulting in a see-saw effect in
       the balance of power between unions and employers. 285 Mark Tushnet
       argues that “the idea that legal doctrine could stably distinguish among
       internal activities that reduce civil society’s effectiveness and those that
       promote it seem strained. . . . [C]ivil society’s institutions are likely to be
       more dependent on legislative grace than protected by constitutional
       law.” 286 Thus, where the legislative or executive branch attempts to create
       conditions that will promote civil society, 287 it makes sense for courts to
       defer to those judgments.

                         B. Civil RICO and First Amendment Balancing
         In contrast to NLRB proceedings, civil RICO lawsuits can result in
       judgments awarding treble damages and attorneys’ fees (and the attorneys’
       fees are likely to be much higher than those in an NLRB enforcement
       proceeding, given the costs associated with formal discovery, summary


         283. See, e.g., James M. Owens et al., “Now You Have It, Now You Don’t”: The NLRB’s
       Fickle Affair with the Weingarten Right and the Need for Congress To End the Controversy,
       11 J. INDIVIDUAL EMP. RTS. 155, 156 (2004) (noting the “flip-flopping of the NLRB’s
       decisions regarding the applicability of the Weingarten right to the nonunion workplace”);
       Steven Porzio, NLRB Chairman Addresses Labor Law Reform at American Bar Association
       Meeting,     UNIONS       AND      LAB.     L.    REFORM         BLOG      (Nov.     11,    2009),
       http://www.efcablog.com/2009/11/articles/craig-becker-nlrb/nlrb-chairman-addresses-labor-
       law-reform-at-american-bar-association-meeting/ (noting that NLRB “Chairman Liebman
       argued that Congressional inaction has fostered ‘deep divisions’ and ‘controversy’ in labor
       law and has ‘facilitated’ the NLRB’s ‘flip-flopping’ and ‘policy oscillation.’”).
         284. Pope, supra note 93, at 1076 (arguing that the “black hole” of labor law “is traceable
       to the commodity theory of labor dominant during the Lochner era”).
         285. See, e.g., NLRB v. Retail Store Emps. Union, Local 1001, 447 U.S. 607, 617–18
       (1980) (Blackmun, J., concurring) (agreeing to uphold NLRB’s finding that a union engaged
       in an illegal secondary boycott “only because I am reluctant to hold unconstitutional
       Congress’ striking of the delicate balance between union freedom of expression and the
       ability of neutral employers, employees, and consumers to remain free from coerced
       participation in industrial strife”). Alternatively, if it is correct that “judges don’t like labor
       unions,” a steady erosion of labor rights could occur. See generally George Schatzki, It’s
       Simple: Judges Don’t Like Labor Unions, 30 CONN. L. REV. 1365 (1998).
         286. Tushnet, supra note 196, at 397.
         287. The NLRA itself discusses the importance of labor unions to achieving industrial
       peace and a just society. See 29 U.S.C. § 151 (2006) (“The inequality of bargaining power
       between employees who do not possess full freedom of association of actual liberty of
       contract, and employers who are organized in the corporate or other forms of ownership
       association substantially burdens and affects the flow of commerce . . . .”).




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       judgment briefing, and the like). 288 For example, the Smithfield plaintiffs
       sought $5,900,000 in “compensatory and consequential” damages alone,
       and then asked that the amount be trebled and added to their (undoubtedly
       substantial) attorneys’ fees.289 That is to say, even before attorneys’ fees,
       Smithfield was seeking over ten percent of UFCW’s 2008 net assets.290 Of
       course, the UFCW also generated its own attorneys’ fees during the course
       of the lawsuit, which likely ran to many millions of dollars. 291 Therefore,
       even if civil RICO lawsuits based solely on expressive activity are usually
       unsuccessful, the threat of such a suit, by itself, has great potential to chill
       comprehensive campaign speech. If unions waging comprehensive
       campaigns are regularly targeted with “bet the union” lawsuits, few unions
       will choose to—or be able to afford to—engage in them. 292
          Further, civil RICO lawsuits are poor vehicles for advancing First
       Amendment interests of any color, except insofar as lawsuits themselves
       advance the First Amendment interests that the Court identified in BE & K:
       airing “genuine grievances” and related information, particularly where the
       subject of the lawsuit is a matter of public concern; “promot[ing] the
       evolution of the law”; and legitimating the court system as the acceptable
       way to resolve disputes in this country. 293 If civil RICO cases based solely
       or primarily on expressive activity are unlikely to be successful, employers
       will file fewer of them; however, that employers will be less likely to air
       their grievances through civil lawsuits cannot alone outweigh the First
       Amendment value of protecting the speech involved in comprehensive
       campaigns.
          If I am correct that my First Amendment analysis does not necessarily
       affect the NLRB’s authority to restrict union and employer speech, then the

         288. 18 U.S.C. § 1964(c) (2006) (civil remedies include treble damages and attorneys’
       fees).
         289. First Amended Complaint, supra note 8, ¶¶ 1–4, at 91–92.
         290. FORM LM-2 LABOR ORGANIZATION ANNUAL REPORT: UNITED FOOD & COMMERCIAL
       WORKERS (Mar. 26, 2009), available at http://erds.dol-esa.gov/query/getOrgQry.do (search
       for file number 000-056; then follow “Food & Commercial Wkrs National Headquarters”
       hyperlink; then follow “2008 Report” hyperlink) (listing net assets of $159,521,604).
         291. According to the UFCW’s LM-2s, the union paid Bredhoff & Kaiser PLLC, the firm
       that represented UFCW and the individual defendants in Smithfield, $5,579,684 in 2008, the
       year in which the Smithfield lawsuit was filed. Id. In the two previous years, UFCW paid
       Bredhoff only $99,500 and $23,722, respectively. See FORM LM-2 LABOR ORGANIZATION
       ANNUAL REPORT: UNITED FOOD & COMMERCIAL WORKERS (Mar. 28, 2008), available at
       http://erds.dol-esa.gov/query/getOrgQry.do (search for file number 000-056; then follow
       “Food & Commercial Wkrs National Headquarters” hyperlink; then follow “2007 Report”
       hyperlink); FORM LM-2 LABOR ORGANIZATION ANNUAL REPORT: UNITED FOOD &
       COMMERCIAL         WORKERS        (Mar.     22,    2007),   available    at   http://erds.dol-
       esa.gov/query/getOrgQry.do (search for file number 000-056; then follow “Food &
       Commercial Wkrs National Headquarters” hyperlink; then follow “2006 Report” hyperlink).
       These numbers only include fees attributed to “representational activities.”
         292. See, e.g., N.Y. Times Co. v. Sullivan, 376 U.S. 254, 277–78 (1964) (discussing the
       potential for a lawsuit to chill protected speech); Eugene Volokh, Crime-Facilitating Speech,
       57 STAN. L. REV. 1095, 1192 (2005) (noting that “[s]peakers who are genuinely not
       intending to facilitate crime might nonetheless be deterred by the reasonable fear that a jury
       will find the contrary”).
         293. BE & K Constr. Co. v. NLRB, 536 U.S. 516, 532 (2002).




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       potential for civil RICO suits to deter “illegitimate” union activity that
       might undermine deliberation—activity that, for example, coerces workers
       into signing a union authorization card against their will294—will be further
       diminished. First, the NLRB will be able to police the same activity, and,
       as a neutral third party, it will be less likely than an employer to attempt to
       suppress legitimate union speech. Second, the NLRB will be able to
       evaluate the entire context of the labor dispute, whereas a court adjudicating
       a civil RICO lawsuit will have, at best, a limited ability to take into account
       background like prior unfair labor practices committed by the employer. 295
          Nonetheless, it may yet be the case that some labor speech has so little
       value that it would not offend the First Amendment for the speech to form
       the basis for civil RICO liability (assuming, of course, that the speech met
       civil RICO’s statutory requirements). Speech could be low-value either
       because it is false or because it is intended to compel illegal employer
       behavior. I will discuss the First Amendment protection that should apply
       to speech falling into these categories in turn.
                                           1. False Speech
          I have argued that comprehensive campaign speech should receive the
       same First Amendment protection as civil rights speech.296 That includes
       the “breathing space” created in New York Times Co. v. Sullivan, 297 which
       held that untrue statements should not form the basis for liability unless
       they are motivated by “actual malice.” 298 The Sullivan standard is
       necessary to prevent union speech from being chilled for two reasons.
       First, unions will rarely, if ever, be able to determine to a certainty that all
       the information they receive about a company’s employment practices is
       true. Second, speech about employers’ treatment of workers and the
       potential to unionize a workplace should be regarded as speech on a matter
       of public concern under Sullivan, for all the reasons described above. 299


          294. By this, I do not mean union speech that educates workers about the value of unions,
       which will often contribute to workers’ abilities to exercise their associational rights by
       counterbalancing employers’ one-sided, anti-union statements. Rather, I refer to overtly
       coercive or threatening speech, such as “sign this card or else.”
          295. See San Diego Bldg. Trades Council, Local 2020 v. Garmon, 359 U.S. 236, 244–45
       (1959) (holding that NLRB has sole jurisdiction over activity that constitutes unfair labor
       practices, even if the NLRB declines jurisdiction over that activity).
          296. See supra Part III.
          297. 376 U.S. at 285–87 (holding that the New York Times was not liable for defamation
       when it published an NAACP-sponsored advertisement because it neither knew nor
       recklessly disregarded whether the published advertisement was false). Applying this
       standard to labor speech in non-NLRB proceedings will also have the advantage of
       extending the same standard to union speech in all contexts, as the Sullivan standard already
       applies under the NLRA, though as a matter of statutory interpretation rather than the First
       Amendment. See Linn v. United Plant Guard Workers of Am., Local 114, 383 U.S. 53, 65
       (1966).
          298. Sullivan, 376 U.S. at 279–80.
          299. Dun & Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749, 761 (1985)
       (declining to apply Sullivan standard to speech on matters of private concern, holding that
       “[i]n light of the reduced constitutional value of speech involving no matters of public




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          Further, because labor unions (like other organizations) typically cannot
       maintain close control of unaffiliated protestors, liability should be limited
       to statements that were actually made, authorized, or ratified by the
       union. 300 This would leave, as potential bases for liability, “actually
       malicious” statements made by the union (such as statements made on
       “official” posters and flyers, and oral statements made by members of the
       union leadership) or endorsed by the union, including, for example,
       statements contained in reports or documents drafted by a union but given
       to another entity for distribution.
              2. Comprehensive Campaign Speech in Pursuit of an Illegal Goal
          If a comprehensive campaign aims to compel illegal behavior through
       false, actually malicious speech, the First Amendment provides no barrier
       to the application of civil RICO (assuming its other requirements are
       satisfied). When a comprehensive campaign employs speech that is either
       true or at least not recklessly false, however, the question is more
       complicated.
          With some exceptions, the First Amendment usually does not inquire into
       the speaker’s motives to assess the appropriate level of protection to assign
       speech. 301 Truthful speech has First Amendment value, even when it is
       motivated by an illegal goal. For example, the speech still has potential to
       educate listeners about issues of public concern (and therefore at least some
       listeners have an independent First Amendment interest in hearing the
       speech), regardless of the speakers’ motives. 302 In any event, given that
       comprehensive campaigns often involve a coordinated effort by individuals
       and groups who may have different motivations (but who may receive
       information on which they base their speech from a labor union), it will be
       difficult, if not impossible, to attribute a single motive to all the expressive
       activity involved in a comprehensive campaign. 303

       concern, we hold that the state interest adequately supports awards of presumed and punitive
       damages—even absent a showing of ‘actual malice’”).
         300. This standard would be consistent with the Norris-LaGuardia Act, which provides
       that
             [n]o officer or member of any association or organization, and no association or
             organization participating or interested in a labor dispute, shall be held responsible
             or liable in any court of the United States for the unlawful acts of individual
             officers, members, or agents, except upon clear proof of actual participation in, or
             actual authorization of, such acts, or of ratification of such acts after actual
             knowledge thereof.
       29 U.S.C. § 106 (2006).
         301. Volokh, supra note 292, at 1192 (listing instances in which the Court has rejected
       First Amendment tests that turn on the motives of the speaker).
         302. Va. State Bd. of Pharmacy v. Va. Citizens Consumer Council, Inc., 425 U.S. 748,
       756–57 & n.15 (1976) (holding that speech about drug prices had First Amendment value, in
       part because of listeners’ First Amendment rights to receive the information).
         303. This issue also arises in the context of assessing damages. If a court eventually finds
       a civil RICO violation, it would then have to separate damages attributable to the illegal
       speech from damages attributable to protected speech. If a court applied Claiborne
       Hardware to social movements other than labor unions, this inquiry could be extremely
       difficult.




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          On the other hand, Giboney suggests that the First Amendment does not
       protect expression aimed at compelling illegal activity, at least where labor
       picketing is concerned. 304 But Giboney is not the end of the story.
       Subsequent First Amendment cases, including Brandenburg, impose an
       “imminence” requirement before “inciting” speech loses First Amendment
       protection and call into question Giboney’s breadth. 305 Moreover, it is
       possible to read Giboney narrowly, in a way that is largely consistent with
       these later Supreme Court cases (including Claiborne Hardware). Finally,
       Giboney relied on a “signal picketing” analysis 306—i.e., union members
       would see a picket line and unthinkingly obey it—that does not necessarily
       apply to comprehensive campaign speech.
          In Giboney, the Court upheld a restraint on secondary picketing that
       sought to compel the target company to violate state antitrust law—and
       caused an immediate eighty-five percent drop in the target company’s
       sales—even though the picketing consisted of truthful speech.307 Despite
       the Court’s later broad statements about Giboney’s holding, 308 the narrow
       factual situation presented in Giboney is consistent with Brandenburg’s
       imminence requirement: 309 Giboney stressed the “clear danger, imminent
       and immediate” that the union would succeed in its goal.310 Thus, in light
       of Brandenburg’s “imminence” standard, Giboney should be read narrowly
       (and later, more expansive glosses on Giboney by the Supreme Court
       should be rejected), so that the only non-malicious speech that would lose
       its First Amendment protection is speech that both poses a serious,
       immediate threat to a company’s survival and seeks to compel the employer
       to act illegally.
          Under this standard, comprehensive campaign speech is unlikely to lose
       First Amendment protection. Contrary to the picketing in Giboney,
       comprehensive campaigns have—at least so far—failed to inspire an instant
       response, at least among a large percentage of the target employers’
       customers and suppliers. Therefore, in most cases, comprehensive
       campaigns will not put employers in the same untenable position as the
       target company in Giboney: they will not be forced to choose between




         304. Giboney v. Empire Storage & Ice Co., 336 U.S. 490, 498 (1949); see also Bldg.
       Serv. Emps. Int’l Union, Local 262 v. Gazzam, 339 U.S. 532, 533, 541 (1950) (upholding
       injunction forbidding union from attempting to compel employer to coerce his employees).
         305. See supra notes 127–30 and accompanying text.
         306. See supra notes 110–12 and accompanying text.
         307. Giboney, 336 U.S. at 492–95 (describing picketing that informed the public that
       Empire sold ice to nonunion peddlers).
         308. See Cox v. Louisiana, 379 U.S. 559, 563–64 (1965) (stating that Giboney applied the
       general principle that “[a] man may be punished for encouraging the commission of a crime”
       in the context of a labor dispute).
         309. Commentators have stressed the importance of the imminence requirement in
       protecting speech, given that intent and likelihood of success are somewhat subjective. See
       Volokh, supra note 292, at 1193 (stating that “the main barrier to liability under the
       Brandenburg test has generally been the imminence prong”).
         310. Giboney, 336 U.S. at 503.




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       acquiescing in illegal behavior and imminent shutdown. 311 It is nonetheless
       conceivable that, after a comprehensive campaign has been underway for
       some time, its economic impact will begin to take a toll on an employer
       such that the employer’s acquiescence in an illegal demand becomes
       imminent. Still, given the availability of NLRB procedures to enjoin illegal
       union activity at an earlier stage, this scenario seems unlikely. 312

                                             CONCLUSION
          Civil RICO lawsuits that seek to impose liability for labor unions’
       comprehensive campaign activity expose numerous discrepancies between
       the Court’s First Amendment treatment of labor unions and other seemingly
       similar speakers. It is doubtful that the Court’s distinction between
       “economic” speech and “political” speech was ever workable, given the
       extent to which the two are intertwined in most people’s daily lives. It
       certainly is not workable today, when labor unions and their members are
       intensely involved in political advocacy over issues that will have great
       impact on all workers and employers. Even if labor unions at one time
       could command large swaths of the public to respect picket lines and other
       union directives, those days are past. Thus, it is time for the Court to
       update its labor speech doctrine. The Court should take seriously labor
       unions’ positive effects on deliberative democracy and afford them the
       same level of First Amendment protection that it has provided to the civil
       rights movement.




          311. One reason that comprehensive campaigns do not pose the same threat as the
       conduct in Giboney is that, in Giboney, the union could enforce its call for a secondary
       boycott by subjecting union truck drivers to “fine or suspension” for crossing the picket line
       to deliver the company’s product. Id. at 493. By contrast, comprehensive campaigns appeal
       to the public at large, over which unions have little influence beyond their powers of
       persuasion.
          312. A further desirable aspect of a labor law regime in which NLRB proceedings, but
       not civil lawsuits, are available to employers being targeted by union comprehensive
       campaigns is that, absent the additional incentive of forcing unions to incur significant
       attorneys’ fees and the settlement value of a civil suit, employers will be less likely to
       attempt to interfere with union speech that poses little threat to the employers’ interests.




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                         EXHIBIT
                           C
Charlotte Garden, “Union Made: Labor’s Litigation for Social Change”,
     Tulane Law Review Vol. 88 (2), 193-256 (2013), available at
          http://digitalcommons.law.seattleu.edu/faculty/355




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Union Made: Labor’s Litigation for Social Change
Charlotte Garden




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                   LAW REVIEW
       VOL. 88                            DECEMBER 2013                                     No. 2


                             Union Made:
                 Labor's Litigation for Social Change
                                       Charlotte Garden*

              Unions am key repeat players befor the United States Supreme Court. Their
       involvement goes beyond what one might expect (labor)and extends to key cases involving
       fedetalism, discrimination,affimative action, the FistAmendmen4 and workplace health and
       safety amongothers Though scholarshave documented the effects ofother union activity like
       collective bargainng, on nonunion workers, the role and impact of union participation in
       nonlaborligation has largely been ignowd in both the public debate over unions in Amenca
       and in the academic literatureabout what unions do. This Article focuses on unions'Supreme
       Courtlitigation that arises outside ofthe context of traditionallaborlaw h order to show how
       union-made law affects interests beyond those of the labor movemen4 its members, and
       unionizedemployers. It reveals how union-made law has signdifcandyaffected the structum of
       American government andsociety
              Ths Article fist describes the many areasin which union Supreme Court litigationhas
       had important social effects extending far beyond core laborinterests and explains why as a
       practicalmatter unionsam well-situatedto bring or fund these cases. Next theArticle explores
       threcharacteisticsthathave the potential to shape unions'litigationpositions: Hfis4 unions are
       more likely than other socialmovement hgators to litigate defensively as well as offensively,
       second unions operate basedon majorityrule;and thb4 unions may use litigationas apartofa
       bargaiingstrategy The Aricle shows how these dynamics have played out in past cases,


             *      C 2013 Charlotte Garden. Assistant Professor, Seattle University School of Law.
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       Robert Chang, Brooke Coleman, Owen Davies, Michael Fischl, Steven H. Goldblatt, Nancy
       Leong, Marley Weiss, and the participants in the University of Iowa College of Law Faculty
       Speaker Series, the Democracy and the Workplace symposium held at UNLV School of Law,
       and the 2012 Law and Society annual conference. This Article was selected for inclusion in
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       Southeastern Association of Law Schools. I am particularly grateful for feedback from
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       Paige Hardy and Holly Scott provided invaluable research assistance. Finally, I thank the
       editors of the lhlaneLawReviewfor their careful work on this Article.
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          sometimes with surpnsig iusult. Finaly the Anicle concludes with some observations
          regardmgdecling union density m this country


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          I.    INTRODUCTION
               What do unions do? Most people would probably say that they
         represent workers' interests at the bargaining table and in grievance
         proceedings and that they participate in electoral politics. But this
         Article explores an additional way that unions create change within
         American society, through their litigation-particularly of cases that
         reach beyond traditional labor law-before the United States Supreme
         Court. Supreme Court litigation therefore provides a heretofore
         unexplored route for unions to be agents of social change.
              Unions litigate and facilitate others' Supreme Court litigation in a
         number of ways. Most obviously, and most like their employer
         counterparts, unions litigate over naturally arising disputes with others.
         However, at other times, unions litigate more like social movement
         groups, shaping impact cases designed to achieve change through the
         courts, or they provide counsel for employees seeking to vindicate
         workplace rights.       Additionally, labor unions and federations
         collectively have a thriving amicus practice. Through these various




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       channels, unions have litigated key cases in the areas of federalism,
       discrimination, affirmative action, and the First Amendment, among
       others.
             This Article begins by describing key areas in which unions'
       Supreme Court litigation has had important social effects extending far
       beyond core labor interests and explains why, as a practical matter,
       unions are well situated to bring or fund these cases. Next, the Article
       explores three characteristics that can shape unions' litigation
       positions: first, unions are more likely than other social movement
       litigators to litigate defensively as well as offensively, meaning that
       they cannot always choose their litigation vehicles; second, unions
       operate based on majority rule, and the interests of different groups of
       members may be in opposition in particular cases; and third, unions
       may use litigation to facilitate success at the bargaining table.
       Ultimately, the Article concludes that the importance of unions'
       nonlabor litigation has been underestimated and that while unions do
       not litigate precisely like other left-leaning social movement groups,
       these groups should generally welcome unions' intercessions in the
       Supreme Court. Finally, the Article proposes that unions' Supreme
       Court litigation is most likely to succeed as a social change strategy
       where it occurs in coalition with other groups and recommends that
       unions should better communicate with their members about the scope
       and content of their litigation efforts, particularly before the Supreme
       Court.

       II.   UNIONS AND THE SUPREME COURT
                         Justifiedornot, the Supreme Courthas a
                          kid ofsacredstatusin American life.
             This Part begins with a brief discussion of the evolution of
       unions' participation in Supreme Court litigation. The purpose is
       twofold: first, to discuss several foundational Supreme Court cases in
       which labor played a key role, and second, to describe how courts' and
       legislatures' views of labor's Supreme Court work has changed over
       time. Specifically, it shows that whereas the historical record reveals
       some early hostility toward union-sponsored litigation, modem
       doctrine permits unions to take a variety of different roles in litigation.
       Following this discussion, I create a taxonomy of subject areas that

            1.   Jon Meacham, Why Obama Shouldn'tDeclar War on the Supreme Court TIME
       (Apr. 2, 2012), http://ideas.time.com/2012/04/02/why-obama-shouldnt-declare-war-on-the-
       supreme-court/.




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         have prompted union Supreme Court litigation. This discussion both
         illuminates the scope of unions' influence through litigation and
         provides necessary background for Part I, where I describe three
         dynamics that can inform the positions that unions take before the
         Supreme Court.
               Before beginning this discussion, though, it is worthwhile to
         address two preliminary questions. First, why focus on the Supreme
         Court, when so few cases end up there?2 And second, why focus on
         non-labor law cases? The answers to both questions can be found in
         this Article's objective, which is to analyze an important way in which
         unions influence the lives of nonmembers-which is to say, the vast
         majority of Americans.! In addition, unions' Supreme Court work
         offers a high-profile window into how unions view specific challenges
         facing workers.
                Accordingly, I focus on Supreme Court litigation in part because
         of its precedential value, but also because of the money and expertise
         required of those who appear regularly in the Supreme Court.
         Professor Richard Lazarus has observed that Supreme Court work is
         increasingly done by a small group of elite lawyers.4 Their expertise
         gives them a leg up in obtaining the best possible outcomes for their
         clients at both the certiorari and merits stages.! However, the vast
         majority of these attorneys work primarily for for-profit clients;' only a
         relatively small number of nonprofits can afford for lawyers to devote
         the large amount of time necessary to become expert Supreme Court
         litigators.' And, while some private lawyers also perform pro bono
         work, they do not take on pro bono clients whose interests might
         conflict with those of the lawyers' paying clients. Thus, Lazarus
         observed, "[A]lmost all of the [specialty Supreme Court] practices


               2.   See, e.g., 2011 Term Opinions of the Court SUPREME COURT OF THE U.S.,
         http://www.supremecourt.gov/opinions/slipopinions.aspx?Term-11 (last visited Oct. 27,
         2013) (listing opinions for all seventy-eight cases heard during the October 2011 Term).
               3.     Press Release, Bureau of Labor Statistics, Union Members-2011,U.S. DEP'T OF
         LABOR I (Jan. 27, 2012), http://www.bls.gov/news.release/archives/union2 01272012.pdf
         ("In 2011, the union membership rate-the percent of wage and salary workers who were
         members of a union-was 11.8 percent, essentially unchanged from 11.9 percent in 2010.").
               4.     See Richard J. Lazarus, Advocacy MattersBefore and Within the Supreme Court:
          Thmnsformnag the Courtby Tansformingthe Bar,96 GEO. L.J. 1487 (2008).
               5.     Id. at 1515, 1540; Richard J. Lazarus, Docket Captur at the IIgh Cour 119
         YALE L.J. ONLNE 89, 90-91 (2009) (showing an increasing percentage of successful petitions
         for certiorari filed by "expert Supreme Court advocates").
               6.     Lazarus, supranote 4, at 1556-58.
               7.     Id. at 1501 (noting that most nonprofit organizations lack in-house Supreme
         Court expertise, with a few exceptions, such as Public Citizen and the ACLU).




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       refuse to provide ... help to plaintiffs involved in employment
      discrimination, tort, and environmental pollution control cases."
            Against this backdrop, the labor movement is exceptional in its
      capacity to advocate before the Supreme Court in a broad range of
      issue areas, including those eschewed (at least on the plaintiff side) by
      other Supreme Court experts. A number of labor lawyers have
      substantial Supreme Court experience.!         In particular, Laurence
      Gold-former general counsel of the American Federation of Labor
      and Congress of Industrial Organizations (AFL-CIO) and current of-
      counsel at the union-side labor firm Bredhoff & Kaiser, PLLC-
      stands out.'o He is among the twenty lawyers who have argued the
      most Supreme Court cases during the twentieth century," and he has
      developed an enviable reputation as an expert Supreme Court litigator;
      in the words of one Supreme Court justice: "Whenever I get a brief
      signed by Larry Gold, I read it-even if it is an amicus brief-with
      particular care."" Thus, as compared to other social movement groups,
      labor unions have uncommon institutional capacity to litigate before
      the Supreme Court." And this capacity is often deployed in
      employment and even environmental cases, precisely the areas where
      private Supreme Court practitioners are unlikely to provide pro bono
      assistance and other nonprofits' resources may be stretched thin.
            This Article focuses on cases that arise outside of labor law
      because those are the cases that have the most readily apparent effects
      on the lives of nonunion members. This is not to say that labor law
      does not affect nonunion members-assuredly, it does. For example,

            8.   Id.at 1560.
           9.    For example, before her appointment to the United States Court of Appeals for
      the Ninth Circuit, Marsha Berzon argued at least five cases before the Supreme Court.
      Michael Gottesman, now a professor at Georgetown University Law Center, argued seventeen
      cases. OYEz, http://www.oyez.org (last visited Oct. 27, 2013) (search for Berzon and
      Gottesman to view a list of cases each argued).
           10.   Laurence    Gold    BREDHOFF     &    KAISER,   P.L.L.C.,   http://www.bredhoff.
      comf/index.php/attorneys/Of-CounselLaurence-Gold (last visited Oct. 27, 2013). I was an
      associate at Bredhoff & Kaiser from 2005 to 2008.
           11.    Lazarus, supra note 4, at 1492-93 & n.29.
           12. Conference, Rex E Lee Conference on the Office of the Solicitor General ofthe
      UnitedStates, 2003 BYU L. REv 1, 85 (quoting Charles Fried in a panel discussion).
           13. This is not to say that unions are the only nonprofits with significant Supreme
      Court practices. Groups like the NAACP LDF and the ACLU have significant Supreme
      Court practices. In addition, the United States Chamber of Commerce also participates in
      Supreme Court litigation on a regular basis and on a wide range of cases. See Nat'l Chamber
      Litig. Ctr., About U.S. CHAMBER OF COMMERCE, http://www.chamberlitigation.coml/about
      (last visited Oct. 27, 2013); Jeffrey Rosen, Supreme Court Inc., N.Y TIMES MAG. (Mar. 16,
      2008),         http://www.nytimes.com/2008/03/16/magazine/1 6supreme-t.html?pagewanted=
      all&_r-0.




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          some employees who are covered by a union contract are not union
          members, 4 and labor law protects concerted activities undertaken by
          nonunion workers." However, the observation that labor unions
          litigate cases about labor law is hardly a surprising one. In contrast,
          unions' nonlabor litigation both reveals key labor movement priorities
          and has more potential to influence society as a whole. Yet it has been
          largely ignored."
                In sum, unions' nonlabor Supreme Court litigation represents a
          major investment of union resources in cases with effects that reach far
          beyond unions, union members, and unionized workplaces. In the
          next Subpart, this Article recounts a brief history of union Supreme
          Court litigation, emphasizing the evolving role of unions in litigation
          and providing several early examples of seminal cases litigated by the
          labor movement and its adherents.

          A.     Unions 'Pathsto the Supreme Court
                     "Formy fiends, anything-formy enemies, the law' 7
               Labor unions' decades-long history of Supreme Court litigation
          predates the advent of federal labor statutes like the National Labor
          Relations Act (NLRA). However, early appearances before the
          Supreme Court rarely provided unions with cause for celebration.
          Employers and government lawyers successfully argued that labor
          union activism was illegal under a range of antitrust and criminal law

                14. Workers who are covered by a union contract cannot be required to join a union
          or pay the full amount of union dues; rather, they can at most be required to pay the "agency
          fee," which represents the costs of bargaining, grievance administration, and a few other
          union activities. In "right to work" states, workers covered by union contracts need not pay
          even the agency fee, though they are still covered by the union contract. See Charlotte
          Garden, Citizens, Unitedand Citizens United: The Futue ofLabor Speech Rights?, 53 WM.
          & MARY L. REv. 1,34,36-37 (2011).
                15.   See, e.g., NLRB v. Wash. Aluminum Co., 370 U.S. 9 (1962).
                16. There are a few exceptions. Eg., Jaime Eagan, Making an Inpact: The Labor
          Movementh Use ofLitgation To Achieve Social and Economic Justice, SSRN 21 (June 18,
          2011), http://papers.ssm.com/sol3/papers.cfin?abstractid=1866844 ("Few sources ...
          mention labor's involvement in social justice impact litigation."). Scholars have done
          empirical studies of the frequency with which unions, among other groups, file Supreme
          Court amicus briefs. E.g., Paul M. Collins, Jr. & Lisa A. Solowiej, Interest Group
          Participation,Competition,and Conflict in the US. Supirme Court 32 LAw & Soc. INQUIRY
          955 (2007); Joseph D. Kearney & Thomas W Merrill, The Influence ofAmicus CuiaeBiefs
          on the Supreme Cout, 148 U. PA. L. REv. 743, 752 (2000). However, those studies do not
          discuss the types of cases in which unions file amicus briefs or the substance of the briefs
          themselves.
                17. This phrase has been attributed to former Brazilian President Getilio Vargas.
          Robert Plummer, Ruses That Spring fm Bmzil Woes, BBC NEwS (Dec. 14, 2005),
          http://news.bbc.co.uk/2/hilbusiness/4468042.stm.




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       theories.'" On several occasions, these disputes reached the Supreme
       Court. For example, in Loewe v Lawlor, the well-known Danbury
       Hatterscase, the Court held that the Sherman Antitrust Act prohibited
       a union secondary boycott, subjecting individual strikers (who were
       named defendants) to treble damages.'9 A series of other cases
       reinforced this conclusion, even after Congress exempted core union
       activity from antitrust liability in the Clayton Act.20 At the same time,
       the Lochner-era" Court repeatedly applied the Due Process Clause of
       the Fourteenth Amendment to strike down state statutes aimed at
       protecting labor activity."
             During the same period, labor activists litigated important First
       Amendment cases, including Abnwas v United States, Debs v United
       States, and Whitney v California" Each of these cases began with the
       defendant's criminal conviction for labor-related political activities:
       Abrams's circulation of flyers calling on the "Workers of the World" to
       unite against capitalism by going on a general strike;24 Debs's public
       speech extolling the virtues of socialism and denouncing war;25 and
       Whitney's participation in the Communist Labor Party, which had
       called for "the organization of the workers into 'revolutionary

             18. Charlotte Garden, Labor Values Are Fist Amendment Values: Why Union
       Comprehensive CampaignsAreProtectedSpeech, 79 FORDHAM L. REv. 2617, 2624 (2011).
             19. 208 U.S. 274, 283-85, 292, 309 (1908), superseded by statute, Clayton Antitrust
       Act, Pub. L. No. 63-212, 38 Stat. 730 (1914).
            20. E.g., Am. Steel Foundries v. Tri-City Cent. Trades Council, 257 U.S. 184 (1921)
       (holding that the Clayton Act did not eliminate union antitrust liability for certain collective
       action, including secondary strikes); Duplex Printing Press Co. v. Deering, 254 U.S. 443
       (1921) (same), superseded by statute, Norris-LaGuardia Act, Pub. L. No. 72-65, 47 Stat. 70
       (1932). These cases significantly limited workers' collective action until Congress passed the
       Norris-LaGuardia Act, which eliminated federal courts' jurisdiction to enjoin labor disputes.
       29 U.S.C. § 101 (2006); United States v. Hutcheson, 312 U.S. 219, 231-33 (1941)
       (concluding that the Norris-LaGuardia Act also eliminated damages liability for picketing
       and striking).
            21.     Lochner v.New York, 198 U.S. 45 (1905), overruled by Day-Brite Lighting, Inc.
       v.Missouri, 342 U.S. 421 (1952), andFerguson v. Skrupa, 372 U.S. 726 (1963).
            22. See, e.g., Truax v. Corrigan, 257 U.S. 312 (1921) (striking down a state law
       protecting picketing activity); Coppage v. Kansas, 236 U.S. 1 (1915) (striking down a state
       law prohibiting employers from requiring employees to sign "yellow dog contracts," in which
       the employee agreed to refrain from joining a union).
            23. Whitney v. California, 274 U.S. 357 (1927), overruled by Brandenburg v. Ohio,
       395 U.S. 444 (1969); Abrams v. United States, 250 U.S. 616 (1919); Debs v. United States,
       249 U.S. 211 (1919).
            24. Abmms, 250 U.S. at 620-21.
            25. Debs,249 U.S. at 213-15. Eugene Debs was a founding member of the Industrial
       Workers of the World and of the American Railway Union, which famously defied a court
       injunction to continue a strike against the Pullman Company. Ahmed A. White, The Crime of
       EconomicRadicalism: CrimnalSyndicahsm Laws andthe Industrial Workers ofthe World
       1917-1927, 85 OR. L. REv 649, 666-67 (2006).




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         industrial unions."' 26 The Supreme Court upheld all three convictions,
         but Abrams and Whitney also offered occasions for Justices Holmes
         and Brandeis to articulate-albeit in a dissent and concurrence 27-their
         "profoundly influential,"28 "seminal"" theories of the First
         Amendment, which continue to undergird our understanding of free
         speech today.
               The passage of the NLRA improved unions' fortunes before the
         Supreme Court and also led to one of the most influential federalism
         cases in Supreme Court history. ALRB v Jones & Laughhn Steel
         Corp. began with what would now be considered a run-of-the-mill
         unfair labor practice charge, in which a labor union alleged that the
         company had discriminated against union members." The company
         argued that Congress lacked the constitutional authority to regulate
         manufacturing and production, citing "[a]n unbroken line of decisions
         under the commerce clause."" In response, Justice Owen Roberts
         made his famous "switch in time," creating a five-vote majority in
         favor of expanded federal authority and setting the stage for the
         survival of other components of the New Deal.32
               Even after labor unions were legitimated by the NLRA, federal
         and state governments periodically manifested discomfort with the
         idea that labor unions might drive litigation. This discomfort
         manifested in reform of the Fair Labor Standards Act (FLSA). Unions
         had seized on the FLSA when it was enacted in 1938, filing "collective
         actions" against employers who were alleged to have violated wage-
         and-hour requirements." This practice drew congressional disapproval
         of suits filed by "outsiders" who were "desirous of stirring up litigation

               26.    fitney,274 U.S. at 364.
               27. Id. at 372 (Brandeis, J., concurring); Abrams, 250 U.S. at 624 (Holmes, J.,
         dissenting).
               28. Robert Post, Reconcilig Theory and Doctrine in Fist Amendment Jwispru-
         dence, 88 CALF. L. REv. 2353, 2356 (2000).
               29. Ronald K.L. Collins & David M. Skover, Curious Concurrnce: Justice
         Bmndeisk Vote in Whitney v. California, 2005 SuP. CT. REv. 333, 334.
               30. 301 U.S. 1, 22 (1937).
               31. Brief for Jones & Laughlin Steel Corp. at 27, 64, Jones & Laughlin, 301 U.S. 1
         (No. 419), 1937 WL 34884, at *27, *64; see also Jones& Laughlh, 301 U.S. at 25.
               32. Steven G. Calabresi & Nicholas Terrell, The Number of States and the
         Economics of American Federalism, 63 FLA. L. REv. 1, 20 (2011). Scholars debate the
         accuracy of the phrase "switch in time" as applied to the 1937 Court. Daniel E. Ho & Kevin
         M. Quinn, Dida Switch in Time Save Nine., 2 J. LEGAL ANALYSIs 69, 71 (2010). However,
         the resolution of that debate is not necessary here; it is sufficient that Jones & Laughlin is
         today regarded as a critical moment in Supreme Court history.
               33. Scott A. Moss & Nantiya Ruan, The Second-Class ClassAction: How Courts
         Thwart Wage Rights byMisapplyng ClassActionRules, 61 AM.UL.REv. 523, 533 (2012).




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       without being an employee at all."34 Accordingly, Congress amended
       the FLSA in 1947, prohibiting employees from allowing designated
       representatives to sue on their behalves, and instead requiring them to
       sue in their own names." This limit still applies today," although, as
       this Article discusses below, unions continue to educate workers about
       their FLSA rights and to fund FLSA cases, including some resulting in
       major federalism-related holdings."
             States, too, have at times sought to prevent unions from
       encouraging their members to pursue legal claims. Ironically, these
       statutes led to major union victories in court. The Supreme Court has
       on four occasions rejected state prohibitions on the provision of free
       legal advice or attorney referrals by associations; three of these cases
       involved unions. In BrotherhoodofRailroad Tramnen v Virgiia ex
       rel. Vriia State Bar, the Court overturned a state court's order
       enjoining the Brotherhood's legal referral plan, which was aimed at
       workers who had been injured on the job, and held that the
       Brotherhood had a First Amendment right to make legal referrals."
       Relying on NAACP v Button," decided the previous year, the Court
       described the legal referral system as integral to the practice of trade
       unionism: "The right of members to consult with each other in a
       fraternal organization necessarily includes the right to select a
       spokesman from their number who could be expected to give the
       wisest counsel.*"       Additionally, the Court observed that the
       Brotherhood's efforts were targeted in part at enforcing legislation for
       which the union had lobbied, including the Safety Appliance Act and
       the Federal Employers' Liability Act. As the Court put it, the statutes
       could not fulfill their intended purpose if injured trainmen lacked
       meaningful access to the courts.41



            34. Id.(quoting 93 CONG. REC. 2182 (1947)).
            35. Portal-to-Portal Act of 1947, Pub. L. No. 80-49,    § 2(e), 61 Stat. 84, 86 (codified
       as amended at 29 U.S.C. § 252(e) (2006)).
            36. Id
            37. See discussion infr Part I.I..
            38.   377 U.S. 1, 2, 5-6 (1964).
            39. 371 U.S. 415, 442 (1963) (holding that the First Amendment protected the
       NAACP's practice of holding meetings of parents and children to solicit potential plaintiffs
       for school desegregation cases and concluding that Virginia's interest in regulating the legal
       profession by prohibiting solicitation by lawyers had to give way to the NAACP's interest in
       employing "constitutionally privileged means of expression to secure constitutionally
       guaranteed civil rights").
            40. Bhd ofR.R. Tranmen,377 U.S. at 6.
            41.    Id.at 3.




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                Three years later, the Court addressed another union's legal
          assistance plan in United Mne Workers of America, District 12 v
          Illinois State Bar Assn.42 There, the United Mine Workers "had
          employed a licensed attorney on a salary basis to represent any of its
          members who wished his services to prosecute workmen's
          compensation claims before the Illinois Industrial Commission." As
          in BrotherhoodofRailroadTrainmen, the Court held that the program
          was protected by the First Amendment, noting that it had arisen out of
          the union's perception that the Illinois Workmen's Compensation
          Statute was at risk of failing to fulfill its promise due to lack of
          competent enforcement.' Finally, in United Transportation Union v
          State Bar ofMichigan, the Court again overturned state bar sanctions
          imposed on a union for referring its members to attorneys who agreed
          to a particular fee arrangement.45 The Court stressed that Button, Mine
           Workers, and Trainmen were to be read broadly to establish that
          "collective activity undertaken to obtain meaningful access to the
          courts is a fundamental right within the protection of the First
          Amendment," including actions designed to help members afford
          counsel."
                Thus, unions were instrumental in establishing that the First
          Amendment protects associations' rights both to make attorney
          referrals and to encourage members to enforce their rights through
          litigation, including by providing legal counsel. Importantly, many
          advocacy groups advancing a wide range of interests today rely on this
          principle in order to bring cases designed to spur social change.47
                In the union context, funding of members' litigation sometimes
          occurs on a case-by-case basis-for example, a union, believing that
          an employee has been fired, underpaid, or otherwise mistreated in
          contravention of federal law, may decide to fund that worker's suit
          against the employer.4 8 However, it can also occur in a more routinized

               42. 389 U.S. 217 (1967).
               43. Id. at 218.
               44. Id at 223-24.
               45. 401 U.S. 576, 584-86 (1971) ("[Tlhe Union sought to protect its members from
          excessive legal fees by securing an agreement from the counsel it recommends that the fee
          will not exceed 25% of the recovery, and that the percentage will include all expenses
          incidental to investigation and litigation.").
               46. Id. at 585.
               47. Eg, About theACLU,ACLU, http://www.aclu.org/about-aclu-0 (last visited Oct.
          27, 2013); Who WeAre, LDF, http://www.naacpldf.org/about-ldf (last visited Oct. 27, 2013).
               48. Eg., Catherine L. Fisk, Union Lawyers and Employment Law, 23 BERKELEY J.
          EMP. & LAB. L. 57, 59 (2002) ("Unions and their lawyers have represented store clerks
          seeking back wages for uncompensated overtime work; Thai garment workers who were held




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        fashion, as when a labor union provides access to attorneys as a benefit
        of union membership. For example, since 1978, the United Auto
        Workers' (UAW) collective bargaining agreement with auto
        manufacturers has provided active workers, retirees, and workers'
        spouses with access to free civil legal services in a range of subject
        areas (Plan).4 9 The Plan was sacrificed in the most recent round of
        bargaining between the UAW and the major auto companies-a loss
        that made the front page of the Detroit Free Pres?-andwill stop
        taking new cases at the end of 2013." However, for the last twenty-
        five years, the Plan, which bills itself as "the largest pre-paid legal
        services program in the country,'5 2 has assisted workers with divorces,
        personal bankruptcies, and other issues." And, of particular note for
        purposes of this Article, cases handled by Plan attorneys occasionally
        reach the United States Courts of Appeals and, on at least one
        occasion, even the Supreme Court: in Till v SCS Credit Corp.,
        attorneys from the UAW-DaimlerChrysler Legal Services Plan
        successfully represented two bankruptcy petitioners arguing that they
        should be entitled to pay a lower "formula rate" of interest on a loan

        in virtual slavery in an El Monte, California sweatshop; employees suffering unsafe working
        conditions at poultry processing plants; and janitors seeking minimum wages." (footnotes
        omitted)).
              49. See The Plan, UAW LSP http://www.uawlsp.com/theplan.asp (last visited Oct.
        27, 2013) (describing eligibility criteria for the Plan and listing subject areas in which Plan
        attorneys will provide assistance). Notably excluded from the Plan's coverage are lawsuits
        that name the beneficiary worker's employer or union as a defendant. The legal services
        provided under the Plan are "free" in the sense that members availing themselves of those
        services do not pay a per-service or hourly fee. However, the Plan is funded in part by union
        dues, which all members pay. The Plan's Web site asserts that these costs are low: "With
        efficient practices, the Plan has kept costs down, generally costing approximately $6 per
        month for each member[-]much less than the cost of just about any other type of benefit."
        Statement from the Dector,m Legal Services Plan OpeningNew CasesThrough the End of
        2013, UAW LSP, http://www.uawlsp.com/default.asp (last visited Oct. 27, 2013). Further, the
        Plan's Web site indicates that about 75% of eligible union members take advantage of the
        Plan at some point in their tenure.
              50. See Brent Snavely, GM-UAW Deal Would End Fve Divorces, Legal Help,
        DETROiT FREE PRESS, Sept. 24, 2011, at Al.
              51.    Legal Services Plan OpenigNew Cases Through the Endof2013, supra note 49
        ("Under the terms of the tentative 2011 contract between the UAW and GM, Ford and
        Chrysler, the Plan will continue to accept new cases on the same basis we have in the past,
        until December 31, 2013. We will handle all the cases that come in, and continue to handle
        the cases that have been opened by the end of 2013 until they are completed.").
              52. About Us, UAW LSP, http://www.uawlsp.com/about.asp (last visited Oct. 27,
        2013).
              53.    In 2008, the Plan's attorneys assisted over 9,000 workers with bankruptcy
        matters, nearly 7,000 workers with divorces, and nearly 3,000 workers with foreclosures.
        Brent Snavely, UAW Fights To Keep Free Legal Services, DETROIT FREE PRESS, Feb. 17,
        2009, at Al2.




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          secured by a $4000 truck, instead of the much higher rate sought by
          the creditor.54
                In addition, the Supreme Court has recently allowed unions and
          other groups a third, hybrid method of litigating in members' interests,
          termed "associational standing."' Associational standing permits
          groups to litigate on their members' behalves provided three conditions
          are met: (1) at least one member has been or will be injured, (2) that
          member could sue individually, and (3) "the nature of the claim and of
          the relief sought does not make the individual participation of each
          injured party indispensable to proper resolution of the cause."" This
          allows unions to enforce members' rights with relatively little
          participation by the members themselves, a dynamic that can
          "provide[] for greater and more effective access to the courts," but that
          also presents risks, including that there may be conflicting interests
          among the union's membership."
                Finally, labor unions and federations appear as amici in a wide
          range of cases, many of which concern subjects other than labor law.
          This long-standing practice began in earnest in 1948," when future
          Supreme Court Justice Arthur Goldberg was appointed general
          counsel of the CIO and "given a free hand to select labor cases to take
          to the Supreme Court and to file amicus briefs in cases already




               54. 541 U.S. 465 (2004).
               55. This principle was first established by the Supreme Court in a decision allowing
          the UAW to seek a declaratory judgment ensuring that members who had been laid off from
          work received full trade readjustment benefits. UAW v. Brock, 477 U.S. 274, 286-87 (1986).
          Then, in United Food & Commerial Workers Union Local 751 v Brown Group,Inc., the
          Supreme Court expanded Brock to permit a union to sue for damages under the Worker
          Adjustment and Retraining Notification (WARN) Act on behalf of its members. 517 U.S.
          544 (1996).
               56. Warth v. Seldin, 422 U.S. 490,511 (1975).
               57. Nathaniel B. Edmonds, Comment, AssociationalStandigfor Oganizations with
          Internal Conflicts of Intems; 69 U. Cm. L. REv. 351, 351 (2002). Additionally, the Brown
          Group Court identified two other risks: a potential lack of "adversarial intensity" and that
          "the damages recovered by the association [could] fail to find their way into the pockets of
          the members on whose behalf injury is claimed." 517 U.S. at 556.
               58. Before 1948, labor federations filed amicus briefs only sporadically, generally in
          labor or employment law cases, as well as a handful of high-profile civil rights cases. Eg.,
          Brief of AFL, Amicus Curiae, Fishgold v. Sullivan Drydock & Repair Corp., 328 U.S. 275
          (1946) (No. 970), 1946 WL 50088 (veterans' reemployment and superseniority); Brief for
          AFL, Consol. Edison Co. of N.Y v. NLRB, 305 U.S. 197 (1938) (No. 19), 1938 WL 39360
          (NLRB jurisdiction and procedure); Application for Leave To File Brief Amicus & Brief
          Amicus Curiae on Behalf of CIO & Certain Affiliated Organizations, Shelley v. Kraemer,
          334 U.S. 1 (1948) (No. 72), 1947 WL 44164 (racially restrictive housing covenants).




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        scheduled for Supreme Court review."" Goldberg interpreted this
        mandate as an invitation to file briefs that would, in his view,
        "safeguard[] the interests of the entire labor movement and, indeed, the
        public interest generally."' This was before it became common
        practice for interest groups to file amicus briefs in the Supreme Court;
        one study showed that a grand total of 531 amicus briefs were filed
        during the ten-year span from 1946 to 1955, as compared to 4,907
        amicus briefs filed between 1986 and 1995.61 Thus, while the CIO was
        not the only institution to engage regularly in amicus practice in the
        late 1940s, it was among a relatively small group that did so.
              Under Goldberg's leadership, the CIO filed briefs not only in
        labor cases, but also in civil rights and First Amendment cases.
        Among them were amicus briefs filed in several cases challenging
        racial segregation in education' and public accommodations."          In
        those cases, the CIO described its interest in defeating "the power of
        the states to compel segregation," which "directly affect[s] the efforts
        of the CIO to build a non-segregated trade union movement in the
        United States."'          Similarly, the CIO fought discriminatory laws
        enacted in the wake of World War II, including Hawaii's English-only
        education law" and California's statutory denial of fishing licenses to
        Japanese immigrants." Additionally, during this period, the CIO filed
        briefs in three cases presenting issues related to the First Amendment
        rights of protest groups. These cases involved the extent to which the



            59. Katherine VW. Stone, The Steelworkers' Trilogy: The Evoludon of Labor
        Arbiuadon, in LABOR LAW STORIES 149, 159 (Laura J. Cooper & Catherine L. Fisk eds.,
        2005).
              60. Id. at 160.
              61. Kearney & Merrill, supm note 16, at 752.
              62. Brief for the CIO as Amicus Cuiae,Brown v. Bd. of Educ., 347 U.S. 483 (1954)
        (No. 1), 1953 WL 78290; Brief for the CIO as Amicus Curiae, McLaurin v. Okla. State
        Regents for Higher Educ., 339 U.S. 637 (1950) (No. 34), 1950 WL 78678; Brief for the CIO
        as Arnicus Curiae in Support of Petition for Certiorari, Sweatt v. Painter, 339 U.S. 629 (1950)
        (No. 44), 1949 WL 50364.
              63. Motion for Leave To File Brief & Brief of CIO Amicus Curiae, Henderson v.
        United States, 339 U.S. 816 (1950) (No. 25), 1949 WL 50336 (challenging segregation in
        railroad dining cars).
              64. Brief for the CIO as Amicus Curiae, McLauin, supr note 62, at 2.
              65. Brief of CIO, Amicus Curiae at 2-3, Stainback v. Mo Hock Ke Lok Po, 336 U.S.
        368 (1949) (No. 52), 1948 WL 47231, at *2-3 (challenging on the dual grounds that the law
        would "augment existing racial, religious and nationalistic discord" and discriminate against
        non-English speaking teachers).
              66. Brief of CIO Amicus Cwiae, Takahashi v. Fish & Game Comm'n, 334 U.S. 410
        (1948) (No. 533), 1948 WL 47436.




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          government could prohibit communists from leading labor unions,"
          the right to picket stores in order to encourage them to hire racial
          minorities, and the availability of civil remedies under the Ku Klux
          Klan Act to individuals who were systematically assaulted by groups
          of private citizens."
                After the 1955 merger of the AFL and CIO, the newly combined
          federation continued filing Supreme Court amicus briefs. While the
          federation's amicus participation has ebbed and flowed over time," the
          AFL-CIO today remains a prolific filer of amicus briefs." For
          example, from the five-year period beginning with the October 2007
          Supreme Court Term and ending with the October 2011 Term, the
          AFL-CIO filed fifteen amicus briefs, eleven of which did not concern
          labor law.72 Some of these briefs were filed in high-profile cases, like
          NadonalFederadonofIndependentBushess v Sebeliu or Arizona v
          United States,74 where the AFL-CIO was one of dozens of amici.
          Others came in cases that received far less amicus attention, like
          Kasten v Sant-GobainPerformancePlasdcs Corp., in which the Court
          considered whether an oral complaint was sufficient to trigger the
          FLSA; there, the AFL-CIO filed one of only six amicus briefs."
          Other AFL-CIO amicus briefs filed during that period came in cases

               67. Eg., Brief for the CIO as Amicus Curiae, Am. Commc'ns Ass'n v. Douds, 339
         U.S. 382 (1950) (No. 10), 1949 WL 50300.
               68. Brief for the CIO as Amicus Curiae, Hughes v. Superior Court, 339 U.S. 460
         (1950) (No. 61), 1949 WL 50403.
               69. Brief for the CIO as Amicus Curiae, Collins v. Hardyman, 341 U.S. 651 (1951)
         (No. 217), 1950 WL 78611.
               70. Westlaw and Lexis reveal twenty-eight AFL-CIO amicus briefs filed in nonlabor
         cases between 1971 and 1980, sixty filed between 1981 and 1990, twenty-eight between
         1991 and 2000, and thirty-five between 2001 and the present. (List of cases on file with
         author.) By contrast, the late 1950s and 1960s saw the AFL-CIO file relatively few amicus
         briefs in cases that did not concern labor law.
               71.    Many of these briefs are discussed in this Article. In addition, it is telling that
         Professors Joseph Kearney and Thomas Merrill selected the AFL-CIO as one of three
         institutional litigators with a history of filing Supreme Court amicus briefs to study the
         efficacy of that practice. Kearney & Merrill, supm note 16, at 750.
               72. A Westlaw search conducted on September 29, 2013, in the "U.S. Supreme Court
         Briefs" database for documents filed on dates corresponding to the October 2007 Term to the
         October 2011 Term that contain "AFL-CIO" or "American Federation of Labor" in the title
         returns fifteen amicus briefs filed by the AFL-CIO.
               73. Brief of the AFL-CIO as Amicus Curiae in Support of Petitioners Suggesting
         Reversal of the Decision Below on the Minimum Coverage Provision Issue, Nat'l Fed'n of
         Indep. Bus. v. Sebelius, 132 S. Ct. 2566 (2012) (No. 11-398), 2012 WL 293719.
               74. Brief of the AFL-CIO as Amicus Culae in Support of Respondent, Arizona v.
         United States, 132 S. Ct. 2492 (2012) (No. 11-182), 2012 WL 1054499.
               75.     131 S. Ct. 1325 (2011).
               76. Brief of the AFL-CIO as Amicus Curiae in Support of Petitioner, Kasten, 131 S.
         Ct. 1325 (No. 09-834), 2010 WL 2565286.




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        concerning international law," the viability of a Title VII class action,"
        the First Amendment," the Uniformed Services Employment and
        Reemployment Rights Act," consumer arbitration,' separation of
        federal powers,82 and the Equal Protection Clause of the Fourteenth
        Amendment." And, while the efficacy of any particular amicus
        strategy is beyond the scope of this Article, there is some empirical
        evidence that AFL-CIO amicus briefs are successful."
              The AFL-CIO files amicus briefs far more frequently than the
        other major American labor federation, Change to Win." Change to
        Win filed Supreme Court amicus briefs in only six cases (five of
        which did not concern labor law) between the 2007 and 2011 Terms."
        This relatively low amicus participation rate is perhaps unsurprising
        given Change to Win's pledge to devote three-quarters of its operating

              77. See Brief of the AFL-CIO as Amicus Curiae in Support of Petitioners, Kiobel v.
        Royal Dutch Petroleum Co., 133 S. Ct. 1659 (2013) (No. 10-1491), 2011 WL 6813560.
              78. See Brief of the United Food & Commercial Workers International Union et al. as
        Amic Curiae in Support of Respondents, Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541
        (2011) (No. 10-277), 2011 WL 794122.
              79. See Brief of the AFL-CIO as Amicus Cwiaein Support of Respondent, Borough
        of Duryea v. Guarnieri, 131 S. Ct. 2488 (2011) (No. 09-1476), 2011 WL 288884.
              80. See Brief of the AFL-CIO as Amicus Cuiae in Support of Petitioner, Staub v.
        Proctor Hosp., 131 S. Ct. 1186 (2011) (No. 09-400), 2010 WL 2770107.
              81.    See Brief of the AFL-CIO as Amicus Curiaein Support of Respondent, Rent-A-
        Center, W, Inc. v. Jackson, 130 S. Ct. 2772 (2010) (No. 09-497), 2010 WL 1393447.
              82. See Brief of the Council of Institutional Investors et al. as Amici Curiae
        Supporting Respondents, Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 130 S. Ct.
        3138 (2010) (No. 08-861), 2009 WL 3370511.
              83. See Brief Amicus Cuiae of the National Education Ass'n et al. in Support of
        Petitioner, Engquist v. Or. Dep't of Agric., 553 U.S. 591 (2008) (No. 07-474), 2008 WL
        563435.
              84. Kearney & Merrill, supra note 16, at 750 ("We also track the amicus records of
        the American Civil Liberties Union ('ACLU'), the American Federation of Labor-Congress
        of Industrial Organizations ('AFL-CIO'), and the States, and find that they enjoy some
        success as amicus filers, although less than the Solicitor General.").
              85. Ann C. Hodges, Avoidig Legal Seduction: Reinvigomting the LaborMovement
         To Balance CorpomtePower,94 MARQ. L. REv. 889, 892-93 (2011).
              86. See Brief of the AFL-CIO & Change to Win as Amici Cuiae in Support of
        Respondents, 14 Penn Plaza LLC v. Pyett, 556 U.S. 247 (2009) (No. 07-581), 2008 WL
        2817677; Brief of the AFL-CIO & Change to Win as Amici Cuiae in Support of
        Respondent, Davenport v. Wash. Educ. Ass'n, 551 U.S. 177 (2007) (Nos. 05-1589, 05-1657),
        2006 WL 3735955; Brief of the Alliance for Retired Americans et al. as Amici Curiae in
        Support of Respondent, Long Island Care at Home, Ltd. v. Coke, 551 U.S. 158 (2007) (No.
        06-593), 2007 WL 951137; Brief of Amici Cuiae Change to Win & the Change to Win
        Investment Group in Support of Respondents, Merck & Co. v. Reynolds, 130 S. Ct. 1784
        (2010) (No. 08-905), 2009 WL 3477290; Brief for Change to Win & the CtW Investment
        Group as Amici Cuiaein Support of Petitioner, Stoneridge Inv. Partners, LLC v. Scientific-
        Atlanta, Inc., 552 U.S. 148 (2008) (No. 06-43), 2007 WL 1701933; Brief of the United Food
        & Commercial Workers International Union et al. as Amici Cuiae in Support of
        Respondents, supra note 78.




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          budget to funding new organizing efforts, leaving fewer resources
          available for expensive Supreme Court litigation." Interestingly,
          though, the briefs that Change to Win did file suggest that it has a
          somewhat different amicus strategy than the AFL-CIO. In particular,
          Change to Win, along with the Change to Win Investment Group, filed
          briefs in two securities litigation cases." (By contrast, the AFL-CIO
          did not participate in any Supreme Court securities litigation cases
          during the same time period.) In these cases, Change to Win sought to
          expand liability for securities fraud"' and make it easier for plaintiffs to
          bring securities cases." This focus goes hand in hand with Change to
          Win's organizing and advocacy model, which includes shareholder
          activism."
                This Subpart has outlined the primary avenues through which
          unions engage in Supreme Court advocacy. This is not to suggest that
          these are the only avenues. In addition, unions may facilitate litigation
          in less formal ways, for example, by helping workers identify potential
          violations of their workplace rights and providing attorney referrals."

                87.     The inaugural chair of Change to Win, Anna Burger, described that federation's
          goals like this: "Strategic, smart, organizing is our core principle-our North Star .... We
          will put our money where our mouth is, with three-quarters of our resources going to a
          groundbreaking organizing crusade." New Labor Fedemtion Pledges To Carry Out Most
          Aggwssive OrganizingCampaig in 50 Years, CHANGE 'I WIN (Sept. 27, 2005), http://www.
          changetowin.org/news/new-labor-federation-pledges-carry-out-most-aggressive-organizing-
          campaign-50-years (internal quotation marks omitted); see also Hodges, supra note 85, at
          893.
                88. The Change to Win Investment Group works with union-sponsored pension funds
          to engage in shareholder activism because
                [t]he long-term health of these pension plans, and the retirement security of the
                workers and families who rely upon them, are threatened by conflicts of interest on
                Wall Street and in the boardroom, a corporate backlash that seeks to weaken the
                accountability of executives to shareholders, and outright corporate fraud.
          About CtW Investment Group, CTW INVESTMENT GROuP, http://www.ctwinvestmentgroup.
          com/about/ (last visited Oct. 27, 2013).
                89. Brief for Change to Win & the CtW Investment Group as Amid Cuiae in
          Support of Petitioner, supra note 86, at 4-6.
                90. Brief of Amici Cuiae Change to Win & the Change to Win Investment Group in
          Support of Respondents, supranote 86, at 3-5.
                9 1. Sanford M. Jacoby, Finance and Labor: Peispectives on Risk, Inequality and
          Democracy,30 CoM. LAB. L. & Po'Y J. 17, 48 (2008) ("As compared to the [Change to
          Win] unions, the AFL-CIO's national unions are less likely to engage in capital-market
          activities [in support of organizing].").
                92. Increasingly, unions help fund workers' centers to assist workers in nonunion
          workplaces. Workers' center staff provide advice on issues like wage and hour violations and
          immigration law and therefore are a particularly promising avenue through which unions can
          help nonunion workers assert their rights. E.g., Victor Narro, Impacting Next Wave
          Oiganimag: Creative Campaign Strategies of the Los Angeles Worker Centers, 50 N.YL.
          SCH. L. REv. 465, 467 (2005-2006) (describing workers' center strategies, including providing




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        Additionally, they may recruit named plaintiffs for class actions or urge
        workers to opt into FLSA collective actions. The next Subpart will
        briefly describe some of the many substantive areas in which labor
        unions facilitate in litigation.

        B. Subjects of Unions'SupremeCourtLigation
            The focus was.. . on shapigthe law so that it would benefit the labor
                     movement (andhence Amenca!) over the long run."
              In this Subpart, I illustrate the range of Supreme Court cases in
        which unions participate as parties or amici. I have grouped these
        cases into six categories. First, and most prevalent, are cases that
        concern conditions of employment. These work law cases cover topics
        like employment discrimination, wage-and-hour law, workplace health
        and safety, and the Employee Retirement Income Security Act
        (ERISA). Second, there are democracy-related cases that concern the
        political process, access to government, and civic engagement more
        generally, including First Amendment rights to protest. Third, there are
        cases related to the structure of government-either the relationship
        between the federal government and the states94 or the relationship
        between the branches of the federal government. Fourth, there are
        cases about civil practice and procedure. Fifth, there are cases about
        issues of community concern, such as the availability of affordable
        housing or the protection of the environment. Sixth, and finally, there
        are industry-specific issues in which unions become involved because
        they represent workers in the relevant industry.
              Three caveats are in order. First, many cases will fall into
        multiple categories; often, the reason a client decides to sue is
        substantially different from the reason the Supreme Court agrees to
        hear the case. To take just one example, unions litigated both Alden v
        Maind' and Garcia v San Antonio Metropolitan TrnsitAuthoritf-


        "services such as legal representation, language classes, health care referrals, and advocacy");
        Hina Shah & Marci Seville, Domestic Worker Ozganizng: Buildng a Contempoary
        Movement for Dignity and Power, 75 ALB. L. REv. 413, 428-29 (2012). But see Hodges,
        supm note 85, at 904 (describing an assessment by organizers at the Garment Workers'
        Center in Los Angeles that "focus on legal actions created significant problems," including
        that the strategy did not keep workers sufficiently involved in the campaign and that workers
        came to view the center as a service provider).
              93.    Michael Gottesman, DavidFeller,SeniorPartner24 BERKELEY J. EMP. & LAB. L.
        265,267 (2003).
              94. There are a significant number of cases about the extent to which the NLRA
        preempts state laws. However, those cases are beyond the scope of this Article.
              95.    527 U.S. 706 (1999).




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          key federalism cases that are regularly featured in constitutional law
          textbooks"-to enforce the FLSA against state governments."
          Because the underlying wage and hour issues that gave rise to these
          cases in the first place were relatively ordinary, I group these and
          similar cases in category three (structure of government), rather than
          category one (work law). However, this is not to underplay the
          importance of unions' expensive and time-consuming litigation of
          work law issues in the Supreme Court.
                Second, this is not an exhaustive list of all the cases, or even the
          categories of cases, in which unions have participated as parties,
          provided legal representation, or filed amicus briefs. For example, this
          Subpart generally does not discuss union participation in antitrust or
          securities cases.9 Instead, it offers example cases to illustrate the
          breadth of issues in which unions are involved, as well as to provide a
          sense of the extent to which unions' litigation positions might align
          with or diverge from those of other social movement groups.
                Third, although the Article sometimes refers to the views of the
          "labor movement," I do not mean to imply that the labor movement
          has a monolithic view of the importance or the substantive correctness
          of particular cases. Where different unions or federations take
          different views before the Court, I flag them. However, where only
          one union perspective is advanced before the Court, I do not discuss
          the likelihood that other unions or federations (or their members) held,
          but did not express to the Court, other views.

          1.     Work Law
              Unsurprisingly, the largest category of unions' nonlabor Supreme
          Court work falls under the general heading of work law." I include


                96. 469 U.S. 528 (1985), supersededby statute, Fair Labor Standards Amendments of
          1985, Pub. L. No. 99-150, 99 Stat. 787.
                97. Eg., ERwiN CHEMERINSKY, CONSTITUTIONAL LAW 178, 303 (3d ed. 2009).
                98. Alden, 527 U.S. at 712 (holding that Congress cannot compel states to hear suits
          relating to violations of federal law in state courts; the plaintiffs were represented by AFL-
          CIO attorneys); Garcia,469 U.S. at 555-56 (holding that Congress has the power under the
          Commerce Clause to compel state employers to pay federally mandated minimum wage).
          Garcia was represented by union lawyers, including the AFL-CIO General Counsel Laurence
          E. Gold and Amalgamated Transit Union General Counsel Earle Putnam. Id at 529.
                99. See discussionsupa Part II.A.
                100. See Eagan, supm note 16, at 24-27; Robert J. Rabin, The Role of Unions in the
          Righ-Based Workplace, 25 US.E. L. REv. 169, 200-05 (1991) (describing individual unions'
          practices of providing representation or legal referrals for members' claims under Title VII,
          the WARN Act, and other employment statutes).




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        here employment law,'1 employment discrimination,' 2 workplace
        health and safety,'o3 and retirement benefits.'"
              Unions play a role in the development of employment law in both
        union and nonunion workplaces. In unionized workplaces, the
        connection is obvious: unions often either provide counsel to
        bargaining unit members or sue in their own names (often alongside
        individual employees) to enforce members' workplace rights."' In
        nonunion workplaces, the connection is perhaps less clear, but present
        nonetheless. First, labor lawyers sometimes represent nonunionized
        workers directly, often (but not always) in connection with an
        organizing campaign.' 6        Second, even if .they do not provide
        representation, they may provide advice and attorney referrals through
        a workers' center or similar organization.'         Conversely, unions
        themselves employ significant numbers of employees, and they
        sometimes also play a gatekeeping role in employment by operating
        hiring halls.' Thus, unions are sometimes named as defendants in
        employment-related litigation as well.
              As a result, labor unions have been parties to a significant
        number of work law cases that have reached the Supreme Court; of
        these, discrimination cases comprise the bulk. Accordingly, this
        Subpart begins with a discussion of unions' participation in
        discrimination cases and then turns to other types of work law cases,
        such as those concerning the constitutional rights of public employees.


              101. Eg., United Food & Commercial Workers Union Local 751 v. Brown Grp., Inc.,
        517 U.S. 544 (1996).
              102. See discussion infra PartIII.
              103. E.g., UAW v. Johnson Controls, Inc., 499 U.S. 187 (1991); Dole v. United
        Steelworkers ofAm., 494 U.S. 26 (1990), superseded by statute, Paperwork Reduction Act of
        1995, Pub. L. No. 104-13, 109 Stat. 163; Indus. Union Dep't v. Am. Petroleum Inst., 448 U.S.
        607 (1980).
              104. Eg., Beck v. PACE Int'l Union, 551 U.S. 96 (2007); Brown v. Hotel & Rest.
        Emps. & Bartenders Int'l Union Local 54,468 U.S. 491 (1984).
              105. E.g., AT&T Corp. v. Hulteen, 556 U.S. 701 (2009); Johnson Controls,499 U.S.
        187. The Communications Workers of America were a party in the Title VII gender
        discrimination suit. AT&TCorp., 556 U.S. 701.
              106. Fisk, supm note 48, at 59-60 (noting that some courts construe the provision of
        legal services immediately before a union election as a violation of the NLRA).
              107. See Janice Fine et al., Nat'l Study on Immigrant Worker Ctrs. 2005, Worker
        Centes, ECON. POL'Y INST. 1,http://www.cornellpress.comell.eduIresources/titles/801401009
        32140/extras/Map_.Worker-Centers.pdf (last visited Oct. 28, 2013) (listing locations of 137
        workers' centers in the United States and listing their affiliate partners, including many
        unions).
              108. Rebecca J. Livengood, Olgamzing for Structural Change: The Potential and
        Promise of Worker Centes,48 HARv. C.R.-C.L. L. RE. 325, 332-33 (2013).




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                Unions have appeared before the Supreme Court both to
          prosecute Title VII cases and to defend against them. For example,
          shortly after the enactment of the Civil Rights Act of 1964, unions
          litigated a series of cases in which they were named as defendants
          because of the discriminatory impact of union-negotiated seniority
          systems.o' These cases involved not only liability issues, but also
          difficult questions about how to provide remedies to workers who were
          excluded from desirable jobs because seniority systems entrenched the
          effects of prior (legal) discrimination."' In addition, a handful of other
          Supreme Court cases arising under employment discrimination
          statutes involved intentional race discrimination by labor unions."' For
          example, in Local 28, Sheet Metal Workers' InternationalAss'n v
          EEOC, the local union defendant unsuccessfully fought a district
          court's directive that it remedy its history of "particularly egregious"" 2
          discrimination against nonwhite workers seeking admission to the
          union by achieving 29% nonwhite membership and creating a fund to
          be used to recruit minority participants. 3 Then, in Goodman v
          Lukens Steel Co., a Steelworkers' local unsuccessfully attempted to
          defend its policy of declining to process grievances raising race
          discrimination or harassment based on employer opposition to such
          claims.' Finally, a third case involved discrimination against white
          employees: in McDonald v Santa Fe Trail Transportation Co., a
          Teamsters local unsuccessfully argued that neither Title VII nor 42
          U.S.C. § 1981 prevented employers from choosing to fire white
          employees who had stolen from the company, while retaining black
          employees accused of the same conduct."' However, the Teamsters'


                109. Eg, E. Tex. Motor Freight Sys., Inc. v. Rodriguez, 431 U.S. 395 (1977); Int'l
          Bhd. of Teamsters v. United States, 431 U.S. 324 (1977); Albemarle Paper Co. v. Moody, 422
          U.S. 405 (1975) (discussing the propriety of a back pay remedy in a case involving a
          discriminatory seniority system in which an employer and union were named as defendants).
                110. Unions' positions in these cases are discussed in greater detail in Part III.B.
                111. Other Supreme Court cases concerned breaches of unions' duty to represent all
          bargaining unit employees fairly, which occurred when unions discriminated by refusing
          minority workers entrance into the union. Eg., Johnson v. Ry. Express Agency, Inc., 421 U.S.
          454 (1975), supemseded by statute, Civil Rights Act of 1991, Pub. L. No. 102-166, 105 Stat.
          1071; Steele v. Louisville & Nashville R.R. Co., 323 U.S. 192 (1944) (inferring a duty to
          represent all covered employees fairly from the NLRA's exclusive representation provision in
          a case involving a racially discriminatory seniority system). Because these cases arise under
          labor statutes, they are beyond the scope of this Article, except to the extent that they also
          raise nonlabor issues. See mfra Part II.B.5.
                112. 478 U.S. 421,483 (1986) (Powell, J., concurring).
                113. Id.at433,440,482.
                114. 482 U.S. 656 (1987).
                115. 427 U.S. 273, 283-91 (1976).




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       position was undermined by an AFL-CIO amicus brief that
       successfully argued that both statutes should apply to white workers."'
             Then, in UnitedSteelworkers ofAmenca v Webe" and Johnson
        v TransportationAgency,"' unions defended negotiated affirmative
       action plans designed to correct "manifest imbalances" in workforce
       composition."' After the Court upheld both plans, the AFL-CIO
       carefully sought to preserve these holdings by distinguishing the
       negotiated affirmative action plans at issue in those cases from more
       ad hoc measures taken by employers in other cases.'20 For example, the
       controversial"' case of Tannan v Board of Education arose when a
       school district terminated a white teacher instead of a minority teacher
       with identical seniority and qualifications in order to maintain racial
       diversity among the teachers within Taxman's department.'22 Once the
       Supreme Court granted certiorari, civil rights groups-fearing that the
       Rehnquist Court would interpret Title VII so as to gut affirmative
       action programs-financed most of a settlement that removed the case
       from the Supreme Court docket just days before argument.'

             116. Motion for Leave To File Brief & Brief for the AFL-CIO as Amicus Curiae,
       McDonalg 427 U.S. 273 (No. 75-260), 1975 WL 173858.
             117. 443U.S. 193 (1979).
             118. 480U.S. 616(1987).
             119. The Johnsonplaintiff named only his employer in his suit, which charged that he
       was passed over in favor of a female employee in violation of Title VII. However, the union,
       which had agreed to the county's affirmative action plan, intervened in the case as a
       defendant. Brief of Respondent SEIU Local 715 at i, 2, Johnson, 480 U.S. 616 (No. 85-
        1129), 1986 WL 728167, at *i, *2.
             120. In addition, in Weber itself, the Steelworkers contrasted cases involving
       government-imposed quotas to plans that were voluntarily adopted by private employers,
       arguing that the legislative history of Title VII did not reveal a congressional intent to forbid
       the latter. However, making that case meant showing that Congress did intend to preclude
       governmental quotas. Professor Deborah Malamud has argued persuasively that this theory
       was influential in achieving a win in Weber Deborah C. Malamud, United Steelworkers of
       America v. Brian Weber, in EMPLOYMENT DISCRIMINATION STORIES 173, 176 (Joel Wm.
       Friedman ed., 2006). However, the Steelworkers' strategy threatened to alienate the union
       from the civil rights community. See id. at 182-86.
             121. E.g., Nat Hentoff, A Case of Spin in Piscataway,WASH. POST, Dec. 20, 1997,
       availableat 1997 WLNR 7325093. Even many years later, the case remained a flash point, as
       evidenced by the fact that it was discussed in reference to the Supreme Court nominations of
       both Samuel Alito, who ruled in favor of Taxman as a judge on the United States Court of
       Appeals for the Third Circuit, and Elena Kagan, who as a lawyer in the Clinton White House
       had a role in shaping the administration's position on the case. The Nomhation ofElena
       Kagan To Be an Associate Justiceof the Supreme Court ofthe United States: HeanagBefore
       the S. Comm. on the Judiciary,111th Cong. 818, 823-24 (2010) (testimony of Peter N.
       Kirsanow); Daniel H. Pollitt, Veto Alito!, INDY WK. (Jan. 4, 2006), http://www.indyweek.
       com/indyweek/veto-alito/Content?oid=1 196395.
             122. 91 F.3d 1547,1551 (3d Cir. 1996), cert.dismisse4 522 U.S. 1010 (1997).
             123. Leandra Lederman, Pcedent Lost: Why Encourage Settlement, and Why
       PenmitNon-PartyInvolvementinSettlements?, 75 NOTRE DAME L. REv. 221, 244-45 (1999);




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          Apparently sharing this apprehension, the AFL-CIO devoted much of
          its amicus brief to distinguishing the school district's decision to lay off
          Taxman from the negotiated plans in Weber and Johnson, rather than
          to defending the school district's actions.124 Thus, while the brief
          implicitly criticized the school district's actions (and the brief was filed
          in support of neither party),' it was evidently designed to preserve
          affirmative action to the extent realistically possible, rather than to
          limit it."'
                Unions have also fought to expand protections against sex and
          gender discrimination in employment discrimination. A leading union
          in this effort, the International Union of Electrical, Radio, and
          Machine Workers (UE) inaugurated "the modem beginning of the
          organized pay equity movement in this nation."'27 As part of its work
          in this vein, UE filed a series of cases charging that employer-
          sponsored insurance plans violated Title VII when they excluded
          pregnancy from coverage,' reaching the Supreme Court in General
          Electric Co. v Gilbert.'29 UE did not prevail in GilberZ but Congress
          later legislatively overruled it with the Pregnancy Discrimination
          Act.'o However, another electrical workers' union-the International
          Brotherhood of Electrical Workers-successfully challenged an
          employer policy that required female employees to make larger


          Editorial, AfFirmative Action: Sooner or Later High Court Will Have To Decide,
          WORCESTER TELEGRAM & GAZETTE, Dec. 19, 1997, availableat 1997 WLNR 6532399 ("The
          prospect of an adverse ruling prompted civil rights groups to provide the major share of a
          $433,500 settlement that the school board was required to pay Taxman as the result of trial
          and appeals court rulings.").
                124. Brief of the AFL-CIO & the American Federation of Teachers, AFL-CIO, as
          Amici Curiae in Support of Neither Party at 2, Piscataway Twp. Bd. of Educ. v. Taxman, 521
          U.S. 1117 (1997) (No. 96-679), 1997 WL 528594, at *2.
                125. Id
                126. Similarly, the AFL-CIO's brief in Minnick v California Department of
          Correctionsboth sought to distinguish Weber and Johnson and-like the state-successfully
          urged the Court to hold that it lacked jurisdiction to decide the case because there was not yet
          a final judgment from the lower courts. Brief for the AFL-CIO as Amicus Curiae, Minnick v.
          Cal. Dep't of Corr., 452 U.S. 105 (1981) (No. 79-1213), 1980 U.S. S. Ct. Briefs LEXIS 2193.
                127. MICHAEL W. MCCANN, RIGHTS AT WORK: PAY EQUITY REFORM AND THE POLITICS
           OF LEGAL MOBILIZATION 50-51 (1994).
                 128. Brief of International Union of Electrical, Radio & Machine Workers, AFL-CIO-
           CLC, as Amicus Curiae at 3-4, Geduldig v. Aiello, 417 U.S. 484 (1974) (No. 73-640), 1974
           WIL 185751, at *3-4 (listing other cases challenging similar insurance policies filed by UE
           and groups of woman workers and listing UE's efforts to achieve coverage for pregnancy-
           related health needs at the bargaining table).
                 129. 429 U.S. 125 (1976), supetseded by statute, Pregnancy Discrimination Act of
           1978, Pub. L. No. 95-555, 92 Stat. 2076.
                 130. Pregnancy Discrimination Act.




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       contributions to a pension fund than their male counterparts."' And
       the union in UAW v Johnson Controls,Inc., working with a coalition
       of advocacy groups, 3 2 prevailed in its challenge to an employer policy
       precluding women who could become pregnant from working at jobs
       involving potential lead exposure."' Unions' frequent litigation of sex
       discrimination cases continues to this day.'34 In addition, unions have
       filed proemployee briefs in cases involving other antidiscrimination
       statutes, such as the Americans with Disabilities Act.'35
             Finally, the AFL-CIO, Change to Win, and individual labor
       unions filed briefs in both UnitedStates v Whdsor and Holligsworth
        v Perry,cases concerning the constitutionality of the federal Defense

             131. City of L.A. Dep't of Water & Power v. Manhart, 435 U.S. 702 (1978),
       supersededby statute, Civil Rights Act of 1991, Pub. L. No. 102-166, 105 Stat. 1071.
             132. Caroline Bettinger-Lopez & Susan P. Sturm, International Union, U.A.W v.
       Johnson Controls: The History ofLitigation Alliances andMobilation To Challenge Fetal
       Protection Policies4 (Columbia Law Sch. Pub. Law & Legal Theory Working Paper Grp.,
       Paper No. 07-145, 2007), availableathttp://www.ssrn.com/abstract-982252.
             133. 499 U.S. 187, 190,211 (1991).
             134. See Brief of the AFL-CIO & the Brotherhood of Maintenance of Way Employes
       Division, International Brotherhood of Teamsters as Amicus Cuiae in Support of
       Respondent, Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53 (2006) (No. 05-259),
       2006 WL 622124 (arguing that reassignment to a worse job was an "adverse employment
       action" for purposes of a Title VII claim based on an employer's retaliation for a union-
       represented employee's sexual harassment complaint); Brief of the AFL-CIO as Amicus
       Curiaein Support of Respondent, Penn. State Police v. Suders, 542 U.S. 129 (2004) (No. 03-
       95), 2004 WL 363887 (arguing that the Ellerth/Faragheraffirmative defense in sexual
       harassment cases is not available when the plaintiff has been constructively discharged); Brief
       of the AFL-CIO as Amicus Cudae in Support of Respondent, Desert Palace, Inc. v. Costa,
       539 U.S. 90 (2003) (No. 02-679), 2003 WL 1786612; Brief for the AFL-CIO as Amicus
       Cuiae in Support of the Respondent, Burlington Indus., Inc. v. Ellerth, 524 U.S. 742 (1998)
       (No. 97-569), 1998 WL 145348; Brief for the AFL-CIO as Amicus Cuiae in Support of
       Respondent, Price Waterhouse v. Hopkins, 490 U.S. 228 (1989) (No. 87-1167), 1988 WL
        1025873; Brief of the United Food & Commercial Workers International Union et al., as
       Amici Cwiae in Support of Respondents, supra note 78.
             135. Brief of the AFL-CIO as Amicus Curiae in Support of Respondent, Clackamas
       Gastroenterology Assocs., P.C. v. Wells, 538 U.S. 440 (2003) (No. 01-1435), 2003 WL
       164199 (arguing that physicians are employees for purposes of the ADA); Brief of the AFL-
       CIO as Amicus Cuiaein Support of Respondent, US Airways, Inc. v. Barnett, 535 U.S. 391
       (2002) (No. 00-1250), 2001 WL 1023719 [hereinafter Brief of the AFL-CIO in Barnett]
       (arguing that an employer-sponsored seniority plan that was not collectively bargained did not
       create a vested expectation that open positions would go to the most senior employee,
       meaning that an employer could be required to offer an open position to a disabled employee
       as a reasonable accommodation); Brief of the AFL-CIO as Amicus Cwiae in Support of
       Respondent, Toyota Motor Mfg., Ky., Inc. v. Williams, 534 U.S. 184 (2002) (No. 00-1089),
       2001 WL 1023522 (arguing that the plaintiff was covered by the ADA because she was
       substantially limited in performing manual tasks); Brief of the AFL-CIO as Amici Curiae in
       Support of the Petitioners, Sutton v. United Air Lines, Inc., 527 U.S. 471 (1999) (No. 97-
       1943), 1999 WL 86514 (arguing that individuals with impairments that can be corrected
       through ameliorative measures, like eyeglasses, should nonetheless be covered by the ADA).




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          of Marriage Act and the California constitutional amendment limiting
          marriage to unions consisting of one man and one woman.1 6 In both
          briefs, the unions and federations highlighted a list of work-related
          burdens resulting from discrimination against same-sex couples."'
                Turning from discrimination cases, unions also frequently litigate
          cases regarding the constitutional rights of public sector employees.
          These cases have arisen under the First and Fourth Amendments, as
          well as the Due Process Clause of the Fifth and Fourteenth Amend-
          ments. The National Treasury Employees Union (NTEU), a union that
          represents employees in thirty-one federal agencies,"' has been
          particularly active in this area, litigating both First and Fourth
          Amendment issues affecting employees of the federal government.
          For example, in United States v NTE the union successfully
          challenged a subsection of the Ethics in Government Act that
          prohibited federal employees from accepting compensation for giving
          speeches or writing articles.' That case is one of a string of cases
          concerning the rights of public employees to exercise their First
          Amendment rights both in and outside the workplace, many of which
          featured amicus participation by the AFL-CIO and individual unions.'40
          Then, in NTEU v Von Raab, the Court rejected the union's attempt to
          limit drug testing of certain public employees; 4 ' that case was decided
          on the same day as another case presenting a similar issue, brought by
          unions representing railway employees.'42 These are just a few of the

                136. Brief of the AFL-CIO et al. as Amid Cudae Supporting Respondent Edith
          Schlain Windsor & Suggesting Affirmance, United States v. Windsor, 133 S. Ct. 2675 (2013)
          (No. 12-307), http://www.americanbar.org/content/dan/aba/publications/supreme court_
          preview/briefs-v2/12-307_respamcu aflcio-etal.authcheckdam.pdf; Brief of AFL-CIO &
          Change to Win as Amici Cuiae Supporting Respondents & Suggesting Affirmance,
          Hollingsworth v. Perry, 133 S. Ct. 2652 (2013) (No. 12-144), http://www.americanbar.org/
          content/dam/aba/publications/supremescourtpreview/briefs-v2/12-144_respamcuaflcio-
          ctw.authcheckdam.pdf.
                137. Brief of the AFL-CIO et al. as Amici Cunae Supporting Respondent Edith
          Schlain Windsor & Suggesting Affirmance, supm note 136, at 3-5 (describing higher costs
          and taxes, denial of access to health care benefits, and deprivation of governmental retirement
          and financial assistance as effects of discrimination against same-sex married couples); Brief
          of AFL-CIO & Change to Win as Amici Clwiae Supporting Respondents & Suggesting
          Affirmance, supranote 136, at 2-4 (same).
                138. About NTEU NAT'L TREASURY EMPs. UNION, http://www.nteu.org/NTEU/ (last
          visited Oct. 27, 2013).
                139. 513 U.S. 454,457,478-80(1995).
                140. Brief of the AFL-CIO as Amicus Cluiaein Support of Respondent, supm note
          79; Brief of the AFL-CIO as Amicus Curiae in Support of Respondent, Garcetti v. Ceballos,
          547 U.S. 410 (2006) (No. 04-473), 2005 WL 1767122; Brief for the NTEU as Amicus Cuiae
          Supporting Respondent, Garcetti,547 U.S. 410 (No. 04-473), 2005 WL 1749167.
                141. 489 U.S. 656, 679 (1989).
                142. Skinner v. Ry. Labor Execs.'Ass'n, 489 U.S. 602 (1989).




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        cases about the constitutional rights of public employees in which
        unions have been involved.'43

        2.        Political Participation and Protest
              A second set of issues that unions frequently litigate concerns
        their rights to speech and assembly, including participation in the
        political process through protest, petitioning, and electioneering.
              As discussed above, labor activists often raised First Amendment
        defenses in response to early criminal prosecutions for labor-related
        speech and assembly.'" While these early defenses were unsuccessful,
        unions' fortunes later improved. Thus, for example, the Court first
        held that the First Amendment protects picketing in Thornhill v
        Alabama, in which it overturned a local union president's criminal
        conviction under an antipicketing and loitering statute.'45 Thomillset
        the stage for the Court's later decisions robustly protecting picketing
        and other protests by other social movement groups, including civil
        rights protesters.'46 Importantly, it was also the first case in which the
        Court sustained a facial challenge to a statute on overbreadth
        grounds,147 giving rise not only to a substantive right, but also a
        powerful and far-reaching litigation strategy.1'
              Likewise, cases involving labor activists were critical in the
        development of the freedom of assembly. The Court first overturned a
        criminal conviction based on the freedom of assembly, simultaneously
        incorporating the right of assembly against the states, in De Jonge v


              143. Eg., Motion for Leave To File a Brief Amici Curiae & Brief for the AFL-CIO &
        for the American Federation of Teachers, AFL-CIO, as Amici Curiae in Support of
        Respondents at 2, Bd. of Educ. v. Pico, 457 U.S. 853 (1982) (No. 80-2043), 1981 WL
        390274, at *2 (discussing the authority of public school officials to remove library books
        from shelves); Brief for the AFL-CIO as Amicus Curiae at 3-4, Taylor v. McElroy, 360 U.S.
        709 (1959) (No. 504), 1959 WL 101670, at *34 (discussing the due process right of public
        employees to challenge security clearance decisions).
              144. See discussion supm Part II.A.
              145. 310 U.S. 88, 104, 106 (1940).
              146. Eg., NAACP v. Claiborne Hardware Co., 458 U.S. 886 (1982).
              147. Richard H. Fallon, Jr., Making Sense of Overbreadth, 100 YALE L.J. 853, 863
        (1991).
              148. Eg., Osborne v. Ohio, 495 U.S. 103, 122 (1990) ("The overbreadth doctrine .. . is
        indeed 'strong medicine....' (quoting Broadrick v. Oklahoma, 413 U.S. 601, 613 (1973)));
        see also Caitlin E. Borgmann, Holding Legislatures ConstitutionallyAccountable Through
        Facial Challenges, 36 HASTINGS CONST. L.Q. 563, 598-601 (2009) (arguing that facial
        challenges better hold legislatures accountable for unconstitutional lawmaking); David H.
        Gans, Strategic Facial Challenges, 85 B.U. L. REv. 1333, 1353-64 (2005) (discussing the
        importation of the overbreadth doctrine into the right to travel, voting rights, and privacy
        cases).




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          Oregon.149 De Jonge was part of a Communist Party meeting
          advertised as "a protest against illegal raids on workers' halls and
          homes and against the shooting of striking longshoremen by Portland
          police.""'s The Court further articulated the scope of this right in two
          subsequent labor cases: Hague v CIO,in which the Court established
          that streets and parks were public fora, available to labor organizers
          who wished to educate listeners about the virtues of the relatively new
          NLRA,"' and Thomas v Collins, in which the Court overturned the
          Texas conviction of UAW President R.J. Thomas for publicly soliciting
          members without a permit, announcing that restrictions on First
          Amendment rights must be "justified by clear public interest,
          threatened . .. by clear and present danger."'52 Like freedom of speech,
          freedom of assembly was soon applied to other groups,'" and the
          public forum doctrine took on a life of its own in the development of
          First Amendment jurisprudence.'54
                In recent years, the labor movement has consistently filed amicus
          briefs in support of protestors. In some instances, this has placed the
          labor movement in opposition to its traditional allies. For example, in
          Scheidler v National Organization for Women, Inc, the AFL-CIO
          argued that the Hobbs Act should not reach certain antiabortion protest
          activities, even if they involved violence or threats of violence.'
                Labor's litigation of campaign finance cases has also been
          controversial. In particular, labor unions and the AFL-CIO have
          sometimes fought campaign finance restrictions, which have generally


                149. 299 U.S. 353, 363-66 (1937).
                150. Id. at 358-59; see also John D. Inazu, The Forgotten Feedom ofAssembly, 84
          TuL. L. REv. 565, 599 (2010) (discussing De Jonge and the right of assembly).
                151. 307 U.S. 496, 502, 515-16 (1939). The Justices in Hague did not agree on the
          rationale for incorporating the First Amendment against the states-Justices Roberts, Black,
          and Hughes relied on the Privileges and Immunities Clause, while Justice Stone rested on the
          Due Process Clause, citing De Jonge,among other cases. Id. at 510-12, 518-19, 532.
                152. 323 U.S. 516, 530 (1945).
                153. See Brandenburg v. Ohio, 395 U.S. 444 (1969) (Ku Klux Klan rally); Cox v.
          Louisiana, 379 U.S. 536 (1965) (protest by black students); Edwards v. South Carolina, 372
          U.S. 229 (1963) (same).
                154. See generilyRichard B. Saphire, Reconsideringthe Pubhc Forum Doctrine, 59
          U. CIN. L. REv. 739 (1991) (discussing the development of the public forum doctrine).
                155. Brief of the AFL-CIO as Amicus Curiaein Support of Petitioners at 14, Scheidler
          v. Nat'l Org. for Women, Inc., 547 U.S. 9 (2006) (Nos. 04-1244, 04-1352), 2005 WL
          2148528, at *14; see also Brief for the AFL-CIO as Amicus Curiae in Support of Petitioners
          at 2-4, Hill v. Colorado, 530 U.S. 703 (2000) (No. 98-1856), 1999 WL 1034471, at *2-4
          (arguing that a Colorado statute, which limited antiabortion protesters from knowingly
          approaching within eight feet of a person entering a medical facility in order to distribute
          handbills or counsel, was a violation of the First Amendment).




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       applied to corporations and unions.' For example, unions litigated
       some of the earliest campaign finance cases, challenging the Taft-
       Hartley Act's ban on union and corporate expenditures in connection
       with federal elections.'" More recently, the AFL-CIO was one of a list
       of plaintiffs (alongside such varied groups as the National Rifle
       Association, the National Right to Life Committee, the American Civil
       Liberties Union (ACLU), national- and state-level political parties, and
       elected representatives) that challenged portions of the Bipartisan
       Campaign Finance Reform Act in McConnell v FEC"' And the AFL-
       CIO filed an amicus brief in support of the petitioners in Citiens
       United v FEC,"' along with other campaign finance cases,"'
       challenging restrictions on electioneering communications."'
             On voting rights cases, by contrast, unions are generally aligned
       with other progressive social movement groups. Thus, for example, in
       2008, labor groups were aligned with a long list of other progressive
       amici on the side of petitioners challenging a state voter photo
       identification requirement. 62 Similarly, individual unions and the
       AFL-CIO filed an anicus brief in ArLzona v Inter Tibal Council of
       Arzona, Inc., arguing that federal law preempted a state requirement
       that registering voters show proof of citizenship."' The brief cited the
       unions' "support of nationwide activities to register eligible voters

              156. I have argued elsewhere that labor unions may be better served by seeking to
        uphold limits on electioneering, even if those limits cover unions themselves. See Garden,
        supm note 14, at 13-14.
              157. Eg., United States v. UAW, 352 U.S. 567 (1957) (holding that the use of union
        dues to finance an election-related television commercial violated the Federal Corrupt
        Practices Act and remanding for the lower court to consider the constitutionality of the Act in
        the first instance); United States v. CIO, 335 U.S. 106 (1948).
              158. 540 U.S.93 (2003), overrledbyCitizens United v. FEC, 558 U.S. 310 (2010).
              159. Brief of the AFL-CIO as Amicus Cudiae in Support of Appellant, Citizens
        United 558 U.S. 310 (No. 08-205), 2009 WL 2365216.
              160. E.g, Brief of the AFL-CIO as Amicus CurieinSupport ofAppellant, Wis. Right
        to Life, Inc. v. FEC, 546 U.S. 410 (2006) (No. 04-1581), 2005 WL 3076074; Motion for
        Leave To File a Brief Amicus Curiae & Brief for the AFL-CIO as Amicus Curiae, FEC v.
        Nat'l Right To Work Comm., 459 U.S. 197 (1982) (No. 81-1506), 1982 WL 608648.
              161. Electioneering communications are communications that mention a candidate by
        name temporally close to an election. In particular, unions have expressed concern that
        electioneering communications bans will make it difficult for unions to lobby incumbent
        politicians, even if that lobbying is unrelated to an election. See Charlotte Garden, Unions
        and CampaignFinanceLitigation,14 NEv. L.J. (forthcoming 2014).
              162. Eg., Brief for the Lawyers' Committee for Civil Rights Under Law et al., as
        Amici Cuiae in Support of Petitioners, Crawford v. Marion Cnty. Election Bd., 553 U.S. 181
        (2008) (Nos. 07-21, 07-25), 2007 WL 3407030.
              163. Brief Amicus Curiae of the National Education Ass'n, et al., in Support of
        Respondents, Arizona v. Inter Tribal Council of Ariz., Inc., 133 S. Ct. 2247 (2013) (No. 12-
        71), 2013 WL 457385.




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          through organized voter registration programs and [removal of]
          barriers to voters casting their ballots in federal, and state, elections.""
          These cases offer a particularly clear illustration of how union
          litigation of democracy-related cases helps shape the infrastructure in
          which unions' (and other groups') other political activity occurs.
          3.     Structure of Government
                In a series of cases concerning the structure of American
          government, labor unions have argued in favor of a strong federal
          government vis-A-vis the states, as well as for separation of powers
          principles that insulate congressional lawmaking and Executive
          Branch officials from outside political pressure.
                As stated above, unions have litigated key federalism cases
          regarding the FLSA's application to state government employees.
          Although unions could not bring these cases under their own names,
          their behind-the-scenes participation is evident."' For example, Larry
          Gold argued Gawia v San Antonio Metropolitan TransitAuthotityon
          behalf of Garcia, and the case was briefed by Gold and several other
          prominent labor lawyers, including the general counsel of the union
          that represented the transit authority's employees."' Plainly, it is
          usually beyond the reach of city employees to hire Supreme Court
          experts to represent their interests before the Supreme Court, and
          furthermore, the lawyers did not recoup their fees from the transit
          authority, despite the United States District Court for the Western
          District of Texas's observation that "[Garcia] may have been
          instrumental in arguing the position which the Supreme Court
          ultimately adopted."' Likewise, albeit less successfully, Gold and
          other union lawyers briefed and argued two Eleventh Amendment
          cases about whether state employees can subject their employers to suit
          in order to enforce federal law: Alden v Maine,' another FLSA case,

               164. Id at 2.
               165. Matthew W Lampe & E. Michael Rossman, Procedual Appmaches for
          Counteing the Dual-FiledFLSA Collective Action and State-Law Wage ClassAction, 20
          LAB. LAW. 311, 313-14 (2005) (suggesting that the percentage of individuals who both fall
          within the putative class and consent to join the action (the "opt-in" rate) may be higher in
          union-backed FLSA cases than in cases without union support).
               166. San Antonio Metro. Transit Auth. v. McLaughlin, 684 F Supp. 158, 159 (W.D.
          Tex. 1988) (describing Earle Putnam as "Gen. Counsel, Amalgamated Transit Union"); Reply
          Brief ofAppellant Joe G. Garcia on Reargument, Garcia v. San Antonio Metro. Transit Auth.,
          469 U.S. 528 (1985) (Nos. 82-1913, 82-1951), 1984 WL 566133.
               167. McLaughln, 684 F Supp. at 163.
               168. 527 U.S. 706 (1999) (holding that states are immune from suit in their own
          courts).




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       and Kimel v Florda Board of Regents,"' an Age Discrimination in
       Employment Act (ADEA) case.
             In addition, unions have filed numerous amicus briefs in other
       federalism cases involving the application of employee-protective
       federal law to states."' Perhaps the most surprising of these was the
       union's position in Wite v Massachusetts Council of Construction
       Employers, Inc., a dormant commerce clause challenge to a Boston
       mayoral executive order requiring that city-funded projects be staffed
       by at least half Boston residents.' 1 The AFL-CIO appeared in the case
       on the side of the employers, along with several employer trade groups
       and the Chamber of Commerce, arguing for the order to be struck
       down."2      While one might have expected local unions from
       surrounding localities to weigh in, the national AFL-CIO's apparent
       calculation that unions had more to lose than to gain from such
       requirements is striking, particularly considering the strong link
       between urban density and union density'" and the relative ease of
       organizing workers who live near each other, compared to workers
       who are scattered throughout sprawling suburbs.



              169. 528 U.S. 62 (2000) (holding that the ADEA did not validly abrogate states'
       Eleventh Amendment immunity). In Alden, union lawyers Timothy Belcher of the Maine
       State Employees Association and Donald Fontaine signed Alden's Supreme Court brief.
       Brief for Petitioners, Alden, 527 U.S. 706 (No. 98-436), 1999 WL 9767. Similarly, United
       Faculty of Florida (UFF) lawyer Thomas Brooks signed Kimel's Supreme Court brief, and
       Kimel himself was vice president of the Florida State University chapter of UFF. Brief for
       Petitioners J.Daniel Kimel, Jr., et al., Kimel, 528 U.S. 62 (Nos. 98-791, 98-796), 1999 WL
       503876; Dr Daniel KImel, FLA. ST. U., http://www.physics.fsu.eduifaculty/KimelDaniel.
       htm (last visited Oct. 27, 2013).
              170. Brief of the AFL-CIO as Amicus Cuuiae in Support of Respondents, Nev. Dep't
       of Human Res. v. Hibbs, 538 U.S. 721 (2003) (No. 01-1368), 2002 WL 31455480; Brief of
       the AFL-CIO as Amicus Cuiae in Support of Respondent, Printz v. United States, 521 U.S.
       898 (1997) (Nos. 95-1478, 95-1503), 1996 WL 585867; Brief of the AFL-CIO as Amicus
       Ciaein Support of Respondents, New York v. United States, 505 U.S. 144 (1992) (Nos. 91-
       543, 91-558, 91-563), 1992 U.S. S. Ct. Briefs LEXIS 205.
              171. 460 U.S. 204, 205 n.1 (1983). The local labor requirement was added to lessen
       racial tensions that may have resulted from additional requirements that women and people of
       color be hired.
              172. Motion for Leave To File a Brief Amici Curiae & Brief for the AFL-CIO & the
       Building & Construction Trades Department, AFL-CIO as Amici Curiae, White, 460 U.S.
       204 (No. 81-1003), 1982 U.S. S. Ct. Briefs LEXIS 1317; Brief Amicus Curiae of the
       Chamber of Commerce of the United States, Wite, 460 U.S. 204 (No. 81-1003), 1982 U.S.
       S. Ct. Briefs LEXIS 1311; Brief Amicus Cuiaeof New England Legal Foundation et al., in
       Support of Respondents, White, 460 U.S. 204 (No. 81-1003), 1982 U.S. S. Ct. Briefs LEXIS
       1316.
              173. E.g., Unions and Smart Growth, GOOD JOBS FIRST (2010), http://www.goodjobs
       first.org/smart-growth-working-families/unions-and-smart-growth.




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               Unions have also brought key separation of powers cases. For
          example, unions were among the plaintiffs in both Bowsher v Sya7
          and Clinton v City ofNew York'" In both cases, unions successfully
          argued that the statutes at issue-the Granim-Rudman-Hollings Act
          and the Line Item Veto Act, both of which decreased federal spending,
          harming governmental employees in the process-violated separation
          of powers principles.' And the AFL-CIO argued in Mornson v Olson
          that Congress's ability to impose "good cause" limitations on the
          President's removal of Executive Branch appointees was critical "to
          insulate executive officers entrusted with the responsibility of
          administering a particular statutory mandate from immediate political
          pressures.""' As the AFL-CIO pointed out in its brief, such limitations
          also protected NLRB members, as well as members of the Federal
          Trade Commission, Federal Energy Regulatory Commission, and
          many others.'

          4.    Civil Practice and Procedure
                Civil procedure cases often raise social justice and court access
          issues. Yet, because the underlying issue is often the one that is of
          concern to the litigating union, it can be difficult to predict which side
          of the issue the union will support.
                Take, for example, the seminal case of Conley v Gibson, which
          announced the now-defunct'" pleading requirement that a complaint
          need only "set forth a claim upon which relief could be granted."'
           Conley began as a duty of fair representation case in which a group of
          black railway employees alleged in their complaint that their union had
          failed to take any action when their employer replaced them with white
          employees and had maintained segregated local unions."' In response,
          the union argued for an interpretation of the Federal Rules of Civil
          Procedure that would have required the employees to set out detailed
          factual allegations in their complaint-a position that would have

               174. 478 U.S. 714 (1986), supersededby statute,Act of July 31, 1986, Pub. L. No. 99-
          366, 100 Stat. 773.
               175. 524 U.S. 417 (1998).
               176. Id. at 420-25; id. at 449-53 (Kennedy, J., concurring); Bowsher, 478 U.S. at 717-
          19, 722-27.
               177. Brief of the AFL-CIO as Amicus Cuiae in Support of Neither Party at 1-2,
          Morrison v. Olson, 487 U.S. 654 (1988) (No. 87-1279), 1988 WL 1031590, at *1-2.
               178. Id.at 20.
               179. SeeAshcroftv. Iqbal, 556 U.S. 662, 678 (2009).
               180. 355 U.S. 41, 45 (1957), abrogatedby Bell Atl. Corp. v. Twombly, 550 U.S. 544
          (2007).
               181. Idat42-43.




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        made it more difficult for plaintiffs to survive motions to dismiss.'
        More recently, the union defendant in Devlin v Scardellettialso sought
        to limit court access by precluding a class member-objector from
        appealing the district court's approval of a settlement agreement in an
        ERISA case.' In contrast, unions have sought to facilitate access to
        the civil justice system when they or their members are plaintiffs suing
        employers, as in cases discussed above, in which unions sought to
        appear on behalf of their members under principles of associational
        standing.1  84


              In the amicus context, however, unions have regularly sought to
        enlarge court access for plaintiffs. Thus, the Service Employees
        International Union (SEIU) and AFL-CIO recently argued in Rent-A-
         Center, West, Inc. v Jackson that employees should be entitled to have
        courts decide whether arbitration agreements signed as a condition of
        employment are unconscionable.'        Likewise, both labor federations
        and the United Food and Commercial Workers (UFCW)-a frequent
        Wal-Mart opponent outside of the courts"--argued in Wal-Mart
         Stores, Inc. v Dukes in favor of a relatively relaxed view of the
        "commonality" requirement of the Federal Rules of Civil Procedure.'
        Finally, unions have also argued against the expansion of removal
        jurisdiction (and therefore in favor of plaintiffs' right to have their
        cases heard in plaintiff-friendly state courts)' and requirements that
        would-be appellants post bonds before proceeding with appeals."'

              182. Brief for Respondents Pat J. Gibson, et al. at 3-4, Conley, 355 U.S. 41 (No. 7),
        1957 WL 87662, at *34.
              183. 536 U.S. 1, 4 (2002) (concerning the legality of a pension plan's decision to
        eliminate cost of living adjustments for covered active workers but not retirees).
              184. See supm note 55 and accompanying text.
              185. Brief Amicus Curiae of SEIU et al. in Support of Respondent, Rent-A-Center, W,
        Inc. v. Jackson, 130 S. Ct. 2772 (2010) (No. 09-497), 2010 WL 1393446; see alsoBrief of the
        AFL-CIO as Amicus Curiae in Support of Petitioner at 1-2, EEOC v. Waffle House, Inc., 534
        U.S. 279 (2002) (No. 99-1823), 2001 WL 575625, at *1-2 (arguing that an agreement
        requiring arbitration of employment discrimination disputes did not prevent the EEOC from
        seeking relief on behalf of an employee).
              186. See, e.g., Wahouse Workers Deliver 20,000 Signatures to Bay Area Walmart
        Board Membes, UFCW (Mar. 1, 2013), http://www.ufcw.org/2013/03/01/warehouse-
        workers-deliver-20000-signatures-to-bay-area-walmart-board-members/ (describing UFCW
        efforts to gather signatures petitioning the working conditions in Wal-Mart's supply chain).
              187. Brief of the United Food & Commercial Workers International Union et al. as
        Amicus Cwiae in Support of Respondents, supranote 78, at 2.
              188. Brief for the AFL-CIO as Amicus Curiae in Support of Respondents at 2-3,
        Caterpillar Inc. v. Williams, 482 U.S. 386 (1987) (No. 86-526), 1987 WL 880459, at *2-3.
              189. Brief for the AFL-CIO & for the Oil, Chemical & Atomic Workers International
        Union, AFL-CIO, as Amici Curiae in Support of the Position of Appellee at 2-4, Pennzoil Co.
        v. Texaco Inc., 481 U.S. 1 (1987) (No. 85-1798), 1986 WL 727513, at *2-4.




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               In recent years, then, unions have mostly argued in favor of
          expanding access to courts and counsel, and this advocacy has most
          often occurred in cases of substantive importance to the labor
          movement. However, because unions are also sometimes named as
          defendants in lawsuits,'o they have at other times made arguments that
          would limit court access for plaintiffs.

          5.     Community Concerns
                Unions have participated in a significant number of cases raising
          social justice concerns of importance to their members, as well as to
          similarly situated nonmembers. For example, the AFL-CIO has
          drafted amicus briefs supporting laws designed to ensure an adequate
          supply of affordable housingl9' and health care'92 and to protect the
          procedural due process rights of government benefits recipients.' It
          has also focused on education and immigration, two examples that I
          describe in more detail in the remainder of this Subpart.
                Unions have participated in relatively few immigration cases
          before the Supreme Court, but the cases in which they have
          participated reveal an evolving relationship to immigrant communities.
          The source of this ambivalence is the perceived effect of immigrant
          workers on wage rates: a ready supply of workers from outside the
          country can drive down wages, and further, undocumented workers are
          especially vulnerable to violations of their workplace rights, meaning

                190. See discussion infra Part III.A.
                191. Brief of the AFL-CIO as Amicus Curiae in Support of Respondent, Yee v. City of
          Escondido, 503 U.S. 519 (1992) (No. 90-1947), 1992 U.S. S. Ct. Briefs LEXIS 69; Brief of
          the AFL-CIO as Amicus Cwiae in Support of Appellees, Pennell v. City of San Jose, 485
          U.S. 1 (1988) (No. 86-753), 1987 WL 881297; Motion for Leave To File a Brief as Amici
          Cwiae & Brief of the National Urban Coalition, et al., as Amici Cwiae, James v. Valtierra,
          402 U.S. 137 (1971) (No. 154), 1970 WL 122850.
                192. Brief of the AFL-CIO as Amicus Cwiae in Support of Petitioners Suggesting
          Reversal of the Decision Below on the Minimum Coverage Provision Issue, supra note 73.
                193. Brief for the AFL-CIO as Amicus Curiae at 4-7, Califano v. Yamasaki, 442 U.S.
          682 (1979) (No. 77-1511), 1979 WL 199673, at *4-7 (advocating that social security
          beneficiaries be entitled to request a hearing before the government begins recoupment
          proceedings); Brief for the AFL-CIO, & for the Plaintiffs in Green, et al. v. Weinberger, et al.
          (D.D.C. No. 2219-73) as Amici Curiae at 23, Mathews v. Eldridge, 424 U.S. 319 (1976) (No.
          74-204), 1975 WL 173413, at *23 (arguing that disability recipients should be entitled to a
          pretermination hearing); Motion for Leave To File a Brief as Amicus Curiae & Brief for the
          AFL-CIO as Amicus Curiae at 18-20, Ind. Emp't Sec. Div. v. Burney, 409 U.S. 540 (1973)
          (No. 71-1119), 1972 WL 135822, at *18-20 (arguing state law unemployment compensation
          termination procedures were inadequate because of the absence of a pretermination hearing);
          Brief for the AFL-CIO as Amicus Curiae, Cal. Dep't of Human Res. Dev. v. Java, 402 U.S.
          121 (1971) (No. 507), 1971 WL 133378 (arguing the California procedure for appealing an
          award of unemployment benefits impermissibly burdens the unemployed).




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       that statutory protections may not be sufficient to keep wages up and
       maintain improved working conditions. These tensions were on
       display in Saxbe v Bustos, a 1974 case brought by the United Farm
       Workers (UFW) Organizing Committee to challenge the practice of
       allowing "alien commuters"-those who work in the United States but
       commute back to homes in Canada or Mexico on a daily or seasonal
       basis-to be treated as lawful permanent residents." The AFL-CIO's
       amicus brief argued:
          Commuters are a major causitive [sic] factor of the adverse situation
          facing domestic workers in border areas. For example, a 1961
          Department of Labor survey of Laredo and El Paso, Texas showed that
          "a large number of unemployed American workers had the same
          occupational skills as the employed alien commuters." In one instance
          two garment firms employed 88 commuters as sewing machine
          operators. At this same time, the files of the "Texas Employment
          Commission contained applications from 156 unemployed American
          workers with the same occupation." The survey also found that the
          wages paid by firms employing only American workers were 38%
          higher than those paid by firms employing alien commuters and that
          "there were cases where a single firm employing both commuters and
          Americans would pay the commuters less than the Americans similarly
          employed." 95
       Similar concerns-but a more proactive and progressive vision-were
       reflected in the AFL-CIO's recent amicus brief challenging Arizona's
       punitive immigration law. Specifically, the federation opined that
       immigration law "should include an improved employment
       authorization mechanism and operational control of the border
       between the United States and Mexico as well as an opportunity for
       the current undocumented population to earn lawful status in the
       United States."' This reflects the modern labor movement's stance
       that immigrant workers who are already in the country should be
       granted citizenship or permanent legal status in order to decrease
       employers' leverage over these workers.'"

             194. 419 U.S. 65, 68-69 (1974).
             195. Brief for the AFL-CIO as Amicus Curiae at 3, Saxbe, 419 U.S. 65 (Nos. 73-300,
       73-480), 1974 WL 185649 (citations omitted) (quoting 115 CONG. REc. 7733, 7740 (1969)).
             196. Brief of the AFL-CIO as Amicus Cuiae in Support of Respondent at 2, Arizona
       v. United States, 132 S. Ct. 2492 (2012) (No. 11-182), 2012 WL 1054499, at *2.
             197. See, e g., Exec. Office of the President, Fxing Our Broken Inmigmtion System,
       WiTE HOUSE 7 (July 2013), http://www.whitehouse.gov/sites/default/files/uploads/ag-rural-
       report-07292013.pdf ("[F]armworkers who have been working without legal status have been
       performing vital and challenging work ... while, in many cases, earning barely subsistence
       wages."); Press Release, Give Us a Vote on a Path to Citizenship Now!, UNITED FARM




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                Another controversial advocacy area is the legality of affirmative
          action in education. Unions' advocacy in the area of race and
          education goes back decades. For example, the CIO argued an
          English-only education statute was unconstitutional in Stainback v Mo
          Hock Ke Lok Pd" and against segregation in Brown v Board of
          Education, 199
                         and then the National Education Association argued for
          strong remedies to fight school segregation in Swann v Charlotte-
                                               2 " Around the same time, unions
          Mecklenburg Board of Education.
          also argued that state educational funding mechanisms that resulted in
          dramatically different per-pupil expenditures in different school
          districts were unconstitutional, though that argument was rejected by
          the Supreme Court without even holding argument.201
                More recently, labor federations and teachers' unions have argued
          that affirmative action policies in education satisfy strict scrutiny
          because "opportunities for students to interact with their peers from
          other races in the educational process-opportunities that are fostered
          by [affirmative action] policies. . .- have substantial, positive impacts
          that make them better citizens in our democracy and in the
          workplace."202 This argument tracks similar arguments made by unions
          in ParentsInvolved in Community Schools v Seattle School District
                                             20
          No. 103 and Grutter v Bollinger.      4 However, this is not to say that



          WORKERS (Aug. 14, 2013), http://ufw.org/board.php?mode-view&b code=news.press&
          b_no-14267 (discussing efforts of the UFW and AFL-CIO to pressure a California
          congressman "to act on immigration reform with a path to citizenship").
                198. Brief of CIO, Amicus Curiae, Stainback v. Mo Hock Ke Lok Po, 336 U.S. 368
          (1949) (No. 52), 1948 WL 47231.
                199. Brief for the CIO as Amicus Curiae, Brown v. Bd. of Educ., 349 U.S. 294 (1955)
          (No. 1), 1952 WL 47255.
                200. Brief Amicus Curiae for the National Education Ass'n, Swann v. Charlotte-
          Mecklenburg Bd. of Educ., 402 U.S. 1 (1971) (No. 281), 1970 WL 122662 (arguing in favor
          of transportation remedies to integrate the school district).
                201. Brief Supporting Jurisdictional Statement for Amici Curiae AFL-CIO
          International Union, UAW Western Center on Law & Poverty, Burruss v. Wilkerson, 397 U.S.
          44 (1970) (No. 864), 1969 WL 120240; Motion To File Brief Supporting Jurisdictional
          Statement & Brief for AFL-CIO American Federation of Teachers International Union, UAW
          Western Center on Law & Poverty as Amici Curiae, Mcnnis v. Ogilvie, 394 U.S. 322 (1969)
          (No. 1033), 1969 WL 120024.
                202. Brief Amicus Cuiae of the National Education Ass'n, et al., in Support of
          Respondents at 1 & n.2, 3, Fisher v. Univ. of Tex. at Austin, 133 S. Ct. 2411 (2013) (No. 11-
          345) 2012 WL 3540398, at *1 & n.2, *3 (brief of the National Education Association;
          twenty-seven state affiliates; the AFL-CIO; the American Federation of Teachers; the
          American Federation of State, County & Municipal Employees; the SEIU; and the People for
          the American Way Foundation).
                203. Brief Amicus Cuiae of the National Education Ass'n, et al., in Support of
          Respondents at 8, Parents Involved in Cmty. Sch. v. Seattle Sch. Dist. No. 1, 551 U.S. 701
          (2007) (Nos. 05-908, 05-915), 2006 WL 2927085, at *8 ("Racial classifications continue to




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        labor unions and federations have always argued in favor of the legality
        of affirmative action in education: one much earlier exception came in
        DeFunis v Odegar4m      05 where the AFL-CIO opposed (though the
        National Education Association supported)206 the University of
        Washington's program of affirmative action in law school
        admissions-a strategy that the state attributed to the AFL-CIO's
        desire to "achieve reversal of Courts of Appeals' decisions upholding
        affirmative action programs in the construction trades."207
              These two examples reveal shifting priorities over time, but also
        highlight that the current American labor movement is generally a
        strong ally of other progressive groups on issues involving race.

        6.    Industry-Specific Litigation
             Finally, unions sometimes litigate issues of importance to the
        specific industries in which unionized workers are employed. While
        this is a smaller category than the others discussed herein, it
        nonetheless covers a range of subjects. One particularly high profile-
        if idiosyncratic-example is the Major League Baseball Players
        Association's encouragement and funding of Curt Flood's failed
        attempt to invalidate professional baseball's reserve system on antitrust
        grounds.208 While Flood lost, his case "heightened awareness among

        carry great weight in our society-dividing opportunities inequitably and distorting
        perceptions with stereotypes and prejudice. Confronted with this reality, respondent school
        districts decided that taking race into account in making student assignments in order to
        achieve racially integrated public elementary/secondary schools would allow them to fulfill
        their dual mission of instilling in all children 'the values on which our society rests,' and
        providing them with the skills and knowledge necessary to realize their full potential."
        (citation omitted) (quoting Ambach v. Norwick, 441 U.S. 68, 76 (1979) (citing Wisconsin v.
        Yoder, 406 U.S. 205,293 (1972)))).
              204. Brief Amicus Curiae of AFL-CIO in Support of Respondents at 2, Grutter v.
        Bollinger, 539 U.S. 306 (2003) (Nos. 02-241, 02-516), 2003 WL 536743, at *2 (arguing that
        "the challenged policies will reduce employment discrimination" and that reducing
        employment discrimination is a compelling state interest).
              205. Brief for the AFL-CIO as Amicus Curiae, DeFunis v. Odegaard, 416 U.S. 312
        (1974) (No. 73-235), 1974 WL 185629.
              206. Brief of the National Organization for Women Legal Defense & Education Fund,
        Inc., & the National Education Ass'n as Amici Cwruiae, DeFunis,416 U.S. 312 (No. 73-235),
        1974 WL 185631.
              207. Brief of Respondents in Opposition to Amicus Curiae Briefs of the Anti-
        Defamation League of B'nai B'rith & the AFL-CIO at 4, DeFunis,416 U.S. 312 (No. 73-
        235), 1974 WL 185628, at *4.
              208. Flood v. Kuhn, 407 U.S. 258 (1972); THE COOPERSTWN SYMPOSIUM ON
        BASEBALL AND AMERICAN CULTURE, 2007-2008, at 194 (William M. Simons ed., 2009).
        Additionally, had Flood recovered damages as a result of his antitrust suit, the money would
        have gone to the union. Stephen H. Norwood, Baseballk ForgottenMan: CurtFloodand the
        Tmansformation ofAmeican Sport, 37 REvs. AM. His. 433,436 (2009).




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         his fellow players to the point that they too were willing to fight over
         the issue" and helped lead owners to agree to a system of grievance
         arbitration.20'
                Similarly unusual from the perspective of the labor movement as
         a whole was the involvement of National Writers Union then-president
         Jonathan Tasini"' in a case in which the Court rejected publishers'
         claims that they could reprint articles in databases without the
         permission of their freelance authors.21 ' Before that, the journalist
         involved in Battnick v Vopper also won his case,' though there, the
         union was on the other side; the BartnicA Court held that the First
         Amendment protected the disclosure of an illegally recorded union
         negotiator's phone call, a copy of which had been anonymously
         delivered to Vopper, a radio commentator."
                Unions also litigate issues that affect the viability of the industries
         in which they operate, such as regulatory or trade issues. 214 This type
         of litigation yields great potential for collaboration (and conflict) with
         other social movements and within the union movement itself. For
         example, in Department of Transportation v Public Citizen, the
         International Brotherhood of Teamsters and environmental groups
         jointly sought to compel the Federal Motor Carrier Safety
         Administration (FMCSA) to evaluate and regulate the impact of cross-
         border operations of Mexico-domiciled trucking companies under the
         National Environmental Policy Act and the Clean Air Act.21 1 While the
         Teamsters may well care genuinely about environmental issues,21 ' it

               209. James R. Devine, Cart Flood anda Tnumph of the Show Me Spit 77 Mo. L.
          REV 9, 36 (2012).
               210. Steven Zeitchik, Tasini Will Leave National Witers Union, PUBLISHERS WKLY.
          (Feb. 18, 2003), http://www.publishersweekly.com/pw/print/20030217/26678-tasini-will-
          leave-national-writers-union.html.
               211. N.Y Times Co. v. Tasini, 533 U.S. 483,487-88 (2001).
               212. 532 U.S. 514, 533-35 (2001).
               213. Id. at 535.
               214. Eg., Air Courier Conference ofAm. v. Am. Postal Workers Union, 498 U.S. 517,
          519 (1991) (determining whether a union had standing to challenge the Postal Service's
          decision to allow private couriers to engage in international remailing).
               215. 541 U.S. 752, 756 (2004). That suit challenged a pilot program commenced by
          FMCSA under President George W Bush, which was subsequently ended.
               216. In a recent press release addressing the same issue, Teamsters President Jim Hoffa
          observed, "FMSCA [sic] is recklessly ignoring the true environmental impact Mexican trucks
          will have if permitted to travel without restrictions throughout our country." Teamsters,
          Sierm Club: FMCSA Fails To Pmtect Environmentfrom Mexican Trucks, TEAMSTERS (Aug.
          15, 2011), http://www.teamster.org/content/teamsters-sierra-club-fmcsa-fails-protect-environ
          ment-mexican-trucks. Likewise, the California Teamsters vocally opposed an energy
          industry-backed proposal to delay enforcement of the Global Warming Solutions Act.
          Margot Roosevelt, Global Warming Ballot Initiative: Teamstems and Cities Weig I, L.A.




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        would strain credibility to suggest that the union was not also
        considering the effects of increased competition and resulting
        downward pressure on wages that would occur if Mexican-domiciled
        trucking companies could compete freely with U.S.-based
        companies.2"
              This Part has outlined several categories of cases in which labor
        unions have litigated in the Supreme Court. In the following Part, I
        will turn to the various substantive positions that unions take in these
        cases. In particular, I will explore characteristics of labor unions that
        might cause them to support particular substantive positions in
        litigation that are either similar to or divergent from other institutional
        litigants.

        III.   UNIONS' PERSPECTIVES IN LITIGATION

                    Ourlaborunions ar notnarme self-seeknggroups.1
               It goes nearly without saying that parties and attorneys are not
        interchangeable-the identities of each have tremendous influence on
        the direction a case takes. 219 Under the American adversarial style of
        litigation, parties and attorneys constantly make substantive and
        procedural choices that control a case's direction.220 Parties will decide


        TIMs (Apr. 23, 2010, 12:14 PM), http://1atimesblogs.latimes.com/greenspace/2010/04/
        global-warming-ballot-initiative-california-ab-32.html.
              217. In news coverage of the Teamsters' opposition to FMCSA's decision to allow
        Mexican-domiciled trucking companies to operate in the United States, the Teamsters couch
        their concerns in a variety of ways-that trucks from Mexico adhere to less stringent safety
        standards, that they might pose a national security threat due to concerns about terrorism or
        drugs smuggling, and that they might lower wages for American truck drivers. Eg., Paul J.
        Nyden, Teamsters Oppose New Border Crossing Standards for Mexican Tuckers,
        CHARLESTON GAZETTE (Mar. 10, 2012), http://www.wvgazette.com/News/201203100075.
        However, other regulatory issues divide labor unions from other social movement groups or
        even cause internal rifts within the labor movement. These divides can occur when labor's
        broader social justice goals stand in tension with unions' traditional concerns, such as
        maximizing employment for union members. Thus, for example, when President Barack
        Obama blocked construction of the Keystone XL pipeline, construction unions reacted
        negatively, while several other large unions including the SEIU, the UAW, the Steelworkers,
        and the Communications Workers of America backed President Obama's decision alongside
        environmental groups. Darren Goode, Keystone Pipeline SparksLabor Civ War, POLMCO
        (Jan. 20, 2012, 2:31 PM), http://www.politico.com/news/stories/0112/71733.html.
              218. Senator John F Kennedy, Speech at Cadillac Square, Detroit, Michigan (Sept. 5,
        1960), http://www.presidency.ucsb.edu/ws/index.php?pid=60408.
              219. Jeffrey L. Fisher, A Clinick Place i the Supreme Court Bar, 65 STAN. L. REv.
        137, 140 (2013) ("[I]t stands to reason that if the quality and experience of lawyers matter
        everywhere else, they ought to matter in the Supreme Court as well.").
              220. Justin Pidot, JurisdictionalProcedure, 54 WM. & MARY L. REv. 1, 38 (2012)
        (stating that in an adversarial system, "permitting parties to control the contours of their cases




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          whether to litigate at all and what substantive goals to pursue; they will
          also make certain decisions about litigation strategy. At a more
          granular level, attorneys decide to articulate arguments in particular
          ways, to advance or downplay particular legal theories, and even to cite
          certain cases. And when an advocacy organization or union
          participates in a case, it will undoubtedly attempt to make these
          decisions so as best to advance the group's cause: 221 to win the case,
          but also to win via a decision written in a way that best protects the
          group's larger interests.222
                These dynamics, coupled with the extent of unions' participation
          in a wide range of non-labor law cases, raise questions about what
          factors shape unions' litigation positions. This Part begins to answer
          those questions by exploring three factors that appear to have
          influenced unions' positions in particular cases.

          A.     Unions a PlabdffsandDefendants
                                "Which side areyou on?' 23
              In recent decades, labor unions and federations have increasingly
          modeled themselves as members of a social justice-oriented
          movement, rather than as a collection of economic actors dedicated to



         serves a legitimizing function, creating an impression of fairness that may lead to societal
         acceptance of court judgments").
               221. For example, in his important article Servig Two Masters. Integmtion Ideals and
          ClientInterests in School DesegregationLitgation, Derrick Bell argued that some NAACP
         LDF attorneys prioritized the views of clients who favored busing as a remedy in school
         desegregation cases over clients who favored other strategies for improving their children's
         education, such as winning increased funding for their existing schools. Derrick A. Bell, Jr.,
         Servig Two Masters. Integmtion Ideals and Client Interests in School Desegregation
         Litgation,85 YALE L.J. 470 (1976). Undoubtedly, one could make a similar argument with
         respect to other impact litigators. Accordingly, the purpose of this Part is not to suggest that
         litigants other than unions might bring a more "neutral" perspective to litigation. Rather, it is
         to explore the particular lenses through which labor unions might view their non-labor law
         cases.
               222. Many of these decisions occur once a case has reached the Supreme Court. But
         there are also antecedent decisions that can affect the likelihood of a case reaching the
         Supreme Court in the first place. For example, by paying for others' litigation, unions have
         direct influence over what cases are brought, and the existence of free representation can
         alleviate pressure to settle attributable to mounting litigation costs, allowing a party to litigate
         a case to judgment or to pursue an appeal or a petition for certiorari.
               223. "This line is said to come from a song written by Florence Reese in support of a
         miners strike in 1932. The song goes: 'They say in Harlan County, there ain't no neutrals
         there, you'll either be a union man, or a thug for J.H. Blair. Which side are you on? Which
         side are you on?' Robert J. Rabin, The Role of Government in Regulating the Workplace,
         13 LAB. LAw. 1,5 n.30 (1997).




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        achieving financial rewards for members.224 This move away from
        "bread and butter" unionism is reflected in labor's growing invocation
        of social justice issues during organizing campaigns.2 2 5 But when
        unions go to court, do they litigate like social movements, or are
        employers the better analogy? And what barriers face unions seeking
        to achieve social justice-oriented change through litigation? 226
              One key difference between unions and other social movement
        litigators is the greater likelihood that a union will be dragged into
        court against its will as a defendant. In this Subpart, I first explore the
        structural reasons for this difference and then turn to some of its likely
        effects.
              Social movement organizations are today rarely hailed into court
        as defendants. While it is not inconceivable that groups like the
        National Association for the Advancement of Colored People Legal
        Defense Fund (NAACP LDF), the American Civil Liberties Union
        (ACLU), or Public Citizen could be sued-for example, a business
        that has come in for criticism could file a defamation case,227 or a
        mistreated employee could bring suit under Title VII-such cases are
        relatively uncommon.228 Further, to the extent lawsuits against these
        groups arise directly out of the groups' core advocacy efforts, as when
        a target of protest resorts to the courts for relief, the lawsuit might
        galvanize the group's own constituency.29

              224. Marion Crain & Ken Matheny, Labork Identity Crisis, 89 CALIF. L. REv 1767,
        1784-85 (2001) (describing the AFL-CIO's shift, during the mid-1990s, from business
        unionism to social justice movement unionism).
              225. Id.at 1785.
              226. There is some question whether litigation "meets the definition of a social
        movement activity." Catherine Albiston, The Dark Side of Ligationas a Social Movement
        Stmtegy, 96 IOwA L. REv. BULL. 61, 76 (2011) (describing the skepticism that some scholars
        express toward this view). However, that question is beyond the scope of this Article; I treat
        litigation pursued by social movement groups as social movement activity.
              227. See, eg., Bose Corp. v. Consumers Union of U.S., Inc., 466 U.S. 485 (1984)
        (suing a consumer group for defamation due to an unfavorable product review); N.Y. Times
        Co. v. Sullivan, 376 U.S. 254 (1964) (suing a civil rights group for defamation due to a
        newspaper advertisement).
              228. These examples should be differentiated from those in which a social movement
        group deliberately engages in conduct designed to elicit a lawsuit. For example, when the
        Thomas More Law Center "searched for a school district willing to adopt an alternative
        curriculum [that taught "intelligent design" theories], knowing it would lead to litigation," it
        was choosing the case that it would litigate just as much as if it were drafting and filing a
        complaint. Douglas NeJaime, Winning ThroughLosing, 96 IOwA L. REv. 941, 979 (2011).
              229. TAYLOR BRANCH, PLLAR OF FIRE: AMERICA INTHE KING YEARS 1963-65, at 44
        (1998) ("[New York Times Co. v Sulivan] fostered emergency coalitions [between civil
        rights leaders and] precisely those groups most needed for the civil rights movement: labor
        unions, religious groups, press outlets, large corporations-anyone who could imagine being
        victimized by parochial politics or a runaway jury.").




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                Instead, many of the cases in which these groups participate are
          those that they have affirmatively chosen and often even designed
          from the ground up.230 Consider Public Citizen founder Ralph Nader's
          characterization of a "public interest lawyer" as "a lawyer without
          clients," one "whose goal would be ... advancing the public good."23'
          To be sure, Article III's "case or controversy" requirement232 means
          Nader's public interest lawyer does not operate literally without clients.
          However, the lawyer can decide, in consultation with other
          professional advocates and subject matter experts, to target a particular
          issue and then set about locating an appropriate and willing client.
          Once located, the client would direct at least some aspects of the
          litigation,3 with clients who are themselves advocacy groups or
          subject matter experts likely playing a more significant role.234
          However, the initial decision to bring the case would have been driven
          by movement goals, and a lawyer working in the Ralph Nader model
          would refuse to file a proposed lawsuit that seemed to carry significant
          potential downsides. This does not mean that a refused potential client
          will be unable to find another attorney to file a complaint, but the
          advocacy group will have preserved its name, credibility, and
          resources for a preferred case.
                In contrast, unions are frequent defendants. Unions may be sued
          for failing to discharge the duty of fair representation that they owe to
          members 33 or for violating the statutory rights of members or their
                 230. The NAACP LDF's school desegregation campaign is probably the paradigmatic
          example of controlled and disciplined litigation strategy designed by movement lawyers.
          MARK V TUSHNET, MAKING CIVIL RIGHTS LAW: THURGOOD MARSHALL AND THE SUPREME
          COURT, 1936-1961 (1994). This is not to say that the NAACP was the only organization to
          attempt to pursue a detailed litigation plan in pursuit of social change. For example, one
          feminist campaigner recommended the development of a litigation strategy "to litigate
          women's rights under the Fourteenth Amendment,' which "sought to emulate the success of
          organizations like the NAACP Legal Defense Fund in winning rights through organized
          litigation." See, e g., Serena Mayeri, Consttutional Choices: Legal Femhnism and the
          Histoncal Dynamics of Change, 92 CALIF. L. REV. 755, 763-64 (2004). However,
          disagreement between factions of the women's movement about whether to pursue a
          Fourteenth Amendment-based litigation strategy, passage of the Equal Rights Amendment, or
          both persisted for decades. Id at 756-69.
                 231. Eduardo R.C. Capulong, Client Acdvism i Prgressive Lawyerng Theory, 16
          CLINICAL L. REv. 109, 150 (2009) (alteration in original) (quoting DIANA KLEBANOW &
          FRANKLIN L. JONAS, PEOPLE'S LAWYERS: CRUSADERS FOR JUSTICE INAMERICAN HISTORY 418
          (2003)).
                 232. U.S. CONsT. art. m, § 2.
                 233. See MODEL RULES OF PROF'L CONDUCT R. 1.2 (2013); cf Bell, supra note 221
          (discussing the impact of clients' views on litigation strategies on school desegregation).
                 234. Eg., Dep't of Transp. v. Pub. Citizen, 541 U.S. 752 (2004); Train v. Colo. Pub.
          Interest Research Grp., 426 U.S. 1 (1976).
                 235. Eg., Vaca v. Sipes, 386 U.S. 171 (1967).




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        own employees.'        Likewise, they are often sued by employers,
        government entities, and even other unions on a variety of theories.
        This litigation can create precedent on issues that the union would not
        have affirmatively chosen to pursue and that sometimes call for
        litigation positions that advance a union's chances in court, even if it
        would otherwise reject those positions outside of litigation. Avoiding
        this conundrum means weakening one's litigation position-the
        disadvantages of which are obvious-or settling.' Settlement bears
        its own risks, though, including the possibility of demonstrating to
        other potential plaintiffs that filing a complaint will result in early
        capitulation.
              An array of reasons accounts for this difference between unions
        and other social movement litigators. First, there is the likelihood of
        bad publicity associated with suing a venerated social movement
        group, along with the possibility that the complaint will be dismissed
        (and attorneys' fees assessed) under an anti-SLAPP statute.' Second,
        various legal principles protect advocacy groups from liability arising
        from their work.' Third, social movement groups other than labor
        unions do not owe their members a statutory duty of fair
        representation, and they are not statutorily required to choose their
        leadership democratically. Relatedly, when a majority of employees in
        a bargaining unit vote to be represented by a union, the union becomes

              236. Eg., Reed v. United Transp. Union, 488 U.S. 319 (1989).
              237. See Catherine Albiston, The Rule of Law and the Ligadon Process: The
        Pamdox of Losing by Wng,           33 LAW & Soc'Y REv. 869, 877 (1999) (noting that in the
        context of Family and Medical Leave Act cases, repeat employer players may choose to
        "settle cases they expect to lose and litigate those they expect to win" in order to cultivate
        desirable precedent).
              One recent example in which a union attempted to force a settlement in order to avoid
        adverse Supreme Court precedent came in Knox v SEXL Local 1000, 132 S. Ct. 2277
        (2012). In that case, the local union defendant attempted-unsuccessfully-to moot the case
        by giving the plaintiff everything that it could have achieved through continued litigation. Id
        at 2287-88. However, it took this step too late-after the case had already reached the merits
        stage in the Supreme Court. Counsel for the local union stated at oral argument that the move
        was taken because "the officers of the union . . . thought about the situation and came to the
        realization that they have no stake in the procedures that are at issue here." Transcript of Oral
        Argument at 26, Knox, 132 S. Ct. 2277 (No. 10-1121).
              238. See Shannon Hartzler, Note, Pmtecting Informed Public Paricipadon: And-
        SLAPP Law and the Media Defendant, 41 VAL. U. L. REv. 1235, 1242 (2007) ("Common
        features of anti-SLAPP laws include a mechanism for early procedural review and a
        mandatory award of attorney's fees for a party whose motion to dismiss under the statute is
        successful.").
              239. Eg, NAACP v. Claiborne Hardware Co., 458 U.S. 886 (1982) (holding that the
        First Amendment protects secondary consumer boycotts by civil rights groups); NAACP v.
        Alabama ex rel.Patterson, 357 U.S. 449 (1958) (holding that the NAACP was entitled to
        keep its membership list confidential).




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          the bargaining representative of all the employees in the unit,2 40
          including those employees who do not want the representation. These
          employees may be particularly unlikely to give the union the "benefit
          of the doubt" when it comes to deciding whether to sue. Fourth, there
          is the sheer number and size of labor unions to consider-there are
          simply more opportunities for litigation. Finally, labor unions are
          involved in their members' lives in a far more direct way than most
          advocacy groups, in that they are partially responsible for setting the
          terms and conditions of their members' employment. Thus, whereas
          disappointment in the actions of a group like the ACLU may lead to
          membership resignation, disappointment with one's union is more
          likely to lead to litigation.
                Significantly, then, labor unions have less control than other
          social movement litigators over the cases in which they become
          involved. Moreover, at any given time, two unions litigating different
          cases may take opposing litigation positions on an issue. For example,
          in the employment discrimination context, unions or union-funded
          attorneys often prosecute suits alleging employer discrimination; but at
          the same time, unions are sometimes named as defendants in
          discrimination cases. By the time a case has reached the courts of
          appeals or the Supreme Court, international unions and labor
          federations can play a larger role in attempting to rationalize litigation
          positions (such as by urging settlement), but the earlier litigation
          cannot be erased, potentially undermining union credibility. This may
          be so particularly in a context like employment discrimination, where
          historical incidents of serious race discrimination by the labor
          movement are well-known.24
                However, just as the control exercised by other movements over
          litigation strategy should not be exaggerated, the extent to which
          unions' choice of litigation vehicle is constrained by exigency and
          circumstance should not be overstated. In at least some instances,
          unions, like other social movement groups, plan litigation from the
          ground up. In fact, Michael Gottesman, describing his early years in
          practice as a labor lawyer, suggests that was a regular occurrence at his
          firm:


                240. 29 U.S.C. § 159(a) (2006). In about half of states, this influence extends to the
          authority to require that even the unwilling pay fees to the union. Even in "right to work"
          states, labor unions bargain and process grievances on behalf of the unwilling.
                241. Charlotte Garden & Nancy Leong, "So Closely Intertwined": Labor andRacial
          Solidanty, 81 GEO. WASH. L. REV. 1135, 1161-63 (2013).




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           We had a mandate from our clients to [shape the law so that it would
           benefit the labor movement], and thus did not have to compromise the
           long view for immediate tactical victories. Ideas percolated that could
           not be deployed in the case under discussion, but they would be "filed
           away," to be invoked in future cases that came down the pipeline-cases
           that we would then be on the lookout to find.242
       For example, take UAW v Johnson Controls. There, union lawyers
       framed and filed a complaint243 challenging the employer's "fetal
       protection policy," which excluded women who were pregnant or
       capable of becoming pregnant from jobs that involved exposure to
       lead.2" The union not only brought the case, but also ensured that it
       was the first named plaintiff, so that its participation would be evident
       to anyone looking at the case caption. Among the other named
       plaintiffs were both male and female employees-women who had
       been excluded from well-paying jobs under the employer's policy or
       had undergone sterilization to avoid such exclusion, and men who had
       been denied transfers to other departments, which they requested in
       order to avoid lead exposure because of threats to their own
       reproductive health.24 5 The class definition included "'all past, present
       and future production and maintenance employees' in United Auto
       Workers bargaining units at nine of Johnson Controls' plants 'who
       have been and continue to be affected by [the employer's] Fetal
       Protection Policy implemented in 1982."'246 This class definition,
       along with the selection of the named plaintiffs, made clear to the
       courts that the issue was important to both male and female workers.
       Additionally, it also had potential to build solidarity among bargaining
       unit members by showing why the employer's policy was not simply a
       "women's issue."
              Even when they are named as defendants-and thus dragged into
       court unwillingly-unions can sometimes nonetheless shape a
       litigation strategy that pursues labor movement goals beyond just
       winning in court. This may be easy to do when the plaintiff is a
       traditional adversary of labor-an employer, for instance, whose
       behavior can provide a flash point for advocacy in and out of court.
       Far more challenging are cases in which unions are sued by bargaining

             242. Gottesman, supm note 93, at 267.
             243. Marcelo L. Riffaud, Comment, Fetal Protection and UAW v. Johnson Controls,
        Inc.: Job OpeningsforBarren Women Only, 58 FORDHAM L. REv. 843, 843-44 (1990).
             244. UAW v. Johnson Controls, Inc., 499 U.S. 187,192 (1991).
             245. Id.
             246. Id. at 192-93 (quoting UAW v. Johnson Controls, Inc., 680 F. Supp. 309, 310
        (E.D. Wis. 1988) (alteration in original)).




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          unit members. Take, for example, InternadonalUnion of Electrical,
          Radio & Machine Workers, AFL-CIO,Local 790 v Robbins & Myers,
          Inc., in which Dortha Guy, a black employee, sued her employer and
          union for racial discrimination after she was fired.247 The United States
          District Court for the Western District of Tennessee dismissed the case
          on timeliness grounds,248 refusing to toll the time in which Guy was
          required to file a charge with the Equal Employment Opportunity
          Commission (EEOC) while the union grievance proceeding was
          pending.249 After Guy's loss in the district court, she and the union
          evidently managed to resolve their differences, because the union
          switched sides to appeal the timeliness issue alongside Guy in a
          parallel case. The United States Court of Appeals for the Sixth Circuit
          affirmed the district court, and the Supreme Court granted certiorari in
          both appeals, consolidating them for argument. Before the Supreme
          Court, union lawyer Winn Newman250 and NAACP lawyers
          representing Guy"' successfully convinced all nine Justices that an
          amendment to Title VII that provided a longer time to file a charge
          with the EEOC applied retroactively.252 Thus, the union was able to
          turn a case that began in a defensive posture into an opportunity to
          advocate for stronger federal court remedies for workers.
                Finally, unions and labor federations sometimes signal through
          their amicus advocacy that positions taken by individual unions are not
          representative of the views of the larger labor movement. For
          example, in McDonald v Santa Fe Trail TransportationCo., the AFL-
          CIO flatly disagreed with both positions taken by the defendant-
          respondent local union. Whereas that union argued that white
          employees were not covered by 42 U.S.C. § 1981 and that Title VII
          does not protect employees who are accused of stealing from their
          employers,253 the AFL-CIO argued the opposite.254 Less obvious was

                247. 429 U.S. 229, 232 (1976). Guy alleged she was fired because of her race and that
          the union then failed to represent her adequately in the grievance process. Guy v. Robbins &
          Myers, Inc., No. C-74-165, 1974 WL 212, at *1 (WD. Tenn. May 30, 1974), affit 525 F.2d
          124 (6th Cir. 1975), revUsubnom. 429 U.S. 229 (1976).
                248. Robbins& Myes, 429 U.S. at 232-33.
                249. Guy, 1974 WL 212, at *3.
                250. Robbns & Myers, 429 U.S. at 230 (listing counsel). Winn Newman has been
          called the "grandfather" of pay equity litigation. McCANN, suprenote 127, at 61.
                251. Reply Brief for Petitioner, Robbins & Myers, 429 U.S. 229 (No. 75-1264), 1976
          WL 194370 (listing counsel).
                252. Robbns& Myers, 429 U.S. at 241.
                253. Brief of Respondent, Local No. 988, Teamsters, Freight, Tank Line & Automobile
          Industry Employees at 6, McDonald v. Santa Fe Trail Transp. Co., 427 U.S. 273 (1976) (No.
          75-260), 1976 WL 181740, at *6.




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       Local 28 ofthe Sheet Metal Workers'InternadonalAss'nv EEOC in
       which the AFL-CIO simply remained silent-a stance that itself
       suggests disagreement, given how rarely the AFL-CIO fails to file an
       amicus brief in support of a labor union litigant in the Supreme
       Court. 255
             Thus, although labor unions enjoy somewhat less ability to shape
       their litigation agendas than do other social movement groups, labor
       unions still successfully pursue strategies to bring their litigation
       strategies in particular cases into line with the larger interests of
       workers.

       B. LaborSolidariyandthe PossibilityofDividedLoyalties
                               'An injuryto one is an mjury to al.,"
             In this Subpart, I explore how the fact that labor unions are
       subject to majority rule-they are elected and then face the threat of
       decertification by their members, and their officers are subject to
       regular elections 25 7-- might affect the positions they take in court. In
       other words, given that litigation usually involves winners and losers,
       how can unions seek to preserve solidarity if union members are
       divided? And how do unions navigate members' divergent views
       when shaping their own stances before the Supreme Court?
             There are at least four possible approaches available to a union or
       federation facing such a scenario. First, it might try to avoid any
       litigation that might divide members. Second, it might simply adopt
       the position taken by, or in the apparent interest of, a majority of
       represented workers. Third, it might try to find a "third way" solution
       that protects the interests of all union members, and instead imposes

             254. Motion for Leave To File Brief & Brief for the AFL-CIO as Amicus Curiae, supm
       note 116, at 5-6.
             255. 478 U.S. 421 (1986). However, two local unions, each of whom was "presently
       involved in litigation concerning the legitimacy of court-ordered or governmentally imposed
       racial quotas in the employment context" filed a shared amicus brief in support of Local 28.
       Brief of Local 542, International Union of Operating Engineers & Local 36, International
       Ass'n of Firefighters, AFL-CIO, as Amici Curiae in Support of Petitioners at 1, Local28,478
       U.S. 421 (Nos. 84-1656, 84-1999), 1985 WL 670076, at *1. In the next Subpart, I discuss
       another situation in which the AFL-CIO may not participate in Supreme Court litigation
       involving unions: cases in which union members are among both the plaintiffs and the
       defendants. However, that was not the situation in Local28.
             256. This is an old Knights of Labor saying. Eric Tucker, Whok Running the Road?
       Street Railway Stnkes andthe Problem ofConstructnga LiberalCapitalistOrderin Canada,
       1886-1914,35 LAW & Soc. INQUIRY 451, 455 (2010).
            257. 29 U.S.C.    §481(a)   (2006) ("Every ...   labor organization ...   shall elect its
       officers not less often than once every five years either by secret ballot among the members
       in good standing or at a convention of delegates chosen by secret ballot.").




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          costs on outsiders, like employers or unrepresented workers. And
          fourth, it might adopt a position in the interest of a minority of
          represented workers, either after persuading the rest of the membership
          or by simply ignoring their views and instead allowing union lawyers
          or officers to shape litigation positions. In fact, unions' and
          federations' record before the Supreme Court reveals examples of each
          of these strategies at work.
                As discussed in the preceding Subpart, unions cannot always
          avoid unwanted litigation. However, where litigation is optional-for
          example, amicus practice-unions and federations sometimes simply
          avoid taking positions in cases involving union members on each side,
          even where a union is inextricably linked to the facts of the case. This
          occurred in Ricci v DeStefano, a case challenging New Haven
          officials' decision to disregard the racially skewed results of a test that
          was to be used to determine which firefighters would be promoted to
          lieutenant and captain.' All the test takers were represented by the
          International Association of Firefighters Local 825,2" and the
          weighting of the test-which both an expert and representatives of a
          black firefighters' association said could have produced an adverse
          impactf"-was negotiated by the union and mandated by a collective
          bargaining agreement.26 Furthermore, the local union had supported
          the white test takers who wanted to have the test results certified by
          filing a lawsuit of its own against the city.262 (That suit was later
          dismissed in light of the district court's concerns about the union's
          ability to litigate on behalf of its members, given that "the interests of a
           significant subset of the Union's members are diametrically opposed to
          the interests of another significant subset.")... In light of all this, the
           fact that neither the International Association of Firefighters (IAFF)
          nor the AFL-CIO, of which IAFF is an affiliate, filed a Supreme Court
           amicus brief creates the inescapable appearance that these bodies



               258. 557 U.S. 557, 561-63 (2009).
               259. Michael Z. Green, Readng Ricci andPyett To Provide Racial Justice Through
          UnionArbitradon,87 IND. L.J. 367, 400 (2012).
               260. Respondents' Brief on the Merits at 7-8, Ricci 557 U.S. 557 (Nos. 07-1428, 08-
          328), 2009 WL 740763, at *7-8.
               261. Id.at 2.
               262. New Haven Firefighters Local 825 v. City of New Haven, No. Civ.3:04CV
          1169(MRK), 2005 WL 3531465 (D. Conn. Dec. 22,2005).
               263. Id. at *2.4 (denying the union's associational standing because of the need for
          individual firefighters to participate in the litigation, in light of the conflict between union
          members).




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        simply concluded that silence was preferable to taking a position that
        might appear to favor one group of union members over another.2 64
              A closely related strategy was pursued by the union in East Texas
        Motor FreightSystem, Inc. v Rotnez265 There, East Texas Motor
        Freight and its employees' representative, Teamsters Local 657, were
        both sued by truck drivers of Mexican ancestry who were
        disadvantaged by collectively bargained seniority rules that made it
        difficult for "city drivers" to transfer to better-paid "line driver"
        positions. 266 As a named defendant, the union argued that it simply had
        no ability to change the seniority provisions:
              The reply of Petitioner Local 657 is that it is not responsible for the
           hiring practices of the employers, and that in the applicable collective
           bargaining proceedings, it has followed the instructions of its affected
           membership relative to the negotiation of their contractual rights to
           seniority and transfer between jobs ....
              This Petitioner also says that it cannot singularly make changes in
           National and Regional collective bargaining agreements that would
           affect other local unions and their members, because multi-employer,
           multi-union agreements, as regulated by the National Labor Relations
           Act, require the concurrence of the employer and other local unions
           involved....26
        That union's decision to undertake the legal equivalent of throwing up
        its hands stands in contrast to far more proactive efforts undertaken by
        other unions to manage potential rank-and-file disagreement about
        litigation positions, including in cases involving discrimination and
        seniority systems. Before discussing these union strategies, it is useful
        first to describe briefly the operation of union-negotiated seniority
        systems and explain why they have the potential to divide union
        members.



              264. There were, however, other labor voices in the case; associations of African
        American and Hispanic firefighters filed briefs supporting New Haven, and other groups of
        firefighters and an association of police unions filed briefs in support of the white
        firefighters. Amicus Curiae Brief of Bridgeport Firefighters for Merit Employment, Inc. in
        Support of Petitioners, Ricc, 557 U.S. 557 (Nos. 07-1428, 08-328), 2009 WL 526198;
        Amicus Brief of the Concerned American Firefighters Ass'n, Philadelphia Chapter, in
        Support of Petitioners, Ricci, 557 U.S. 557 (Nos. 07-1428, 08-328), 2009 WL 507010; Brief
        of the National Ass'n of Police Organizations as Amici Cwiae in Support of Petitioners,
        Ricci, 557 U.S. 557 (Nos. 07-1428, 08-328), 2009 WL 2809358.
              265. 431 U.S. 395 (1977).
              266. Id. at 397-98.
              267. Brief for the Petitioner Teamsters Local Union 657 at 3-4, Rodriguez, 431 U.S.
        395 (No. 75-651), 1976 WL 194248, at *3-4 (citations omitted).




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               Negotiated seniority protections are generally facially neutral and
          constructed without discriminatory intent.268 These systems can govern
          competitive seniority-which "determines priorities for job security,
          promotion, transfer, prerogative in scheduling, training opportunities
          and     'entitlement[]       to    ...    scarce     benefits      among       competing
          employees "'-and benefits seniority, which determines "entitlement to
          certain types of fringe benefits without regard to the status of other
          employees." 269
                Even well-intentioned systems of competitive seniority can serve
          to reinforce discriminatory hiring and promotion decisions by making
          it impossible for discrimination victims to "catch up" to employees
          hired or promoted before them 27 0-that is, unless a court orders
          retroactive competitive seniority. In such a scenario, then, unions
          represent (in bargaining) both discrimination victims who are morally
          and legally entitled to make-whole remedies and the workers who will
          be displaced even if they played no active role in (or did not even know
          about) the earlier discrimination and who will feel that they have a
          vested right to their existing working conditions. Complicating the
          picture, unions have a strong interest in protecting the integrity of hard-
          won seniority systems, which provide valuable protections for union
          members who have invested much in their workplaces and who
          command relatively high wages because of their many years of
          service. 271' And the most senior workers will often be the most
          influential within their unions,272 with less senior workers most likely to

                268. See, e.g., Brief for Petitioner International Brotherhood of Teamsters at 27-28,
          Int'l Bhd. of Teamsters v. United States, 431 U.S. 324 (1977) (Nos. 75-636, 75-672), 1976
          WL 181352, at *27-28 (describing the development of the seniority system at issue in that
          case). Many seniority systems qualify for the Civil Rights Act's carve out for "bona fide
          seniority or merit system[s]." 42 U.S.C. § 2000e-2(h) (2006) ("Notwithstanding any other
          provision of this subchapter, it shall not be an unlawful employment practice for an employer
          to apply different standards of compensation, or different terms, conditions, or privileges of
          employment pursuant to a bona fide seniority or merit system, or a system which measures
          earnings by quantity or quality of production or to employees who work in different locations,
          provided that such differences are not the result of an intention to discriminate because of
          race, color, religion, sex, or national origin. . . .").
                269. Michael J. Zimmer, Title Vl1 Treatment ofSenioritySystems, 64 MARQ. L. REv.
          79, 80 (1980) (quoting Franks v. Bowman Transp. Co., 424 U.S. 747, 766 (1976)).
                270. Martha R. Mahoney, Whath Lef of Solidarity? Refections on Law Race, and
          Labor History, 57 BuFF. L. REv. 1515, 1571 (2009) ("When race discrimination at work
          became illegal in the 1960s, the previous legal regime had left minority workers with
          disproportionately low seniority and union leadership disproportionately white.").
                271. See Zimmer, supra note 269, at 80 ("Labor has been the strongest proponent of
          seniority.").
                272. Daniel J. Gifford, Redeinng the Antitrust Labor Exemption, 72 MINN. L. RE.
          1379, 1380 (1988) ("Because [the most senior] workers tend to form the core of union




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        be disadvantaged in the event of seniority integration.273 Thus, the
        most influential members of a bargaining unit may feel that they have
        a less personal stake in the effect of discrimination remedies, but also
        be very committed to the seniority system for other reasons.
              As a result, unions that seek both to promote nondiscriminatory
        workplaces and preserve seniority protections face a conflict in the
        event of an allegation of systemic discrimination. Despite this, unions
        have generally argued that Title VII remedies should include make-
        whole seniority, though they have also argued for limits on who is
        eligible for this remedy.274 For example, in Fanks v Bowman
         TransportationCo.,275 in which the Court held that Title VII called for
        retroactive seniority to be awarded to black truck drivers who had been
        refused line driver jobs, the Steelworkers union representing the
        employees took the position that drivers who could prove they had
        been discriminated against (but not those who could not) were entitled
        to a make-whole remedy of retroactive seniority.276 In so arguing, the
        union forcefully made the case for the importance of seniority, arguing
        that an employee hired in 1972 instead of 1970 would have an
        "inferior" career involving fewer fringe benefits (such as vacation days
        and insurance benefits), less protection from layoffs, fewer
        promotional opportunities, and less entitlement to desired shifts or
        particular vacation dates."' The union also argued that a make-whole
        retroactive seniority remedy existed in other contexts, such as when
        employees were laid off in violation of the collective bargaining
        agreement.27 Thus, the union framed its argument in terms of the
        integrity of union values that benefitted all union members, implicitly
        making the case that an illegitimate seniority system-one that was
        infected with race discrimination-was a weak seniority system.

        membership, union bargaining objectives tend to weight their interests inordinately high vis-
        A-vis the interests of less senior union members or labor interests as a whole.").
              273. Humphrey v. Moore, 375 U.S. 335, 346-47 (1964) ("[Competitive status]
        [s]eniority [is] of overriding importance, and one of its major functions is to determine who
        gets or who keeps an available job.").
              274. E.g, Zipes v. Trans World Airlines, Inc., 455 U.S. 385, 390-91 (1982) (noting the
        union argument that a make-whole remedy was available to only 30 employees and that the
        claims of about 400 other employees were time-barred).
              275. 424 U.S. 747 (1976).
              276. Brief for Respondent United Steelworkers of America, AFL-CIO, & for AFL-
        CIO, as Amicus Curiae at 7, Fmanks, 424 U.S. 747 (No. 74-728), 1975 WL 173441, at *7.
        The union distinguished these drivers from those seeking "preferential" relief, which would
        have benefitted plaintiffs who had not been personally discriminated against, arguing that
        Congress intended to permit only the former. Id.
              277. Id. at 24-26.
              278. Id.at 26.




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                The Steelworkers union was not the only union that participated
          in Fmanks. UAW Local 862, which was then a party to other Title VII
          cases, including one in which a petition for certiorari was pending,279
          filed an amicus brief that pursued a different strategy designed to
          reconcile the competing concerns of discrimination victims and union
          members who stood to lose relative seniority.2 80 The UAW began by
          characterizing the interests of both groups of workers as legitimate and
          understandable: the workers who had benefitted from the seniority
          system were "blameless citizens" who, like "wronged minorit[ies],"
          had "fair seniority claims."28' In making that claim, the UAW focused
          on the fact that the employer, rather than the employees, had the
          discriminatory intent, arguing, "[T]he incumbent employees are in no
          way at fault for the employer's Title VII violation."282 The UAW had
          good cause to be concerned about the effect of possible layoffs
          following seniority integration-the national unemployment rate
          reached 9% the year Fmnks was decided,283 and the auto industry had
          been hit especially hard. The first three months of 1975 saw 300,000
          permanent or temporary layoffs in the auto industry,284 representing
          40% of the industry's production workforce.285
                The UAW's proposed solution avoided pitting discrimination
          victims against workers who had unwittingly benefitted from
          discrimination by forcing employers to either keep both groups or else
          provide "front pay" to laid-off workers. That plan, which the UAW
          called the "front-pay save-harmless" remedy, would "require[] the
          wrongdoing employer to hold [incumbent workers and newly hired
          discriminatees] harmless from layoff losses in work reduction
          situations."286 More specifically, the UAW proposed that "following
          reinstatement of discriminatees the offending employer hold harmless
          against layoff losses both the discriminatees and [an equal number of]

                279. Meadows v. Ford Motor Co., 510 F2d 939 (6th Cir. 1975), cert. deniedsub nom.
          Local 862 v. Ford Motor Co., 425 U.S. 998 (1976).
                280. Motion for Leave To File Brief for Local 862, UAW, as Amicus Curiae Out of
          Time & Brief Amicus Curiae, Franks,424 U.S. 747 (No. 74-728), 1975 WL 173444.
                28 1. Id.at 3.
                282. Id at 4.
                283. Bureau of Labor Statistics, Ciilian Unemployment Rate, U.S. DEP'T OF LABOR
          (last updated Nov. 8, 2013, 8:06 AM), http://research.stlouisfed.org/fred2/data/UNRATE.txt.
                284. Guy Darst, Auto IndustryLayoffs Increase,DAY, May 16, 1980, at 40.
                285. New Ford Layoffs Jolt Auto Industry, MILWAUKEE J., Dec. 20, 1974, at 6
          (describing American auto companies' intention to lay off 300,000 workers in January 1975,
          representing "more than 40% of the auto industry's 690,000 blue collar workforce," with
          149,000 of those workers on "indefinite layoff").
                286. Motion for Leave To File Brief for Local 862, UAW, as Amicus Curiae Out of
          Time & Brief of Amicus Curiae, supranote 280, at 2-3.




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        his incumbent employees hired between the discriminatees' original
        rejection and their ultimate hiring."287 The UAW devoted the remainder
        of its brief to explaining why the impact of the "front-pay save-
        harmless" scheme on employers would be relatively small, showing
        that in other contexts employers had found productive uses for workers
        whom they were required to pay regardless.288
              The benefits to unions and unionized workers of such a scheme
        are plain. For union leadership, the adoption of the plan would mean
        that the union could put its full weight into fighting employment
        discrimination without facing opposition from members fearing for
        their own jobs. This would be of particular importance in industries
        enduring economic difficulties, where minority employees are often
        especially vulnerable to layoffs.289 The scheme would also enlarge the
        ranks of union membership, increasing the union's power and
        influence within the company.
              Additionally, the union may have been able to leverage the
        position it had taken in court-that the company owed benefits to both
        the job applicants against whom they had discriminated and incumbent
        employees-into increased solidarity between those two groups.290 In

              287. Id at 4. The UAW explained its proposal in an elaborate hypothetical involving
        the facts of another case to which it was a party. That case involved thirty-five discriminatees
        who had been hired by a Ford plant in Kentucky pursuant to the district court's order. In
        relevant part, the union explained:
              In a layoff situation of, for example, 35 persons which reaches into but not beyond
              the ranks of employees with seniority dates between the discriminatees' rejection
              of 1969 and their hiring in 1974, the first 35 persons (excluding persons hired
              more recently than the discriminatees) affected would be held harmless. If the
              remedy should go to the 35 discriminatees, they are in effect given the wage and
              fringe benefit protection they would have had if they had not been wrongfully
              rejected when they applied in 1969. If it goes to 35 incumbents, they in turn are
              protected against any loss caused by the grant of retroactive seniority to the
              discriminatees. In other words, in any contingency the discrimininatees are
              restored fully to the job protection they would have had but for the employer's
              violation of their rights, without prejudicing or diminishing the earned layoff
              seniority of the incumbent work force.
        Id at 7 (footnote omitted).
              288. Id at 5-11.
              289. Nancy Leong, RacialCapitalism,126 HARv. L.REv. 2151, 2210-12 (2013).
              290. Interestingly, while the UAW's plan was not adopted by the Court, the union later
        managed to achieve similar protections for members through negotiation. In 1984, GM
        agreed in union negotiations to create the "jobs bank," a program providing retraining
        benefits for displaced workers, as well as 95% of former wages for laid off employees who
        had at least one year of seniority, until a new position was found. Sharon Silke Carty, Labor
         Talks May Tiptoe Around Jobs Bank, USA TODAY (July 27, 2007, 1:46 PM), http://
        usatoday30.usatoday.com/money/autos/2007-07-23-uaw-talks-jobs-bankN.htm;               Erik de
        Gier, ParadiseLost Revisited: GM and the UAWhi HistoicalPenspective, CORNELL UNIV.




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          other words, by making the employer the common enemy against
         whom both groups were seeking full employment, the union may have
         been able to build ties between the two groups, lessening the negative
          effects of perceived competition between them.291
                Finally, some unions have made explicit appeals to rank-and-file
         solidarity in order to win support for litigation designed to eliminate
          discrimination. This work has sometimes played out behind the
          scenes, as in United Steelworkers ofAmerica v Weber... There, the
         union initially sought the support of reluctant rank-and-file members
          for negotiated affirmative action plans by invoking the possibility of a
          future adverse court decision that would result in a remedy of the
          court's own devising. The union argued that it was better for the union
          and employer to work out a plan to deal with the effects of past
         discrimination in advance, to avoid ceding control to unpredictable
         judges."' To be sure, the Steelworkers' appeal could be viewed as a
          somewhat cynical attempt to generate support from whites based on

         ILR SCH. 3 (Sept. 1, 2010), http://digitalcommons.ilr.cornell.edu/cgi/viewcontent.cgi?
         article=1029&context-intlvf. Much like the proposal in Fmraks; the jobs bank program
         reduced the threat of layoffs and helped maintain UAW ranks even as the auto industry faced
         decline.
               291. In their famous work, The Robbems Cave Experiment Intergroup Conflictand
         Cooperation,Muzafer Sherif and his colleagues showed that friction between two groups,
         which had been created through "conditions of competition and rivalry," could be reduced if
         the two groups had to work together to achieve a superordinate goal. MUZAFER SHERIF ET
         AL., THE ROBBERS CAvE EXPERIMENT: INTERGROUP CONFLICT AND COOPERATION 198 (1988).
         To be sure, the situation presented here is somewhat different than the one Sherif studied.
         Most importantly, it is not clear that discriminatees and incumbents have a shared
         superordinate goal. For Sherif, a superordinate goal is one that is "compelling and highly
         appealing to members of two or more groups in conflict but which cannot be attained by the
         resources and energies of the groups separately," but here, the precise problem is that white
         workers obtained jobs at Bowman without the "resources and energies" of-indeed, at the
         expense of-the discriminatees. Muzafer Sherif, Superordinate Goals in the Reduction of
         Inteigroup Confict 63 AM. J. Soc. 349, 349-50 (1958). However, there is potential for labor
         unions whose leaders are committed to nondiscrimination to reframe the goal in
         discrimination cases as obtaining jobs (or at least wages and benefits) for both groups of
         workers. See Catherine Smith, Queer as Black Folk?, 2007 Wis. L. REv. 379, 402-03
         (discussing the possibility for LGBT advocates to "reframe the debate to achieve gay rights"
         so as to create superordinate goals shared by communities of color). If both groups can
         commit to working together to achieve that goal, then Sherif's study suggests that working
         together in pursuit of that common goal could decrease racial tension among union members.
         See also Daria Roithmayr, Racial Cartels, 16 MICH. J. RACE & L. 45, 62 (2010) ("Norms
         about group identity and outsider exclusion appear to be particularly easy to socialize.
         Experimental work in social psychology suggests that in contests over scarce resources,
         group identity norms, particularly norms to exclude, quickly become salient.").
               292. 443 U.S. 193 (1979).
               293. Malamud, supm note 120, at 205 ("[I]t had been the threat of seniority lawsuits-
         and not ideology-that had been the leadership's source of leverage against recalcitrant
         whites.").




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        interest convergence.294 However, it occurred in the context of efforts
        undertaken by union leadership both in court and at the bargaining
        table to undo the effects of past discrimination, suggesting that even if
        the appeal was merely strategic, the union's leadership held a broader
        commitment to racial equality.
              More public, but also perhaps more problematic, was the union's
        statement in IntemadonalBrotherhoodof Teamsters v United States,295
        in a brief arguing against the expansion of the retroactive seniority
        principles developed in Bowmarz "Teamsters early understood that
        employers played off black against white to undercut the wages and
        conditions the unions were attempting to establish. Accordingly, IBT
        unions have made special effort to organize minorities, and are color
        blind with respect to participation in union affairs and application of
        collective bargaining contracts."296 In other words, unlike the
        Steelworkers' approach to winning over reluctant white rank-and-file
        members, the Teamsters' invocation of solidarity was deployed as a
        post-lawsuit defense against charges of discriminatory behavior.
              In sum, unions have pursued a variety of strategies to attempt to
        respond to the divergent interests of members. The most promising of
        these in terms of promoting long-term solidarity between white
        workers and workers of color are those that seek to change members'
        perceptions of the source of the conflict (for example, shifting their
        focus from competition between discrimination victims and unwitting
        beneficiaries of discrimination to a discriminating employer), or to
        persuade members either to consider social justice, or, at a minimum,
        take a more nuanced and strategic view of their own interests.
              In the next Subpart, I turn to another concern relevant to unions'
        litigation positions: whether the case supports or threatens unions'
        freedom or ability to bargain.

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               294. Derrick A. Bell, Jr., Brown v. Board of Education and the Interest-Conveigence
        Dilemma, 93 HARv. L. REV. 518, 524 (1980) (arguing that school desegregation was achieved
        when it became pragmatically desirable to powerful white interests).
               295. 431 U.S. 324 (1977).
               296. Brief for Petitioner International Brotherhood of Teamsters, supm note 268, at 30-
        31 (footnote omitted).
              297. MELVYN DUBOFSKY, HARD WORK: THE MAKING OF LABOR HISTORY 73 (2000)
        (listing slogans associated with the Industrial Workers of the World).




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                Because one primary function of unions is to bargain on behalf of
          groups of employees, one might expect that they are uniquely sensitive
          to cases that either limit the scope of their bargaining authority or else
          decrease their bargaining strength by undermining existing
          agreements. Conversely, unions may support litigation efforts that
          would bolster their bargaining power by mandating wages or benefits
          typically sought through bargaining. Indeed, unions' Supreme Court
          litigation positions suggest union concern with both issues.
                Unions have explicitly invoked freedom to bargain in Supreme
          Court briefs. For example, consider MetropolitanLife Insurance Co.
           v Massachusetts, in which the Court reviewed a state law requiring
          that certain health insurance plans cover minimum mental health care
          benefits.' One may expect unions to have supported this law-unions
          often support laws strengthening the social safety net both because of
          their social justice commitments and because they can increase their
          leverage at the bargaining table by improving workers' alternatives to a
          collectively bargained agreement. Yet both the AFL-CIO and a New
          Hampshire-based local union opposed the law, arguing that it was
          preempted by ERISA. Both unions cited their desire to be free to
          bargain away mental health benefits (or other benefits that might be
          required under similar state laws) in exchange for pay or other
          benefits. As the AFL-CIO stated, "[S]tate laws of the type at issue
          here make [collective bargaining] more, rather than less, difficult by
          substituting for private decision-making a state-imposed requirement
          ... regardless of whether the employees desire such benefits or would
         prefer other benefits (or higher wages) instead."299
               A similar focus on freedom to bargain played out much
         differently in 14 Penn Plaza LLC v Pyettfo. Pyett dealt with labor
         unions' abilities to waive members' rights to pursue discrimination
         claims in federal court and instead require them to pursue the
         negotiated grievance procedure, culminating with arbitration. Unlike
         in Metropolitan Life, the AFL-CIO and Change to Win argued that
         unions flatly lacked the authority to strike such a deal with employers.

              298. 471 U.S. 724 (1985).
               299. Brief of the AFL-CIO as Amicus Curiae in Support of Appellants at 2, Metro.
         Life Ins. Co., 471 U.S. 724 (Nos. 84-325, 84-356), 1984 WL 565632, at *2. Similarly, the
         local union argued, "Such laws frustrate the ability of such plans to provide the benefits
         requested by their members, and increase both the cost of the plans themselves and of their
         administration." Brief Amicus Curiae of the International Brotherhood of Electrical Workers
         Local 421 Health & Welfare Fund et al., in Support of Appellants at 2, Metro. Life Is. Co.,
         471 U.S. 724 (Nos. 84-325, 84-356), 1984 WL. 565644, at *2.
               300. 556 U.S. 247 (2009).




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        On closer inspection, however, the unions' reasoning in Pyett was
        entirely consistent with Metropolitan Life. As the federations
        explained:
           The ADEA claims advanced by the Plaintiff-Employees in this case
           challenge an employment action that Local 32BJ agreed to in advance
           . ... The Union only agreed to that substitution after receiving
           assurances that the new provider of security services would not
           undermine the area wage rates. Local 32BJ decided not to arbitrate the
           ADEA claims challenging that action based on its view that the
           agreement the Union had made with Temco in this regard was not
           discriminatory. If that agreement could be attacked by the adversely
           affected employees through the contractual grievance-arbitration
           procedure, it would most certainly undermine "the employer's
           confidence in the union's authority."30'
        In other words, the federations feared that waiving employees' rights to
        go to court would actually impair unions' abilities to negotiate
        meaningfully with employers, because it would cede their control over
        which grievances reach arbitration.
               The AFL-CIO's argument in MetropolitanLife would have meant
        that no Massachusetts employer-union or nonunion-would be
        required to provide mental health coverage under the statute. However,
        in other cases, unions have argued for special treatment based on their
        status as employees' bargaining representatives. That is to say, unions
        sometimes argue that unions and employers can agree to do things
        together that would be illegal if done by employers on their own. For
        example, in USAirways v Bamett, the union distinguished seniority
        systems contained in collective bargaining agreements from employer
        created seniority systems, arguing that only collectively bargained
        seniority systems could trump accommodation of an employee in need
        of reassignment because of a disability.302 Similarly, the AFL-CIO has
        argued:
           [E]mployers and labor organizations should be, and are, free-under
           the ADEA-to negotiate health insurance plans that favor older
           workers. And, it is our position that this reading of the ADEA protects




             301. Brief of the AFL-CIO & Change to Win as Amici Cwriae in Support of
        Respondents at 6-7, Pyeti 556 U.S. 247 (No. 07-581), 2008 WL 2817677, at *6-7 (citations
        omitted) (quoting Vaca v. Sipes, 386 U.S. 171, 191 (1967)).
             302. Brief of the AFL-CIO in Bamet supm note 135, at 4-6.




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             the interests of all workers in this regard by giving necessary play to the
             collective bargaining process."0
          And finally, as discussed above, the Steelworkers argued in Weber that
          a negotiated affirmative action plan was lawful, while a government-
          imposed plan would exceed the scope of the Civil Rights Act."*
                So far, this Subpart has focused on cases in which unions litigate
          with an eye toward preserving union and employer freedom to bargain
          over particular benefits. However, in other cases, unions have
          supported increased substantive protections for employees instead of
          the flexibility to take or leave particular benefits. For example, the
          AFL-CIO argued in favor of a Maine law requiring employers to offer
          a severance payment to employees affected by plant closings.o. and a
          New York law forbidding pregnancy discrimination in employee
          benefits and requiring employers to offer paid sick leave to pregnant
          and disabled employees."o' The difference may be explained by a
          combination of factors, including the leverage the union is likely to
          have at the bargaining table, how frequently unions bargain for the
          benefits at issue, and the union's political commitments. Thus, it is
          relevant both that union leverage is likely at its nadir when a plant is
          shutting down and that unions have a particularly strong track record
          of advocating for equal pay for women and against pregnancy
          discrimination.
                Thus, the International Union of Electronic, Electrical, Salaried,
          Machine and Furniture Workers explained in Gedukddg v Aiello that its
          efforts to litigate pregnancy discrimination cases supported its repeated
          attempts to win insurance coverage for pregnancy-related issues during
          bargaining."o' Likewise, in its amicus brief in support of the Affordable
          Care Act, the AFL-CIO explained:


                303. Brief of the AFL-CIO & UAW, as Amici Claiae in Support of Petitioner at 2,
          Gen. Dynamics Land Sys., Inc. v. Cline, 540 U.S. 581 (2004) (No. 02-1080), 2003 WL
          21649479, at *2.
                304. See supra note 120 and accompanying text.
                305. Brief of the AFL-CIO as Amicus Curiae in Support of Appellees, Fort Halifax
          Packing Co. v. Coyne, 482 U.S. 1 (1987) (No. 86-341), 1987 WL 880547.
                306. Motion for Leave To File a Brief Amici Curiae & Brief for the AFL-CIO & the
          New York State AFL-CIO as Amici Curiae, Shaw v. Delta Air Lines, Inc., 463 U.S. 85 (1983)
          (No. 81-1578).
                307. Brief of the International Union of Electrical, Radio & Machine Workers, AFL-
          CIO-CLC, as Amicus Curiae, supra note 128, at 4-5 ("As collective bargaining agent, the IUE
          has during the past two years been engaged in negotiations with approximately 400
          employers for the purpose of securing for female employees the right to all the same benefits
          as other disabled employees for periods of disability due to childbirth or the complications of
          pregnancy.").




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           [It] has an interest in this issue because the collective bargaining
           agreements negotiated by its affiliated unions almost universally
           provide for employment-based health insurance for covered employees
           and their immediate families. The system of employment-related health
           insurance has come under tremendous pressure from the steadily
           increasing costs of health insurance coverage. The Affordable Care Act
           addresses the problem of increasing insurance costs in part by
           encouraging universal coverage, and the minimum coverage provision
           is essential to the Act's plan for achieving that purpose.30
       And, during the 2013 Term, Change to Win and the AFL-CIO filed a
       joint amicus brief in Hollhgsworth v Perry, the case challenging
        California's Proposition 8. The unions first explained that their interest
        in the case stemmed from the fact that unions commonly "bargain and
        advocate for domestic partner benefits in union contracts" and then
        argued that Proposition 8 harmed workers with same-sex partners.309
               Evidently, then, unions' litigation positions are influenced by their
        bargaining goals. However, context matters: Unions' perceptions of
        their own bargaining strength and the desirability of the benefit at issue
        determine whether unions seek flexibility or certainty.

        IV.   UNION LITIGATION AS SOCIAL GOOD

                             "The law wi1 never make men free;
                      itis men who have got to make the law free."' 0
             This Part discusses some of the strategic benefits that labor's
        model of Supreme Court litigation might provide to the larger
        progressive social movement community and suggests ways that
        unions could more effectively further the goals of social movement
        unionism through Supreme Court advocacy.
             The Part begins by discussing a critique of litigation-based social
        change efforts and the "law and organizing" model of social
        movement litigation. It suggests that unions are inherently well-suited
        to bundle their litigation efforts with other forms of advocacy and that

             308. Brief of the AFL-CIO as Amicus Curiae in Support of Petitioners Suggesting
        Reversal of the Decision Below on the Minimum Coverage Provision Issue, supranote 73, at
        1.
             309. Brief of AFL-CIO & Change to Win as Amici Curine Supporting Respondents &
        Suggesting Affirmance, supm note 136, at 1-2.
             310. Bryan-Paul Frost, Reiion, Nature, and Disobedience i the Thought of Ralph
        Waldo Emerson and Henry David Thoreau, in HISTORY OF AMERICAN POLITICAL THOUGHT
        355, 371 (Bryan-Paul Frost & Jeffrey Sikkenga eds., 2003) (quoting Henry David Thoreau,
        Slavery m Massachusetts,in WALDEN AND OrHER WRITINGS OF HENRY DAVID THOREAU 663,
        669 (Brooks Atkinson ed., 1937)).




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          many unions adhere to the law and organizing model virtually by
          default. Next, I turn to the benefits and drawbacks of coalition work in
          the Supreme Court, focusing on what unions might gain from
          litigating in coalition with other social movement groups and vice
          versa. Finally, I suggest that greater publicity of unions' Supreme
          Court work, including their amicus practice, could benefit both unions
          and their members.

          A.     CollectveAcdon andLitigadon
                                     'Don 'Mourn, Organize!""
                 Critics of litigation-focused reform efforts have charged that the
           pursuit of social change through court decisions "can narrow issues
           and atomize collective grievances, undermining broader collective
           action."3 12 Additionally, they argue that the opportunity costs of
           spending precious time and resources on litigation, rather than other
           types of activities, may be too great-particularly when "favorable
          judicial decisions without similarly favorable outcomes on the ground"
           are relatively frequent occurrences."'
                 However, other scholars have argued that litigation can be an
           important component of a broader organizing strategy. Derrick Bell
           observed that a litigation campaign is more than the sum of the
          resulting decisions: "Litigation can and should serve lawyer and client
           as a community-organizing tool, an educational forum, a means of
           obtaining data, a method of exercising political leverage, and a rallying
          point for public support."314 More recently, adherents of the law-and-
           organizing model have urged attorneys to "supplement conventional
           litigation strategies with community education programs, link the
          provision of legal services with membership in organizing groups, and
          become directly involved in organizing campaigns."' This way, even
          unsuccessful litigation can yield beneficial results if it spurs other



                311. Michael E. Tigar, Cnsis hi the Legal Profession: Don't Mourn, Oiganze!, 37
          OHIO N.U. L. REv. 539, 540 & n.2 (2011) ("Joe Hill, alias of Industrial Workers of the World
          organizer Joseph Hillstrom, was executed in Utah in 1915. 'Don't Mourn, Organize' is a
          paraphrase from his last letter." (citing PHILIP S. FONER, THE CASE OF JOE HILL 96 (1965))).
                312. Albiston, suprdnote 226, at 63 (describing criticisms of the use of litigation as a
          social reform strategy).
                313. NeJaime, supranote 228, at 943.
                314. Bell, supranote 221, at 513.
                315. Scott L. Cummings & Ingrid V Eagly, A Citical Reflection on Law and
          Organizing,48 UCLA L. REv. 443, 447-48 (2001) (footnotes omitted).




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       forms of collective action."' As Douglas NeJaime has persuasively
       reasoned: "Litigation loss may, counterintuitively, produce winners.
       When savvy advocates lose in court, they may nonetheless configure
       the loss in ways that result in productive social movement effects and
       lead to more effective reform strategies.""'
             Unions are particularly well situated to mix litigation with other
       advocacy strategies; in fact, the law and organizing model itself "hails
       back to a more militant era of labor activism-of 'protests, illicit
       strikes, and pickets."'" In fact, the Supreme Court itself recognized
       this connection in BrotherhoodofRailroadTrainmen v Virgiaiaex rel.
        Virginia State Ba"19 and subsequent decisions regarding the legality of
       union legal referral plans that recognized that unions had a legitimate
       interest in ensuring that workers were able to enforce their rights under
       statutes that the unions had lobbied for in the first place.320
             Today, union tactics-even if less militant-still go hand in hand
       with traditional litigation efforts. For example, in Lawyers, Unite,
       Scott Cummings and Ingrid Eagly tell the story of the Workplace
       Project, an organization created to help Latino workers on Long Island
       enforce their rights at work.321 In one case, the Workplace Project
       "represented two workers owed several thousand dollars in back wages
       by their employer."3 22 That representation entailed filing a lawsuit,
       alongside which the Workplace Project also engaged in a traditional
       union tactic-picketing outside the defendant-employer's store.323 The




             316. NeJaime, supm note 228, at 954 & n.57 ("[P]roductive indirect effects of
       litigation [include] raising consciousness, driving fundraising, legitimizing a cause, and
       influencing other state actors.").
             317. Id.at 945.
             318. Jesse Newmark, Legal Aid Affairs: Collabomting with Local Governments on
       the Side, 21 B.U. PuB. INr. L.J. 195, 293 (2012) (quoting Orly Lobel, The Paradox of
       ExtralegalActivism: CriticalLegal Consciousnessand TransformativePolitics, 120 HARV. L.
       REv 937, 956 (2007)); see also Cummings & Eagly, supra note 315, at 470 & n.114 ("Labor
       lawyers are important precursors to the current generation of law and organizing
       practitioners, who focus on enforcing legal rights enacted as a result of the labor
       movement.... As advocates committed to the goal of advancing workplace organizing
       campaigns, labor lawyers continue to merit recognition as important examples of
       practitioners working within the law and organizing model.").
             319. 377 U.S. 1,5-6 (1964).
             320. See discussion supra Part II.A.
             321. Scott Cummings & Ingrid Eagly, Lawyers, Unite,LEGAL AFF. (2005), http://www.
       legalaffairs.org/issues/March-April-2005/review-cummings-maraprO5.msp.
             32 2. Id.
             323. Id




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          project achieved a quick settlement on behalf of the workers, which it
          attributed to the picketing.324
                While Supreme Court litigation may feel more distant from on-
          the-ground organizing efforts than the case described in Lawyers,
           Unite, it can still be usefully integrated into a broader organizing
          strategy. For example, as discussed in the previous Part, unions often
          simultaneously seek benefits for workers both in the courts and at the
          bargaining table-union amicus participation in Perry v
          Hollingsworthoffers only the most recent of many examples.325 Then,
          when unions win before the Court, they not only improve workers'
          lives, but they may also win another leverage point-if employers
          subsequently violate the law, then unions can sue on behalf of
          aggrieved employees. Even when unions lose before the Court, they
          may, as NeJaime has suggested, nonetheless ultimately succeed in
          whole or in part. For example, after their loss in Alden, Maine union
          activists were able to persuade the state to provide "most, but not all, of
          the protections and benefits that they would have received without
          sovereign immunity,"32 including some of the back pay they had
          unsuccessfully argued before the Court they were owed.327 Likewise,
          after losing GeneralElectric Co. v Gilber 28 a coalition of unions and
          other groups succeeded in lobbying Congress to pass the Pregnancy
          Discrimination Act, and then unions helped ensure employer
          compliance with the new law through bargaining, grievances, and
          lawsuits.329
                A final example reveals the fluidity between unions' Supreme
          Court litigation and their organizing efforts. In Citizens United v
          FEC,the AFL-CIO filed an amicus brief arguing that prohibitions on
          unions' electioneering communications were unconstitutional.33 o
          However, the Court's decision went farther than the AFL-CIO hoped


                324. Id; see also Scott L. Cummings & Ingrid V Eagly, After PublicInterestLaw, 100
          Nw U. L. REV. 1251, 1269-70 (2006) (reviewing JENNIFER GORDON, SUBURBAN SWEATSHOPS:
          THE FIGHT FOR IMMIGRANT RIGHTS (2005)) (discussing the Workplace Project's picketing
          tactics and success).
                325. See supraPart III.B. L
                326. CHRISTOPHER SHORTELL, RIGHTS, REMEDIES, AND THE IMPACT OF STATE
          SOVEREIGN IMMUNITY 137 (2008).
                3 2 7. Id.
                328. 429 U.S. 125 (1976), superseded by statute, Pregnancy Discrimination Act of
          1978, Pub. L. No. 95-555, 92 Stat. 2076.
                329. Judith A. Scott, Why a Union Voice Makes a Real Difference for Women
           Workers. Then and Now, 21 YALE J.L. & FEMINISM 233, 234-35 (2009).
                330. Brief of the AFL-CIO as Amicus Curiae in Support of Appellant, supra note 159,
          at 3-4.




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       striking down the Bipartisan Campaign Reform Act's limits on
       corporate and union independent expenditures as well.' In response,
       the federation called for a constitutional amendment to limit corporate
       (though not union) political expenditures.'        At the same time, the
       2012 presidential election saw unions-which were significantly
       outspent by business interests-take advantage of the Citizens Uited
       ruling by creating a "Super-PAC" to fund door-to-door canvassing
       efforts that leveraged unions' abilities to mobilize their members.
             In sum, unions' Supreme Court advocacy is often linked to other
       forms of organizing that may take place before, during, or after
       litigation. These linkages can be cumulative, with litigation and
       organizing efforts reinforcing each other.            Further, successful
       organizing efforts can lead to more litigation opportunities, creating a
       procyclical relationship between law and organizing. Thus, union
       litigation in pursuit of social change is particularly promising because
       even where the union loses in court, it may be able to pursue its desired
       result effectively through its "boots on the ground."

       B.    CoalitionsIn and Outside the LaborMovement
                  You arenever strong enough thatyou don 'tneed help.334
             Unions may litigate with or without the support of their members,
       other unions, and outside groups. In this Subpart, I discuss the
       opportunities that Supreme Court litigation can provide for unions to
       form or strengthen relationships with all of these constituencies.
             Labor's history of working hand in hand with other social
       movement groups has been mixed. Some of the burgeoning identity-
       based movements of the 1960s and 1970s viewed the white working
       class as "'bought off' by their affluence and 'white privilege' ... too
       economically comfortable and benefited too much from racism,
       imperialism, sexism and homophobia to be allies in struggle."3
       Likewise, some unions' support of the Vietnam War did little to endear



            331. Citizens United v. FEC, 558 U.S. 310,319 (2010).
            332. Steven Greenhouse, Unions Urge Curtailment of 'Super PACs,' N.Y TIMES,
       CAUCUS (Mar. 15, 2012, 11:56 AM), http://thecaucus.blogs.nytimes.com/2012/03/15/unions-
       urge-curtailnent-of-super-pacs/.
            333. Steven Greenhouse, Labor Leaders Plan To Apply New Clout M Effort for
       Obama, N.Y TIMES (Mar. 11, 2012), http://www.nytimes.com/2012/03/12/us/politics/unions-
       plan-a-door-to-door-effort-for-2012-election.html.
            334. CESAR CHAVEZ, AN ORGANIZER'S TALE: SPEECHES 236 (Ilan Stavans ed., 2008).
            335. Capulong, supm note 231, at 135 (footnote omitted).




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          them to other progressive causes."' On the other hand, two UAW
          lawyers were on hand at the inaugural meeting of the National
          Organization for Women, and they played a role in shaping that
          organization's approach to the cause of women's equality.337 Likewise,
          many unions have long enjoyed close relationships with civil and
          immigrants' rights groups.338
                Supreme Court litigation presents opportunities for unions and
          other groups to work together on either a long-term or a more
          temporary basis-"strange bedfellow" coalitions can form for the
          limited purpose of arguing a particular point of law or more long-
          lasting alliances can manifest. For example, effective Supreme Court
          advocates will typically coordinate amicus briefs so that they do not
          overlap and instead show a range of policy and doctrinal reasons that
          one party's position is correct."' Here, labor unions and federations
          will often have special insights into the particular work-related effects
          of an issue. These briefs can be especially powerful in cases in which
          the connection between the issue presented and American workers is
          not initially obvious. For example, in Grutter v Boflhger, the AFL-
          CIO was seemingly alone among a long list of amici in arguing that
          diversity in higher education was important because of its impact on


               336. Id However, other unions opposed the Vietnam War. Charles B. Craver, The
          impactofLabor Unions on WorkerRightsand on Other SocialMovements, 26 A.B.A. J.LAB.
          & EMP.L. 267,274 (2011).
               337. Mayeri, supm note 230, at 790. While the UAW lawyers supported women's
          equality, they argued against pursuing it via the Equal Rights Amendment (ERA), citing
          concerns that the ERA would invalidate a host of labor and employment laws designed to
          protect women workers. Testifying before the United States Senate, Myra K. Wolfgang, who
          was then vice president of the Hotel and Restaurant Employees and Bartenders International
          Union and secretary-treasurer of its local in Detroit, argued:
               There are various kinds of protection for women workers provided by State laws
               and regulations: (1) minimum wage; (2) overtime compensation; (3) hours of
               work, meal and rest period; (4) equal pay[;] (5) industrial homework;
               (6) employment before and after childbirth[;] (7) occupational limitations; and
               (8) other standards, such as seating and washroom facilities and weight-lifting
               limitations. It would be desirable for some of these laws to be extended to men,
               but the practical fact is that an equal rights amendment is likely to destroy the laws
               altogether rather than bring about coverage for both sexes. Those State laws that are
               outmoded or discriminatory, should be repealed or amended and should be handled
               on a case-by-case basis.
          EqualRights 1970: Heanngs on SI Res. 61 and S.J Res. 231 Befor the S. Comm. on the
          Judiciary,91st Cong. 31 (1970) (statement of Myra K. Wolfgang, Vice President, Hotel and
          Restaurant Employees and Bartenders International Union).
                338. Garden& Leong, supranote 241, at 1160, 1205-06.
                339. Charles A. Rothfeld, Avoiding Missteps in the Supreme Court: A Guide to
          Resources for Counsel,7 J. Ap. PRAC. & PROCESS 249,253-54(2005).




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        workplace discrimination.340 Conversely, input from other groups can
        legitimate positions taken by labor unions and federations by helping
        to assure judges that the union's position has not been skewed by the
        dynamics described in Part Ill.
              A second question concerns relationships within the union
        movement: to what extent should union officers and labor lawyers
        seek input from other unions or union members in shaping their
        litigation positions? This question is particularly salient in the amicus
        context, where the decision as to whether to file at all, as well as what
        position to take, is entirely within a union's or federation's discretion.
        Yet it is the amicus context in which union members have traditionally
        had the least input, beginning with Arthur Goldberg's "free hand to
        select labor cases to take to the Supreme Court and to file amicus
        briefs in cases already scheduled for Supreme Court review."34 ' Wle
        this approach is of course expedient, and union and federation officers
        are elected in part to make decisions in the interest of membership, one
        may view this model as a lost opportunity to foster communication
        between union members and union leadership about movement
        priorities and long-term goals.

        V.    CONCLUSION
             There is scarcely an issue thathas not been, andis not, influenced by
                          labork organzedefforts orlack of them.342
              Labor unions and federations have an extensive record of
        Supreme Court litigation covering a vast array of substantive areas.
        Yet, inexplicably, this litigation has escaped the attention of scholarly
        and other audiences, even as a national debate about the appropriate
        role of labor unions has taken place. This inattention is especially
        surprising because Supreme Court litigation is a significant channel
        through which unions can affect the lives of nonunion members and
        the structure of American government more generally. Attention to the
        scope of unions' Supreme Court practice is particularly timely in light
        of the persistent decline over the last several decades in American

              340. David B. Wilkins, From "SeparateIs Inherntly Unequal" to "DiversityIs Good
        for Business". The Rise of Market-Based Diversity Arguments and the Fate of the Black
        Corporate Bar, 117 HARV. L. REv. 1548, 1610 n.260 (2004) ("[I]t is telling that, to my
        knowledge, the only amicus brief filed in Grutterthatmade continuation of widespread racial
        discrimination and stereotyping against black Americans in employment the centerpiece of its
        argument was that of the AFL-CIO.... Significantly, no lawyer from a major corporate law
        firm participated in the drafting of that brief.").
              341. Stone, supranote 59, at 159.
             342.   WILLIAM CAHN, A PICIORIAL HISTORY OF AMERICAN LABOR 3 (1972).




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          labor union membership; in 2012, only 11.3% of wage and salary
          workers were union members.343 Therefore, with membership levels
          reflecting an existential threat to the American labor movement, it is
          especially important that policy debates focusing on whether to
          attempt to revive unions or to undercut them take place against the
          backdrop of a complete picture of what unions do, including through
          litigation.




                 343. Press Release, Bureau of Labor Statistics, Union Membeis Summary, U.S. DEP'T
          OF   LABOR (Jan. 23, 2013, 10:00 AM), http://www.bls.gov/news.release/union2.nr0.htm.




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